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                                      UNITED STATES DISTRICT COURT                           JAN 14 2020
                                                                                              ANGELA e. NOBLE
                                                                                             CLERK U.S. DIST. CT.
                                      SOUTHERN DISTRICT OF FLORIDA                         S. 0. OF FLA. • FT. LAUD.



    UNITED STATES OF AMER~~                      )           Case No. 19-CV-6 l 084-ALTMAN/HUNT
    the States of Arkansas, California,          )
    Colorado, Connecticut, Delaware, Florida, )
    Georgia, Illinois, Indiana, Iowa, Louisiana, )
    Maryland, the Commonwealth of                )
    Massachusetts, Michigan, Minnesota,          )           FILED UNDER SEAL
    Missouri, Montana, Nevada,                   )
    New Jersey, New Mexico,                      )           FIRST AMENDED
    New York, North Carolina, Oklahoma,          )           COMPLAINT FOR VIOLATIONS OF
    Rhode Island, Tennessee, Texas, Vermont, )               THE FALSE CLAIMS ACT 31 U.S.C.
    the Commonwealth of Virginia, Washington,)               § 3729, et. seq.
    and the District of Columbia,                )
    Ex rel. JANE DOE,                            )
                                                      )
                                       Plaintiffs,    )      DEMAND FOR JURY TRIAL
    V.                                                )
                                                      )
    VIRTUOX, INC.,                                    )
                                                      )
                                       Defendant.     )



                  Qui tam plaintiff/rclator Jane Doc ("Rclator"), through her attorneys Burr Forman, LLP,

    on behalf of the United States of America, the State of Arkansas, the State of California, the State

    of Colorado, the State of Connecticut, the State of Delaware, the State of Florida, the State of

    Georgia, the State of Illinois, the State of Indiana, the State of Iowa, the State of Louisiana, the

    State of Maryland, the Commonwealth of Massachusetts, the State of Michigan, the State of

    Minnesota, the State of Missouri, the State of Montana, the State of Nevada, the State of New

    Jersey, the State of New Mexico, the State of New York, the State of North Carolina, the State of

    Oklahoma, the State of Rhode Island, the State of Tennessee, the State of Texas, the State of

    Vermont, the Commonwealth of Virginia, the State of Washington, and the District of Columbia,




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     (collectively "the States and the District of Columbia") 1, for her Qui Tam Complaint against

     defendant VirtuOx, Inc. ("VirtuOx"), based upon her direct and personal knowledge, alleges as

     follows:


                                            I. INTRODUCTION

                  1.   This is an action to recover damages and civil penalties on behalf of the United

    States of America, the States, and the District of Columbia, arising from false and/or fraudulent

    records, statements and claims made, used and caused to be made, used or presented by Defendant,

    and/or its agents, employees and co-conspirators in violation of the Federal Civil False Claims

    Act, 31 U.S.C. § 3729, et seq., as amended ("the FCA" or "the Act") and its state-law counterparts:

    the Arkansas Medicaid Fraud False Claims Act, A.C.A. § 20-77-901 et seq.; California False

    Claim Act, Cal. Gov. Code § 12650 et seq.; the Colorado Medicaid False Claims Act, C.R.S.A. §

    25.5-4-303.5 et seq.; the Connecticut False Claims Act, Conn. Gen. Stat. Ann. § 4-274 et seq.; the

    Delaware False Claims and Reporting Act, 6 Del. C. § 1201 et seq.; the Florida False Claims Act,

    Fla. Stat. Ann. § 68.081, et seq.; the Georgia Taxpayer Protection False Claims Act, Ga. Code

    Ann. §23-3-120 et seq.; the Illinois False Claims Act, 740 Ill. Comp. Stat.§ 175/1-8; the Indiana

    False Claims and Whistleblower Protection Act, IC 5-11-5.5- 1 et seq.; the Iowa False Claims Act,

    LC.A. § 685.3 et seq.; the Louisiana Medical Assistance Programs Integrity Law, La. Rev. Stat.

    Ann. § 46:439.1 et seq.; the Maryland False Health Claims Act; MD Code 2-601 et seq.; the

    Massachusetts False Claims Act, Mass. Gen. Laws ch. 12, § 5A et seq.; the Michigan Medicaid

    False Claim Act M.C.L. §400.601 et seq.; the Minnesota False Claims Act, Minn. Stat. Ann. §



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     The State of New Hampshire has been removed as a Plaintiff at the request of the State. Based
    on the State's False Claims Act, a relator can only bring a case on behalf of the State of New
    Hampshire if the defendant has its principal place of business within the state. The defendant docs
    not have its principal place of business in New Hampshire.

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     15C.0 1 et seq.; the Missouri Health Care Fraud and Abuse Act, V.A.M.S. § 191.905 et seq.; the

     Montana False Claims Act, Mont. Code Ann. § 17-8-401 et seq.; the Nevada False Claims Act,

    Nev. Rev. Stat. Ann.§ 357.010 et seq.; the New Jersey False Claims Act, N.J. Stat. Ann.§ 2A:32C-

     1 et seq.; The New Mexico Medicaid False Claims Act, N.M. Stat. Ann. § 27-14-1 et seq.; the

    New York False Claims Act, N.Y. State Fin. Law§ 187 et seq.; the North Carolina False Claims

    Act, N.C.G.S.A. § 1-605 et seq.; the Oklahoma Medicaid False Claims Act, Okla. Stat. Ann. 63

    §5053. 1 et seq.; the Rhode Island State False Claims Act, R.I. Gen. Laws§ 9-1.1-1 et seq.; the

    Tennessee False Claims Act, T.C.A. § 71-5-182(a) et seq.; the Texas Medicaid Fraud Prevention

    Law, Tex. Hum. Res. Code Ann. § 36.001 et seq.; the Vermont False Claims Act, VT. Stat. Ann.

    32 § 7-630 et seq.; the Virginia Fraud Against Taxpayers Act, Va. Code Ann.§ 8.01-216.1 et seq.;

    the Washington Medicaid Fraud False Claims Act, RCWA 74.66.005 et seq.; and the District of

    Columbia False Claims Act, D.C. Code Ann.§ 2-381.01 et seq.

                  2.   Upon information and belief, Defendant has, since at least approximately 2011,

    conducted several unlawful schemes which resulted in false claims being submitted to government

    payors for reimbursement.

                  3.   The first scheme involved VirtuOx falsely identifying the location of its services so

    that Medicare and other payors would give them a higher allowable and accordingly a higher

    payment for their services.

                  4.   Upon information and belief, this scheme involved submitting claims to Medicare

    and other payors with a location of service as San Francisco, California, despite the fact that their

    true location of services is Florida.

                  5.   The second scheme involves VirtuOx performing and billing for unnecessary

    services. For purposes of determining whether a patient qualifies for home oxygen therapy, the



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     appropriate test is the overnight measurement of oxygen saturation in blood. This is a service

     whereby a patient's oxygen levels and heart rate arc recorded the entire night. However, there is

     an additional service called a "spot check", which checks oxygen and heart rate levels for a brief

     moment.

                  6.    There is no reason to perform a spot check at the same time as an overnight study.

    The overnight study would encompass what would be learned from a spot check. VirtuOx provides

    the prescription forms to be used by the prescribing physicians. These forms are printed in a way

    so that the physician is misled into prescribing both a spot check as well as an overnight test.

    (Exhibit 1). As such, a physician who intends to order one service or the other, is misled into

    ordering both, and an unnecessary service is being perfonned resulting in a false claim.

                  7.    The third scheme involves VirtuOx marketing and otherwise promoting a

    capnograph that tests oximetry and carbon dioxide levels, without clinical supervision, that has

    not been FDA approved for that use.

                  8.    The fourth scheme involves VirtuOx giving free, or heavily discounted, pulse

    oximeter devices to durable medical equipment companies, to induce them to refer the overnight

    oxygen test data interpretation work to VirtuOx.

                  9.    As a direct result of Defendant's improper practices, federal and state health

    msurance programs including, but not limited to, Medicare, Medicaid, MediCal, TennCare,

    CHAMPUS/TRICARE, CHAMPVA and the Federal Employee Health Benefits Program

    ("FEHBP") have been caused to pay false or fraudulent claims for Defendant's services.

                  10.   The False Claims Act was originally enacted during the Civil War, and was

    substantially amended in 1986. Congress amended the Act to enhance the Government's ability to

    recover losses sustained as a result of fraud against the United States after finding that fraud in



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     federal programs was pervasive and that the Act, which Congress characterized as the primary tool

     for combating government fraud, was in need of modernization.

                  11.   Congress intended that the amendments to the False Claims Act create incentives

     for individuals with knowledge of fraud against the government to disclose the information without

     fear of reprisals or Government inaction, and to encourage the private bar to commit legal

    resources to prosecuting fraud on the Government's behalf.

                  12.   The Act provides that any person who knowingly submits, or causes the submission

    of a false or fraudulent claim to the U.S. Government for payment or approval is liable for a civil

    penalty ofup to $22,363 for each such claim, plus three times the amount of the damages sustained

    by the Government, plus attorneys' fees and costs. 31 U.S.C. §§ 3729. Liability attaches when a

    defendant knowingly seeks payment, or causes others to seek payment, from the Government that

    is unwarranted.

                  13.   The Act allows any person (known as a "Relator") having inforn1ation about a false

    or fraudulent claim against the Government to bring an action for himself and the Government,

    and to share in any recovery.

                  14.   Based on these provisions, qui tam Plaintiff seeks through this action to recover on

    behalf of the United States and those States, all of which authorize similar qui tam actions, damages

    and civil penalties arising from the named Defendant's making or causing to be made false or

    fraudulent records, statements and/or claims.

                  15.   Defendant directly submitted, and/or caused to be submitted, claims for

    Independent Diagnostic Testing Facility ("IDTF") services, and other services and products, to

    federal and state health insurance programs, it knew, and/or reasonably foresaw, were false and

    fraudulent, and not eligible for program reimbursement.



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                  16.   Defendant is therefore liable under the federal False Claims Act, the Federal Anti-

     Kickback Statute, and analogous state False Claims Acts for causing the submission of thousands

    of claims for VirtuOx's Independent Diagnostic Testing Facility services, and other services and

    products, that were not eligible for reimbursement.

                                                   II. PARTIES

                  A.    Relator.

                  17.   Plaintiff/Relator is a resident of Kansas and a citizen of the United States. Relator

    is the owner of an IDTF, who through Relator's employment has gained direct and personal

    knowledge of the illegal and false claims alleged herein. Relator brings this action on behalf of

    the United States of America pursuant to the Qui Tam provisions of the federal False Claims Act,

    31 U.S.C. § 3729 et seq.

                  B.    Defendant VirtuOx, Inc.

                  18.   Upon information and belief, Defendant VirtuOx is a corporation organized under

    the laws of Florida, with its principal place of business located at 5850 Coral Ridge Drive, Suite

    304, Coral Springs, FL 33076.           Upon information and belief, Defendant VirtuOx regularly

    transacts business in this federal district.

                  19.   Upon information and belief, Defendant VirtuOx provides Independent Diagnostic

    Testing Facility services to patients and durable medical equipment ("DME") companies

    throughout the United States.

                  20.   VirtuOx provides these services to patients, and to DME companies who provide

    home oxygen equipment and supplies to patients pursuant to a prescription.

                                      III. JURISDICTION AND VENUE

                  21.   This Court has jurisdiction over the subject matter of this action pursuant to 28



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     U.S.C. § 1331, 28 U.S.C. § 1367, 28 U.S.C. § 1345, 42 U.S.C. § 1320-7b(b), and 31 U.S.C. § 3732,

     the last of which specifically confers jurisdiction on this Court for actions brought pursuant to 31

     U.S.C. §§ 3729 and 3720. In accordance with 31 U.S.C. § 3730(e)(4)(A), there has been no

     statutorily relevant public disclosure of the "allegations or transactions" in this Complaint. None

    of the allegations set forth in this Complaint are based on a public disclosure of allegations or

    transactions in a criminal, civil or administrative hearing, in a congressional, administrative or

    General Accounting Office report, hearing, audit or investigation, or from the news media. Relator

    has direct and independent knowledge of the information on which the allegations set forth in this

    Complaint arc based. In accordance with 31 U.S.C. § 3730(e)(4)(B), Relator is an original source

    with direct and independent knowledge of the allegations contained herein.

                  22.   The Court has subject matter jurisdiction over Defendant's violations of the

    Arkansas Medicaid Fraud False Claims Act, A.C.A. § 20-77-901 et seq.; the California False

    Claim Act, Cal. Gov. Code § 12650 et seq.; the Colorado Medicaid False Claims Act, C.R.S.A.

    § 25.5-4-303.5 et seq.; the Connecticut False Claims Act, Conn. Gen. Stat. Ann.§ 17b-301 et seq.;

    the Delaware False Claims and Reporting Act, 6 Del. C. § 1201 et seq.; the Florida False Claims

    Act, Fla. Stat. Ann. § 68.081, ct seq.; the Georgia Taxpayer Protection False Claims Act, Ga. Code

    Ann. §23-3-120 et seq.; the Illinois False Claims Act, 740 Ill. Comp. Stat.§ 175/1-8; the Indiana

    False Claims and Whistleblower Protection Act, IC 5-11-5.5- 1 et seq.; the Iowa False Claims Act,

    LC.A. § 685.3 et seq.; the Louisiana Medical Assistance Programs Integrity Law, La. Rev. Stat.

    Ann. § 46:439.1 et seq.; the Maryland False Health Claims Act; MD Code 2-601 et seq.; the

    Massachusetts False Claims Act, Mass. Gen. Laws ch. 12, § 5A et seq.; the Michigan Medicaid

    False Claim Act M.C.L. §400.60 I et seq.; the Minnesota False Claims Act, Minn. Stat. Ann. §

     15C.0 1 et seq.; the Missouri Health Care Fraud and Abuse Act, V.A.M.S. § 191.905 et seq.; the



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     Montana False Claims Act, Mont. Code Ann. § 17-8-401 et seq.; the Nevada False Claims Act,

     Nev. Rev. Stat. Ann.§ 357.010 et seq.; the New Jersey False Claims Act, N.J. Stat. Ann.§ 2A:32C-

     l et seq.; The New Mexico Medicaid False Claims Act, N.M. Stat. Ann. § 27-14-1 et seq.; the

     New York False Claims Act, N .Y. State Fin. Law§ 187 et seq.; the North Carolina False Claims

    Act, N.C.G.S.A. §1-605 et seq.; the Oklahoma Medicaid False Claims Act, Okla. Stat. Ann. 63

     §5053. 1 et seq.; the Rhode Island State False Claims Act, R.I. Gen. Laws § 9-1.1-1 ct seq.; the

    Tennessee False Claims Act, T.C.A. § 7 l-5-l 82(a) ct seq.; the Texas Medicaid Fraud Prevention

    Law, Tex. Hum. Res. Code Ann.§ 36.001 ct seq.; the Vermont False Claims Act, VT. Stat. Ann.

    32 § 7-630 et seq.; the Virginia Fraud Against Taxpayers Act, Va. Code Ann.§ 8.01-216. l et seq.;

    the Washington Medicaid Fraud False Claims Act, RCW A 74.66.005 et seq.; and the District of

    Columbia False Claims Act, D.C. Code Ann.§ 2-381.01 et seq., pursuant to 31 U.S.C. § 3732(b)

    because Defendant's violations of the State False Claims Acts and the federal FCA arise out of a

    common nucleus of operative fact. See also 31 U.S.C. § 3732(b) (granting district court's

    jurisdiction over any action brought under the laws of any state for the recovery of funds paid by

    a state if the action arises from the same transaction or occurrence as an action brought under the

    federal FCA).

                  23.   This Court has personal jurisdiction and venue over the Defendant pursuant to 28

    U.S.C. §§ 1391(b) and 31 U.S.C. § 3732(a) because the Defendant can be found in, resides, and

    transacts business in and throughout the Southern District of Florida.

                  24.   Venue is proper in this District pursuant to 31 U.S.C. § 3732(a) and 28 U.S.C.

    § 1391 (b ), because the Defendant can be found in, resides, and transact business in the Southern

    District of Florida. At all times relevant to this Qui Tam Complaint, the Defendant regularly

    conducted substantial business within the Southern District of Florida, maintained employees and



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     offices in the Southern District of Florida, and made significant sales within the Southern District

     of Florida.



                          IV. BACKGROUND ON FEDERAL & STATE-FUNDED
                                 HEALTH INSURANCE PROGRAMS

                  A.    Medicare Program

                  25.   In 1965, Congress enacted Title XVIII of the Social Security Act, which established

    the Medicare Program to provide health insurance for the elderly and disabled. Medicare is a health

    insurance program for: people age 65 or older; people under age 65 with certain disabilities; and

    people of all ages with end-stage renal disease (permanent kidney failure requiring dialysis or a

    kidney transplant).

                  26.   Medicare now has three parts: Part A; Part B, and Part D Programs.

                  27.   Medicare Part A (Hospital Insurance) helps cover inpatient care in hospitals,

    including critical access hospitals, and skilled nursing facilities (not custodial or long-tenn care).

    Medicare Part A also helps cover hospice care and some home health care.

                  28.   Medicare Part B (Medical Insurance) helps cover doctors' services and outpatient

    care, as well as other medical services not covered by Part A including HME equipment and

    supplies. Part B also helps pay for covered health services and supplies when they are medically

    necessary.

                  29.   Medicare Part D (Prescription Drug Plan) provides beneficiaries with assistance in

    paying for out-patient prescription drugs.

                  30.   Payments from the Medicare Program come from a trust fund - known as the

    Medicare Trust Fund - which is funded through payroll deductions taken from the work force, in

    addition to government contributions. Over the last forty years, the Medicare Program has enabled


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     the elderly and disabled to obtain necessary medical services from medical providers throughout

     the United States.

                   31.   The Medicare Program is administered through the United States Department of

     Health and Human Services ("HHS") and, specifically, the Centers for Medicare and Medicaid

     Services ("CMS"), an agency of HHS.

                   32.   Much of the daily administration and operation of the Medicare Program 1s

     managed through private insurers under contract with the federal government.

                   33.   Under Medicare Part A, contractors serve as "fiscal intermediaries," administering

     Medicare in accordance with rules developed by the Health Care Financing Administration

     ("HCFA").

                   34.   Under Medicare Part B, the federal government contracts with insurance companies

     and other organizations known as "carriers" to handle payment for physicians' services in specific

     geographic areas. These private insurance companies, or "Medicare Carriers", arc charged with

     and responsible for accepting Medicare claims, determining coverage, and making payments from

     the Medicare Trust Fund.

                   35.   Under Medicare Part D, Medicare beneficiaries must affirmatively enroll in one of

     many hundreds of Part D plans ("Part D Sponsors") offered by private companies that contract

     with the federal government. Part D Sponsors are charged with and responsible for accepting

     Medicare Part D claims, determining coverage, and making payments from the Medicare Trust

     Fund.

                   36.   The principal function of both intermediaries and carriers is to make payments for

     Medicare services, and to audit claims for those services, to assure that federal funds are spent

     properly.



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                   37.   To participate in Medicare, providers must assure that their services arc provided

     economically and only when, and to the extent they are medically necessary. Medicare will only

     reimburse costs for medical services that are needed for that prevention, diagnosis, or treatment of

     a specific illness or injury.

                   B.    Medicaid Program

                   38.   Medicaid was created in 1965, at the same time as Medicare, when Title XIX was

     added to the Social Security Act. The Medicaid program aids the states in furnishing medical

     assistance to eligible needy persons, including indigent and disabled people. Medicaid is the largest

     source of funding for medical and health-related services for America's poorest people.

                   39.   Medicaid is a cooperative federal-state public assistance program which 1s

     administered by the states.

                   40.   Funding for Medicaid is shared between the federal government and those state

     governments that choose to participate in the program. Federal support for Medicaid is significant.

     For example, the federal government provides approximately 60% of the funding for Florida

     Medicaid, the remaining 40% of funds is received from the state.

                   41.   Title XIX of the Social Security Act allows considerable flexibility within the

     states' Medicaid plans and therefore, specific Medicaid coverage and eligibility guidelines vary

     from state to state.

                   42.   However, in order to receive federal matching funds, a state Medicaid program

     must meet certain minimum coverage and eligibility standards. A state must provide Medicaid

     coverage to needy individuals and families in five broad groups: pregnant women; children and

     teenagers; seniors; people with disabilities; and people who are blind. In addition, the state

     Medicaid program must provide medical assistance for certain basic services, including inpatient



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     and outpatient hospital services.

                   C.    Other Federal Health Care Programs

                   43.   In addition to Medicaid and Medicare, the federal government reimburses a portion

     of the cost of prescription medication, equipment, and supplies under several other federal health

     care: programs, including but not limited to CHAMPUS/TRICARE, CHAMPY A and the: Federal

     Employees Health Benefit Program.

                   44.   CHAMPUS/TRICARE, administered by the United States Department of Defense,

     1s a health care program for individuals and dependents affiliated with the armed forces.

     CHAMPYA, administered by the United States Department of Veteran Affairs, is a health care

     program for the families of veterans with a 100 percent service connected disability. The Federal

     Employee Health Benefit Program, administered by the United States Office of Personnel

     Management, provides health insurance for hundreds of thousands of federal employees, retirees,

     and survivors.

                                            V. APPLICABLE LAW

                   A.    Federal False Claims Act

                   45.   The False Claims Act was originally enacted during the Civil War, and was

     substantially amended in 1986. Congress amended the Act to enhance the Government's ability to

     recover losses sustained as a result of fraud against the United States after finding that fraud in

     federal programs was pervasive and that the Act, which Congress characterized as the primary tool

     for combating government fraud, was in need of modernization.

                   46.   Congress intended that the amendments to the False Claims Act create incentives

     for individuals with knowledge of fraud against the government to disclose the information without

     fear of reprisals or Government inaction, and to encourage the private bar to commit legal



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     resources to prosecuting fraud on the Government's behalf.

                   47.   The Act provides that any person who knowingly submits, or causes the submission

     of a false or fraudulent claim to the U.S. Government for payment or approval is liable for a civil

     penalty of up to $22,363 for each such claim, plus three times the amount of the damages sustained

     by the Government, plus attorneys' fees and costs. 31 U.S.C. §§ 3729, et seq. Liability attaches

     when a defendant knowingly seeks payment, or causes others to seek payment, from the

     Government that is unwarranted.

                   48.   The Act allows any person (known as a "Relator") having information about a false

     or fraudulent c1aim against the Government to bring an action for himself and the Government,

     and to share in any recovery.

                   49.   Based on these provisions, qui tam Plaintiff seeks through this action to recover on

     behalf of the United States and those States, all of which authorize similar qui tam actions, damages

     and civil penalties arising from the named Defendant's making or causing to be made false or

     fraudulent records, statements and/or claims.

                   50.   As a prerequisite to participating m federally-funded health care programs,

     providers must certify (expressly or, through their participation in a federally-funded health care

     program, impliedly) their compliance with the Federal False Claims Act.

                   51.   IDTF's, DME companies, sleep labs, physicians, hospitals, and pharmacies enter

     into Provider Agreements with CMS in order to establish their eligibility to seek reimbursement

     from the Medicare Program. As part of that agreement, without which IDTF's, DME companies,

     sleep labs, physicians, hospitals and pharmacies may not seek reimbursement from Federal Health

     Care Programs, the provider must sign the following certifications:

                         I agree to abide by the Medicare laws, regulations and program, instructions
                         that apply to this supplier. The Medicare laws, regulations, and program


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                         instructions arc available through the Medicare contractor. I understand that
                         payment of a claim by Medicare is conditioned upon the claim and the
                         underlying transaction complying with such laws, regulations, and program
                         instructions (including, but not limited to, the Federal Anti-Kickback statute
                         and the Stark law), and on the supplier's compliance with all applicable
                         conditions of participation in Medicare.

     Medicare Enrollment Application, Form CMS-855-B. (Certification Statement).                  Further, the

     Provider certifies that:

                         I will not knowingly present or cause to be presented a false or fraudulent
                         claim for payment by Medicare, and I will not submit claims with deliberate
                         ignorance or reckless disregard of their truth or falsity.
     Id.

                   52.   Even in the absence of an express certification of Compliance, a party that submits

     a claim for payment impliedly certifies compliance with all conditions of payment, i.e., that it is

     properly payable.

                   B.    Federal Food, Drug, and Cosmetic Act

                   53.   Each person who wants to market in the U.S., a Class I, II, and III device intended

     for human use, for which a Premarket Approval application (PMA) is not required, must submit a

     5 I O(k) to FDA unless the device is exempt from 51 O(k) requirements of the Federal Food, Drug,

     and Cosmetic Act (the FD&C Act).

                   54.   A 51 O(k) is a premarket submission made to FDA to demonstrate that the device to

     be marketed is at least as safe and effective, that is, substantially equivalent, to a legally marketed

     device (21 CFR 807.92(a)(3)) that is not subject to PMA. Submitters must compare their device to

     one or more similar legally marketed devices and make and support their substantial equivalence

     claims.

                   55.   The legally marketed device(s) to which equivalence is drawn is commonly known

     as the "predicate."



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                   56.   Until the submitter receives an order declaring a device SE, the submitter may not

     proceed to market the device. Once the device is detem1ined to be SE, it can then be marketed in

     the U.S.

                   57.   A 510(k) requires demonstration of substantial equivalence to another legally U.S.

     marketed device. Substantial equivalence means that the new device is at least as safe and effective

     as the predicate.

                   58.   A 51 0(k) is not required if the device is made outside the U.S. and you arc an

     importer of the foreign made medical device. A 51 0(k) is not required if a 51 0(k) has been

     submitted by the foreign manufacturer and received marketing clearance. Once the foreign

     manufacturer has received 51 0(k) clearance for the device, the foreign manufacturer may export

     his device to any U.S. importer.

                   59.   The FD&C Act and the 51 0(k) regulation (21 CFR 807) do not specify who must

     submit a 51 0(k). Instead, they specify which actions, such as introducing a device to the U.S.

     market, require a 51 0(k) submission.

                   60.   Repackagers or relabelers may be required to submit a 51 0(k) if they significantly

     change the labeling or otherwise affect any condition of the device. Significant labeling changes

     may include modification of manuals, such as adding a new intended use, deleting or adding

     warnings, contraindications, etc.

                   61.   A 51 0(k) is required when there are changes or modifications to an existing device,

     where the modifications could significantly affect the safety or effectiveness of the device or the

     device is to be marketed for a new or different intended use.

                   62.   The FDA regulates drugs and devices based on the "intended uses" for such

     products. Before marketing and selling a medical device, a manufacturer must demonstrate to the



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     FDA that the product is safe and effective for each intended use. 21 U .S.C. §331 (d).

                   63.   The FDA prohibits medical device manufacturers from marketing or promoting

     medical devices for uses, i.e., "indications" not approved by the FDA. "Off-label" refers to the

     marketing of an FDA approved device for uses that have non undergone FDA scrutiny and

     approval, i.e., for purposes not approved by the FDA.

                   64.   Sales and marketing for uses other than that approved by the FDA is considered

     off-label marketing or "misbranding" proscribed by the FDA. See 21 U.S.C. §331 (a)-(b ).

                   65.   Strong policy reasons exist for strict regulation of off-label marketing. Off-label

     promotion bypasses the FDA's strict review and approval process, and removes the incentive to

     obtain definitive clinical study data showing the efficacy and safety of a product, and accordingly,

     the medical necessity for its use.

                   66.   The FDCA defines both misleading statements and the failure to reveal material

     facts in a label or product labeling as "misbranding." 21 U.S.C. § 321 (n). Labeling includes,

     brochures, booklets, detailing pieces, literature, reprints, sound recordings, exhibits and audio

     visual material. 21 C.F.R. § 202.1 (1 )(2).

                   67.   Medical device marketing materials and presentations lacking in fair balance or that

     are otherwise false or misleading "misbrand" a device in violation of the Food, Drug and Cosmetics

     Act, 21 U.S.C. §§ 301,321,331,352, 360b, 371, 21 C.F.R. § 202.l(e)(6), (e)(7), 21 C.F.R. § 1.21.

                   68.   Such violations exist where promotional and marketing materials and presentations

     for an FDA approved device, reference "off-label" uses of the device -        i.e., those uses which are

     not indicated by the FDA, or contain representations or suggestions, not approved or permitted in

     the labeling, that is not demonstrated by substantial evidence or substantial clinical experience.




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                   C.    Federal Anti-Kickback Statute

                   69.   Enacted in 1972, the main purpose of the federal Anti-Kickback Statute, 42 U.S.C.

     § 1320a-7b, is to protect patients and federal health care programs from fraud and abuse by

     curtailing the corrupting influence of money on health care decisions.

                   70.   When a company pays kickbacks to a medical equipment provider, such as an

     HME, in order to induce the provider to use the company's products, it fundamentally compromises

     the integrity of the provider/patient relationship. Government-funded healthcare programs, such

     as Medicare and Medicaid, rely upon health care providers to decide what treatment and/or medical

     equipment is appropriate and medically necessary for patients, and, therefore, payable by that

     healthcare program. As a condition ofits reimbursement, government healthcare programs require

     that individuals and companies must render their services without the conflict of receipt of a

     kickback.

                   71.   Many states, including those States identified as Plaintiffs herein, have enacted

     similar prohibitions against illegal inducements to health care decision-makers.

                   72.   The federal Anti-Kickback Statute and analogous state laws make it a crime to

     knowingly and willfully offer, pay, solicit or receive any remuneration to induce a person:

             ( 1) to refer an individual to a person for the furnishing of any item or service covered under
     a federal health care program~ or

            (2) to purchase, lease, order, arrange for or recommend any good, facility, service, or item
     covered under a Federal health care program.

     42 U.S.C. § 1320a-7b(b )(1) and (2).

                   73.   The term "any remuneration" encompasses any kickback, bribe, or rebate, direct

     or indirect, overt or covert, in cash or in kind. 42 U .S.C. § 1320a-7b(b )( 1 ).

                   74.   Violations of the federal Anti-Kickback Statute must be knowing and willful. 42

     U.S.C. § 1320a-7b(b)(1).

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                   75.   The federal Anti-Kickback Statute has been interpreted by the United States Court

     of Appeals for the Third Circuit, as well as other federal courts, to cover any arrangement where

     one purpose of the remuneration was to obtain money for the referral of services or to induce

     further referrals. See United States v. Greber, 760 F.2d 68 (3d Cir.), cert denied, 474 U.S. 988

     (1985).

                   76.   Proof of an explicit quid pro quo is not required to show a violation of the Anti-

     Kickback Statute.

                   77.   In addition to the various laws and regulations all pharmaceutical and medical

     device companies are required to follow, the Government also offers industry guidance in an effort

     to police the marketing activities of the pharmaceutical industry.

                   78.   For instance, the Office of the Inspector General of the Department of Health and

     Human Services ("HHS-OIG"), in May 2003, issued its Compliance Program Guidance for

     Pharmaceutical Manufacturers, a document meant to provide an overview of the fundamental

     clements of a pharmaceutical manufacturer compliance plan, and identifies and discusses specific

     risk areas. (Exhibit l ).

                   79.   HHS-OIG has stated that "anti-kickback statute ultimately turns on a party's intent,

     it is possible to identify arrangements or practices that may present a significant potential for abuse.

     Initially, a manufacturer should identify any remunerative relationship between itself (or its

     representatives) and persons or entities in a position to generate federal health care business for

     the manufacturer directly or indirectly. Persons or entities in a position to generate federal health

     care business include, for example, purchasers, benefit managers, formulary committee members,

     group purchasing organizations (GPOs), physicians and certain allied health care professionals,

     and pharmacists. The next step is to determine whether any one purpose of the remuneration may



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     be to induce or reward the referral or recommendation of business payable in whole or in part by

     a Federal health care program." HHS-OIG Guidance to Pharmaceutical Manufacturers, issued

     May 2003, p. 23734 (Exhibit 1).

                   80.   The HHS-OIG raised an issue directly on point with the illegal activity of the

     Defendant herein: "Product Support Services. Pham1aceutical manufacturers sometimes offer

     purchasers certain support services in connection with the sale of their products. These services

     may include bil11ng assistance tailored to the purchased products, reimbursement consultation, and

     other programs specifically tied to support of the purchased product. Standing alone, services that

     have no substantial independent value to the purchaser may not implicate the anti-kickback statute.

     However, if a manufacturer provides a service having no independent value (such as limited

     reimbursement support services in connection with its own products) in tandem with another

     service or program that confers a benefit on a referring provider (such as a reimbursement

     guarantee that eliminates normal financial risks), the arrangement would raise kickback concerns."

     HHS-OIG Guidance to Pharmaceutical Manufacturers, issued May 2003, p. 23735 (Exhibit 1).

                   81.   A violation of the federal Anti-Kickback Statute constitutes a felony punishable by

     a maximum fine of $25,000, imprisonment up to five years, or both. A party convicted under the

     federal Anti-Kickback Statute may be excluded (i.e., not allowed to bill for any services rendered)

     from Federal health care programs. 42 U.S.C. § 1320a-7(a).

                   82.   In addition to criminal penalties, a violation of the Anti-Kickback Statute can also

     subject the perpetrator to exclusion from participation in federal health care programs (42 U .S.C.

     § 1320a-7(b)(7)), civil monetary penalties of$50,000 per violation (42 U.S.C. § 1320a-7a(a)(7)),

     and three times the amount of remuneration paid, regardless of whether any part of the

     remuneration is for a legitimate purpose. 42 U.S.C. § 1320a-7a(a).



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                   83.   HHS has published safe harbor regulations that define practices that arc not subject

     to prosecution or sanctions under the federal Anti-Kickback Statute because such practices would

     unlikely result in fraud or abuse. See 42 C.F.R. § 1001.952. However, only those arrangements

     that precisely meet all of the conditions set forth in the safe harbor are afforded safe harbor

     protection. None of the practices at issue here meet these safe harbor regulations.

                   84.   Compliance with the Anti-Kickback Statute is a condition of payment under the

     Medicare and Medicaid programs, and that condition applies regardless of which entity is

     submitting the claim to the government.

                   85.   Claims that arise from a kickback scheme violate the False Claims Act for two

     separate and distinct reasons: ( 1) claims seeking payment for services or prescriptions tainted by

     kickbacks arc "factually false" because compliance with the Anti-Kickback Statute is a condition

     of payment; and (2) health care providers must certify in their provider enrollment agreement that

     they will comply with the Anti-Kickback Statute as a condition of payment.

                   86.   Claims that result from a kickback scheme are per se false because the Anti-

     Kickback Statute prohibits the government from paying for services or pharmaceuticals tainted by

     kickbacks. No further express or implied false statement is required to render such infected claims

     false, and none can render the claim legitimate.

                   87.   The False Claims Act imposes liability where a defendant knowingly causes such

     tainted claims to be presented to the Medicare, Medicaid, or other government funded healthcare

     programs.

                   88.   Second, as a prerequisite to participating in federally-funded health care programs,

     providers must certify ( expressly or, through their participation in a federally-funded health care

     program, impliedly) their compliance with the federal Anti-Kickback Statute.




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                   89.   HME compames, Physicians, hospitals, and pharmacies enter into Provider

     Agreements with CMS in order to establish their eligibility to seek reimbursement from the

     Medicare Program.          As part of that agreement, without which HME companies, physicians,

     hospitals and pharmacies may not seek reimbursement from Federal Health Care Programs, the

     provider must sign the following certification:

               I agree to abide by the Medicare laws, regulations and program, instructions
               that apply to [me]. The Medicare laws, regulations, and program
               instructions arc available through the [Medicare] contractor. I understand
               that payment of a claim by Medicare is conditioned upon the claim and the
               underlying transaction complying with such laws, regulations, and program
               instructions (including, but not limited to, the Federal Anti-Kickback statute
               and the Stark law), and on the [provider's] compliance with all applicable
               conditions of participation in Medicare.

     Form CMS-855-S (for Durable Medical Equipment, Prosthetics, Orthotics and Supplies

     (DMEPOS) Suppliers) (Exhibit 2).

                   90.   Moreover, as a prerequisite to participating in the various state Medicaid programs,

     providers must certify (expressly or, through their participation in the state-funded health care

     program, impliedly) their understanding of and compliance with both the federal Anti-Kickback

     Statute and applicable state anti-kickback laws.

                   91.   Even in the absence of an express certification of Compliance, a party that submits

     a claim for payment impliedly certifies compliance with all conditions of payment, i.e., that it is

     properly payable.

                   92.   Consequently, if a party pays a kickback to induce the provision of a particular

     CPAP machine and supplies, it renders false the submitter's implied or express certification of

     compliance that the resulting claim complies with the requirements of the Anti-kickback Statute.

                   93.   On March 23,2010, as part of the Affordable Healthcare for America Act, the Anti-

     Kickback Statute was amended to clarify that all claims resulting from a violation of the Anti-


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     Kickback Statute are a violation of the federal False Claims Act. 42 U.S.C. § 1320a-7(b)(g). The

     amendment to the Anti-Kickback Statute codified the Jong standing Jaw within the Federal Circuit

     Courts of Appeals that a violation of the Anti-Kickback Statute renders a claim false under the

     federal False Claims Act. See e.g., United States ex rel. Schmidt v. Zimmer, Inc., 386 F.3d 235

     (3d Cir. 2004).

                                          VI. FRAUD ALLEGATIONS

                   A.    VirtuOx falsely represents to Federal and State Payors that its Location of
                         Services for its IDTF services is San Francisco, California rather than their
                         actual location in South Florida.

                         1.     Overview of VirtuOx's Scheme.

                   94.   Patients that need to be tested to determine their need for home oxygen therapy, or

     Non-invasive Ventilation, are prescribed at home testing to determine if the treatment is

     appropriate.

                   95.   The patient obtains the device, a pulse oximeter, or a capnograph, from either a

     DME company, or having it mailed to them directly from an IDTF.

                   96.   Pursuant to CMS Pub. 100-3 Section 240.2 (2005), the DME, which will ultimately

     be filling the patient's need for home oxygen therapy should the condition exist, cannot interpret

     the data. (Exhibit 2). This is due in part to the government's concern with the potential conflict

     of interest in having the DME interpret the data, and then subsequently providing the oxygen

     equipment and supplies.

                   97.   As such, the data collected by the DME is transmitted electronically to an IDTF,

     which serves as the independent third party reviewer.

                   98.   The IDTF analyzes the data and provides a report to the ordering physician and

     DME provider.



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                   99.    The applicable billing codes are: 94760 (Measurement of oxygen saturation in

     blood using car or finger device); 94762 (Overnight measurement of oxygen saturation in blood

     using car or finger device) (Exhibit 3); and G0399 (Home sleep test with type iii portable monitor,

     unattended). (Exhibit 4). Additionally, upon information and belief, Defendant is billing Medicare

     for testing associated with determining if a patient qualifies for non-invasive ventilation. There

     are multiple codes that Defendant could be using.

                   100.   Medicare has varying allowable rates based on where the IDTF services are located.

     For example, the Medicare allowable for code 94762 (Overnight measurement of oxygen

     saturation in blood using ear or finger device) for 2018 for Florida is $25. 78, whereas, the Medicare

     allowable for San Francisco, California is $33 .06. (Exhibits 5 and 6).

                   101.   The Medicare allowable for code 94760 (Measurement of oxygen saturation in

     blood using car or finger device) for 2018 for Florida is $3.20, whereas, the Medicare allowable

     for San Francisco, California is $3.49. (Exhibits 7 and 8).

                   102.   The Medicare allowable for code G0399 (Home sleep test with type iii portable

     monitor, unattended) for 2018 for Florida is $154.19, whereas, the Medicare allowable for San

     Francisco, California is $290.06 (Exhibits 9 and 10).

                   103.   Medicare pays 80% of the allowable, with the patient or secondary insurance being

     liable for the remainder. Since April 1, 2013, Medicare also applies a further deduction to its

     payment, called a sequestration reduction, of 2%. (Exhibit 11 ).

                   104.   Upon information and belief, VirtuOx's location of the IDTF services it provides

     is Coral Springs, Florida. This is their corporate office, and principal place of business.

                   105.   Upon information and belief, it is at this office that patient calls, and patient health

     care inquiries, are handled, as well as insurance billing activities.



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                   I 06.   Upon information and belief, on or about 2010, VirtuOx bought an IDTF located

     in Stockton, California named Oxytcch. This company had employees, and equipment providing

     IDTF services in Stockton, California.

                   107.    Upon information and belief, within approximately one year, VirtuOx closed the

     Stockton office and opened a San Francisco office.               Shortly thereafter, all of the Oxytech

     employees were ultimately terminated.

                   108.    Upon information and belief, VirtuOx's initial San Francisco office was a "virtual"

     office. Ultimately, VirtuOx leased a small space located at 150 Executive Park Blvd., Suite 3210,

     San Francisco, CA 94134. Their entire office staff consists of a receptionist and an office manager.

                   109.    Upon information and belief, virtually no IDTF services are being performed out

     of that San Francisco, California location.

                   110.    Medicare requires that an IDTF maintain a phone line for patients to call to discuss

     their test. (Exhibit 12). The Medicare requirements for an IDTF state that it must:

                           Maintain a primary business phone under the name of the designated
                   business. The primary business phone must be located at the designated site of the
                   business, or within the home office of the mobile IDTF units. The telephone number
                   or toll free numbers must be available in a local directory and through directory
                   assistance. IDTFs may not use "call forwarding" or an answering service as their
                   primary method ofreceiving calls from beneficiaries during posted operating hours.

                   111.    The phone number Medicare has to give to its beneficiaries to contact VirtuOx was

     (415) 508 - 1240. This is a San Francisco phone number. Calls to that number yield only a busy

     signal.

                   112.    The only VirtuOx phone number that gets answered is the one for the Florida office.

     This further establishes that VirtuOx's San Francisco office is simply a front for purpose of billing

     Medicare for the higher allowable.

                   113.    Additionally, upon information and belief, all order forms for IDTF services are


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     faxed to VirtuOx's Florida office. VirtuOx's location of services is, and should be listed on its

     claims to Medicare or other payers, as Florida.

                   114.   However, VirtuOx is falsely representing to Medicare and other Payors that the

     location of services for reimbursement purposes is this San Francisco location. This is despite the

     fact that the actual location of services is their primary location in Coral Springs, Florida.

                   115.   Using 2016 as a sample year, by making such false claims, VirtuOx has been

     obtaining an additional approximately $6.48 per test for code 94762. In 2016 VirtuOx submitted

     131,803 claims to Medicare for billing code 94762. (Exhibit 13). The 2016 Medicare allowable

     for San Francisco, California, for 94762 was $33.96 (Medicare would pay approximately $26.62

     of this 2 ). (Exhibit 14). The 2016 Medicare allowable for Ft. Lauderdale, Florida, for 94762 was

     $25.69 (Medicare would pay approximately $20.14 of this 3 ). (Exhibit 15). As such, due to this

     fraud, Medicare was made to pay $6.48 more for each test in 2016 than it should have, with a total

     amount of overpayments of approximately $854,083.44 (131,803 x $6.48 = $854,083.44).

                   116.   Further, VirtuOx has been obtaining an additional approximately $0.45 per test for

     code 94760.          In 2016 VirtuOx submitted 20,855 claims to Medicare for billing code 94760.

     (Exhibit 13). The 2016 Medicare allowable for San Francisco, California, for 94760 was $4.14

     (Medicare would pay approximately $3.24 of this 4). (Exhibit 16). The 2016 Medicare allowable

     for Ft. Lauderdale, Florida, for 94760 was $3.56 (Medicare would pay approximately $2.79 of

     this 5 ). (Exhibit 17). As such, due to this fraud, Medicare was made to pay $0.45 more for each

     test in 2016 than it should have, with a total amount of overpayments of approximately $9,384.75




     2 Medicare pays      80% of its   allowable,   and then   applies   a sequestration reduction of an additional   2%.
     3 Medicare pays      80% of its   allowable,   and then   applies   a sequestration reduction of an additional   2%.
     4
       Medicare pays      80% of its   allowable,   and then   applies   a sequestration reduction of an additional   2%.
     5 Medicare pays      80% of its   allowable,   and then   applies   a sequestration reduction of an additional   2%.

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     (20,855       X   $0.45 = $9,384.75).

                   117.    However, the damages related to code 94760 are not just the amount of the

     overpayment. As explained in further herein, this spot check was an unnecessary service and

     should never have been performed or billed. As such the damages are the full amount of the

     payment of $3.24 (San Francisco rate). Therefore the damages for just 2016 are $67,570.20

     (20,855       X   $3.24 = $67,570.20).

                   118.    Additionally, VirtuOx has been obtaining an additional approximately $106.00 per

     test for code G0399. In 2016 VirtuOx submitted 4,458 claims to Medicare for billing code G0399.

     (Exhibit 13 ). The Medicare allowable for 2016 for this code is unavailable as Medicare has

     removed them from its website.           Further, the 2017 numbers of how many claims Defendant

     submitted for this code have not been released by Medicare yet. To determine the overpayment

     for 2017, it will be presumed that the usage is the same as the 2016 number of claims submitted to

     Medicare, which was 4,458. The 2017 Medicare allowable for San Francisco, California, for

     G0399 was $288.62 (Medicare would pay approximately $226.28 ofthis 6). (Exhibit 18). The 2017

     Medicare allowable for Ft. Lauderdale, Florida, for G0399 was $153.42 (Medicare would pay

     approximately $120.28 of this 7 ). (Exhibit 19). As such, due to this fraud, Medicare was made to

     pay $106.00 more for each test in 2017 than it should have, with a total amount of overpayments

     of approximately $472,548.00 (4,458 x $106.00 = $472,548.00))

                   119.    Upon information and belief, in 2018, VirtuOx purchased an IDTF called Instant

     Diagnostic Systems, ("IDS") which in 2016 performed approximately 50,000 tests per year on

     Medicare patients with billing code 94762 (Overnight measurement of oxygen saturation in blood




     6   Medicare pays 80% of its allowable, and then applies a sequestration reduction of an additional 2%.
     7
         Medicare pays 80% of its allowable, and then applies a sequestration reduction of an additional 2%.

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     using ear or finger device). (Exhibits 20 and 21 ). This acquisition means that Virtuox is now

     performing approximately 200,000 tests per year on Medicare patients with bi11ing code 94762

     (Overnight measurement of oxygen saturation in blood using ear or finger device). This would

     result in an overpayment of approximately $1,142,000.00. The 2018 Medicare allowable for San

     Francisco, California, for 94762 was $33.06 (Medicare would pay approximately $25.92 of this 8 ).

     (Exhibit 6). The 2018 Medicare allowable for Ft. Lauderdale, Florida, for 94762 was $25.78

     (Medicare would pay approximately $20.21 of this 9). (Exhibit 5). As such, due to this fraud,

     Medicare was made to pay approximately $5.71 more for each test in 2018 than it should have,

     with a total amount of overpayments of approximately $1,142,000.00 (200,000 x $5.71 =

     $1,142,000.00).

                   120.   Additionally, with this acquisition, VirtuOx is now submitting approximately

     9,236 claims to Medicare for billing code G0399. (This is based on 2016 numbers of 4,458 claims

     submitted by VirtuOx, and 4,778 claims submitted by IDS. (Exhibits 13 and 21 ). The actual

     current numbers would be higher. The 2018 Medicare allowable for San Francisco, California,

     for G0399 was $290.06 (Medicare would pay approximately $227 .40 of this 10). (Exhibit 10). The

     2018 Medicare allowable for Ft. Lauderdale, Florida, for G0399 was $154.19 (Medicare would

     pay approximately $120.88 of this 11 ). (Exhibit 9). As such, due to this fraud, Medicare was made

     to pay $106.52 more for each test in 2018 than it should have, with a total amount of overpayments

     of approximately $983,818.72 (9,236 x $106.52 = $983,818.72).

                   121.   Defendant falsely claims its location of IDTF services is San Francisco, California,




     8
        Medicare pays 80% of its allowable, and then applies a sequestration reduction of an additional 2%.
     9
        Medicare pays 80% of its allowable, and then applies a sequestration reduction of an additional 2%.
     10
        Medicare pays 80% of its allowable, and then applies a sequestration reduction of an additional 2%.
     11
        Medicare pays 80% of its allowable, and then applies a sequestration reduction of an additional 2%.

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     with the accomplished goal of obtaining a higher reimbursement for its services in violation of the

     federal False Claims Act, as well as similar state statutes.

                   122.     Upon information and belief, VirtuOx has been engaging in this fraudulent practice

     since at least 2011.

                   B.     VirtuOx is Billing Code 94760 Concurrently With Billing Code 94762 To
                          Inappropriately Obtain an Additionally Payment for the Same Service.

                   123.    The billing code for overnight measurement of oxygen saturation in blood using

     car or finger device is 94762. This is a service whereby a patient's oxygen levels and heart rate

     arc recorded the entire night.

                   124.    There is an additional code, 94760, for performing a separate service, termed a

     "spot check". This involves placing a pulse oximctcr on a patient's finger to check oxygen and

     heart rate levels for a brief moment.

                   125.    There is no reason to perform a spot check at the same time as an overnight study.

     The overnight study would encompass what would be learned from a spot check.

                   126.    VirtuOx provides the prescription forms to be used by the prescribing physicians.

     These forms are printed in a way so that the physician is misled into prescribing both a spot check

     (94 760) as well as an overnight test (94 762). (Exhibit 1).

                   127.    The prescription form provided by VirtuOx is the VirtuOx "Overnight Oximetry

     Order Form". Under the "Diagnostic Orders" section, it is prefilled by VirtuOx with the following

     language:

                            "Awake Oximetry CPT 94760 & Overnight Oximetry CPT 94762:
                           Immediately and repeat in 30/60/90 other: _ _ _ to validate oxygen
                           settings."

                   128.    As can be seen, there is no place for the physician to check either 94760 QI 94762.

     As such, a physician who intends to order one or the other is forced to order both.


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                   129.   Once the physician checks the box, VirtuOx can then provide both the overnight

     service and the "spot check", and bill the government for both. By bi11ing the spot check as well

     as the overnight test, Defendant is falsely billing the government, and generating an additional

     payment.

                   130.   For 2016 that additional payment would be $3.24 per claim. ($4.14 Medicare

     allowable for San Francisco paid at 80%. Additional sequestration reduction of 2% = $3.24).

                   131.   In 2016 alone, Defendant billed Medicare this spot check code (94 760) 20,855

     times. (Exhibit 13 ). Code 94 760 was always billed concurrently with 94 762, and as such there

     should not have been a claim submitted for 94760. Those claims would all be false claims.

                   132.   Thus, in 2016 alone, Medicare paid $67,570.20 ($3.24 x 20,855 = $67,570.20) for

     unnecessary testing.


                   C. VirtuOx is Marketing and Selling a Medical Device For an Off-Label Use While
                      Falsely Claiming The Device is Approved by the Federal Food and Drug
                      Administration.

                   133.   Under the Food, Drug, and Cosmetic Act ("FDCA"), a manufacturer of medical

     devices classified in Class II or Ill of its three-tiered risk classification system must generally

     obtain FDA marketing clearance or approval before introducing a new medical device into the

     market.         Any modification to a device that could significantly affect a devices' safety or

     effectiveness, including a significant change in its intended use, requires that the manufacturer

     obtain a new or expanded clearance or approval.

                   134.   VirtuOx is marketing and otherwise promoting a capnograph that tests oximetry

     and carbon dioxide levels, without clinical supervision, that has not been FDA approved for that

     use, which is therefore an off-label use.

                   135.   On its website, VirtuOx sells a device called the VPOD CapOx. They state that it


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     is FDA approved. (Exhibit 22).

                   136.   The on-line patient video shows patient how to use the device at their home. There

     are also on-line patient instructions for how to use the device at home entitled "VPOD CapOx

     Patient Self-Administered Overnight Oximetry and Capnography Instructions on Room Air".

     (Exhibit 23 and 24). Clearly VirtuOx is promoting this device for at home use without clinical

     supervision, which is an off-label use.

                   137.   Upon information and belief, the VirtuOx VPOD CapOx is manufactured in China

     by Shenzhen Creative Industry Co., Ltd .. This device's FDA 510(K) number is K093016. The

     indications for use of this device states: "The Vital Signs Monitor is adaptable to adult and pediatric

     usage in a hospital environment. It is intended to be used only under regular supervision of

     clinical personnel." (Emphasis added). (Exhibit 25).

                   138.   Upon information and belief, VirtuOx docs not have, nor has it sought, FDA

     clearance for the use of its VPOD CapOx device for at home use without supervision of clinical

     personnel.

                   139.   The data recorded by VirtuOx's VPOD CapOx can only be interpreted by VirtuOx

     using proprietary software.

                   140.   As such, VirtuOx is marketing and selling a device to DME compames, and

     promoting it for the overnight measurement of oxygen and carbon dioxide saturation in blood by

     patients at home.

                   141.   At the conclusion of the overnight testing performed by the patient with no

     supervision by clinical personnel, the DME then transmits the data to be interpreted by VirtuOx.

                   142.   VirtuOx interprets the data, that it knows was collected on a device not FDA

     approved for home use without supervision of clinical personnel, and then submits a claim to



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     Medicare for that interpretation.

                   143.    This data is being interpreted for the purpose of determining whether a patient

     qualifies for home oxygen therapy or non-invasive ventilation. These are very costly, and are a

     potentially dangerous therapy. It is critical that only patients that truly qualify for the treatment be

     approved for it.

                   144.    By using medical devices that arc not FDA approved for at home testing without

     clinical supervision, VirtuOx put patients at risk of being incorrectly "qualified" for home oxygen

     therapy or non-invasive ventilation, based on potentially erroneous results.

                   145.    Medicare is then in the position of not only paying for the interpretation of the data

     collected by these non-FDA approved devices, but also of paying for home oxygen therapy or non-

     invasive ventilation for patients that were qualified in error by the non-FDA approved devices.

     Medicare reimburses the DME company approximately $1,099.00 per month for noninvasive

     ventilation. (HCPCS code E0466) (Rate varies regionally, but is $1,099.00 in Florida). (Exhibit

     26).

                   146.    Patients that are prescribed home oxygen therapy generally require this treatment

     for the remainder of their lives. This is very costly to Medicare.

                   14 7.   By submitting a claim under these circumstances, VirtuOx is knowingly submitting

     a false claim to Medicare for the interpretation of the data.

                   148.    Additionally, VirtuOx is causing DME companies to submit claims to Medicare for

     non-invasive ventilation, for patients that were qualified on a non-FDA approved medical device,

     who perhaps are not true candidates for non-invasive ventilation.

                   149.    All such claims are false claims under the Federal False Claims Act.




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                   D. VirtuOx Is Giving DME Companies Pulse Oximeters For Free, Or At A Greatly
                      Reduced Cost, As An Inducement To Refer Business to VirtuOx.


                   150.   When a patient's physician needs to determine if a patient requires overnight

     oxygen therapy, an overnight pulse oximetry study is required.

                   151.   A physician will write a prescription for an overnight pulse oximetry study.

                   152.   This physician will then generally fax the prescription to a DME, which will

     provide the patient with the pulse oximeter needed for the study.

                   153.   The pulse oximetcr is generally owned by the DME.

                   154.   The patient then takes the pulse oximeter home, and wears it overnight. Following

     that overnight study, the patient will return the pulse oximeter to the DME.

                   155.   The DME then downloads the information off the pulse oximeter, and transmits it

     electronically to the IDTF of its choosing.

                   156.   The IDTF then interprets the data, and determines if the patient qualifies for

     overnight oxygen therapy.

                   157.   The IDTF is paid a fee by Medicare, or other payors, to perform this service.

                   158.   It is the DME that determines which IDTF it will use to interpret the pulse oximeter

     test data.

                   159.   Despite the fact that the DME has incurred the cost of purchasing the pulse

     oximeter, the DME docs not get paid a fee for providing the patient with the device.

                   160.   The DME generates its revenue once it is determined that a patient qualifies for

     overnight oxygen therapy.

                   161.   Once that determination is made, the DME will provide the oxygen and supplies

     needed by a qualified patient, and is reimbursed by Medicare, or other payors, for these items and



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     services.

                   162.    By giving free pulse oximctcrs to DME's, VirtuOx is offsetting a large cost to the

     DME, and giving them a large financial benefit.

                   163.    VirtuOx is providing this financial inducement in exchange for the DME's referring

     the data interpretation work to VirtuOx.

                   164.    This is a clear kickback, that results in Medicare and other Federal payors

     reimbursing VirtuOx for services that were illegally referred and induced.

                          VII. RELATOR'S KNOWLEDGE OF THE FALSE CLAIMS SCHEMES

                   165.    From 2005 to the present, Relator has been the owner of an IDTF.

                   166.    On or about 2017, Relator became aware that Defendant was being reimbursed in

     excess of the Medicare allowable for Florida. This was based in part on her research of the CMS

     publications of allowable rates based on locations.

                   167.    Relators research from Data.CMS.gov for 2016, shows that VirtuOx submitted

     20,855 claims to Medicare for billing code 94760, and 131,803 claims for billing code 94762.

     (Exhibit 13 ).

                   168.    VirtuOx, as a Florida company, should have had a 2016 "Average Medicare

     Allowed Amount" for code 94762 of $23.84, with an "Average Medicare Payment" of

     approximately $18.69, based on data from other South Florida IDTF's. (Exhibits 27 and 28,

     Data.CMS.gov report for Florida IDTFs TestSmarter, Inc., and Diagnostic Medical Testing, Inc.).

                   169.    However, the Data.CMS.gov report for VirtuOx shows them having a 2016

     "Average Medicare Allowed Amount" for code 94762 of $31.29, with an "Average Medicare

     Payment Amount" of approximately $23.66. 12 (Exhibit 13). It is clear that Defendant is not using


     12
       The Data.CMS.gov reports do not correlate exactly with the Medicare Fee Schedules as it takes into
     account various factors which can affect the "average" allowable and payment amounts.

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     South Florida as their location of service.

                   170.   Relator confirmed that VirtuOx is using San Francisco as its "Location of Service"

     for purposes of billing payors, when a family friend, in 2018, was prescribed an overnight oxygen

     study by her physician.

                   171.   The physician used VirtuOx's pre-printed prescription form, that automatically

     results in the physician ordering both a spot check (94 760) as well as an overnight study (94 762).

     As stated above, the "Diagnostic Orders" section is prefilled to state: "Awake Oximetry CPT

     94760 & Overnight Oximetry CPT 94762: Immediately and repeat in 30/60/90 other: _ _ to

     validate oxygen settings." (Exhibit 29).

                   172.   The data from her overnight study was transmitted to VirtuOx to be analyzed.

                   173.   Following the receipt of the test results, Relator, on behalf of her friend, contacted

     Medicare to see how much VirtuOx had been paid for the service, and what place of service

     VirtuOx had identified in its claim to Medicare.

                   174.   Relator was told by the Medicare representative that the place of service had been

     listed as San Francisco, California.

                   175.   Relator was told that VirtuOx had billed two codes of service, 94760 ("spot check")

     and 94762 (overnight study).

                   176.   Relator was told that VirtuOx was paid $28.65 for codes 94760 and 94762.

                   177.   The amount paid for 94760 is based on Medicare's allowable for San Francisco,

     California, of$3.49. (See Exhibit 8, CMS foe schedule for San Francisco). Medicare pays 80% of

     that, or $2.79. However, Medicare also takes a further deduction of 2% for "sequestration". So

     they actually pay $2.73.

                   178.   The amount paid for 94762 is based on Medicare's allowable for San Francisco,



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     California, of $33 .06. (See Exhibit 6, CMS fee schedule for San Francisco). Medicare pays 80%

     of that, or $26.45. However, Medicare takes a further deduction of 2% for "sequestration", so they

     actually pay $25.92.

                   179.   $2.73 (for the 94760 code) plus $25.92 (for the 94762) code equals $28.65, which

     is the amount VirtuOx was paid by Medicare for Relator's friend's testing. This further confirms

     that VirtuOx, a Florida corporation, is billing its location of service as San Francisco, California,

     and being paid in accordance with the Medicare fee schedule for San Francisco.

                   180.   Based on Relator's work in the industry, and Relator's research into the issues,

     Relator determined that VirtuOx was billing the spot test code (94760) and the overnight sleep

     study code (94762) concurrently.

                   181.   Additionally, based on her work in the industry, and her research into the issues,

     Relator determined that VirtuOx is marketing and selling a medical device they are incorrectly

     claiming is FDA approved for home use, for off-label purposes. Further, that VirtuOx is billing

     Medicare and other Federal payers for studies performed on medical devices they know arc not

     FDA approved for home use. Further, that VirtuOx is causing DME companies to submit claims

     to Medicare for non-invasive ventilation, for patients that were qualified on a non-FDA approved

     medical device, who perhaps are not true candidates for non-invasive ventilation.

                   182.   In 2016, Relator was communicating with the Medical Sales Manager of a large

     DME, with approximately fifty locations. Relator asked whether his DME was being told by

     VirtuOx that it will receive free pulse oximetcrs in exchange for his DME switching IDTF services

     to VirtuOx. That individual responded that Relator's IDTF would need to offer that free equipment

     if they wanted to compete with VirtuOx. He stated that some of his branches are utilizing VirtuOx.

     Shortly thereafter, the DME switched virtually all of its IDTF work to VirtuOx due to receiving



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     free pulse oximeters.

                   183.   In 2019, Relator's company's National Account Manager spoke with the owner of

     a DME in Oklahoma. The owner stated that VirtuOx had contacted him and was told that VirtuOx

     would give him free pulse oximeters if he switched to VirtuOx from his present IDTF.

                   184.   In 2018, Relator spoke with the owner of another IDTF who stated that a large

     DME's representative had stated the DME would switch to his IDTF services ifhe gave them free

     pulse oximeters, because that was what VirtuOx was offering. He refused to do so since he deemed

     that an illegal practice.

                   185.   In 2019, Relator was in communication with employees at a company that

     manufactures pulse oximetcrs. These employees were attempting to sell this product to a very

     large DME company. These employees had been informed through an employee of the DME that

     since the DME uses VirtuOx exclusively for interpreting their patients' data, that VirtuOx sells

     them their pulse oximetcrs for $1.00. These devices generally sell for approximately $30.00.

                      VIII. VIRTUOX SUBMITTED OR CAUSED TO BE SUBMITTED FALSE
                               FRAUDULENT CLAIMS TO FEDERAL AND STATE
                                    HEALTH INSURANCE PROGRAMS

                   186.   As described above, Defendant, since at least 2011, knowingly violated the Federal

     False Claims Act and the Federal Anti-Kickback Statute and similar state anti-kickback laws.

                   187.   Defendant falsely claims its location of IDTF services is San Francisco, California,

     with the accomplished goal of obtaining a higher reimbursement for its services in violation of the

     federal False Claims Act, as well as similar state statutes.

                   188.   Defendant submitted claims to the Federal and State payors with this false

     statement, and resultantly received a higher level ofreimbursement for its services.

                   189.   Defendant falsely submitted claims for "spot check" services it did not perform, to

     Federal and State payors.

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                   190.   Defendant caused DME companies to submit claims to Federal and State payors

     for non-invasive ventilation, for patients that were qualified on a non-FDA approved medical

     device, sold to them by Defendant.

                   191.   Defendant intentionally decided to employ illegal kickbacks to induce DME

     companies to refer Defendant business. Defendant knew or should have known that it would

     routinely and necessarily file false and fraudulent claims with the federal government and state

     governments when it sought federal and state reimbursement for its IDTF services.

                   192.   Medicaid and Medicare claims for the payment ofVirtuOx's IDTF services induced

     by illegal kickbacks are submitted to the United States and/or the States by the Defendant. Because

     such claims are not eligible for federal or state reimbursement, submission of such a claim for

     reimbursement constitutes a false or fraudulent claim under the federal False Claims Act, 31

     U.S.C. § 3729, and the States' analogous false claims statutes. And, those who knowingly cause

     such false or fraudulent claims to be filed, as the Defendant has through its illegal kickback

     practices, are liable under the federal False Claims Act, 31 U.S.C. § 3729, and the States' analogous

     false claims statutes.

                   193.   Defendant knew that claims resulting from kickbacks were not eligible for federal

     and state health care program reimbursement. Notwithstanding its knowledge that claims for its

     IDTF services, induced by kickbacks, were not eligible for federal and state reimbursement,

     Defendant knowingly undertook such illegal kickback practices through giving free or low cost

     pulse oximeters to DME companies in exchange for referring Defendant their IDTF business.

                   194.   Defendant's illegal kickbacks caused the submission of false or fraudulent claims

     to federal and state health insurance plans.

                   195.   Defendant substantially bencfitted from all of the false and fraudulent claims



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     described herein.

                   196.   Each claim for reimbursement for Defendant's IDTF services resulting from

     Defendant's illegal inducements, that were submitted to a federal health insurance program

     represents a false or fraudulent claim for payment, in violation of the Federal False Claims Act

     and analogous State False Claims statutes.

                   197.   Claims that arise from Defendant's kickback scheme are false, and violate the False

     Claims Act, because they are the result of a kickback - no further express or implied false statement

     is required to render such infected or tainted claims false, and none can render the claim legitimate.

                   198.   Although no express or implied false statement is required, claims infected or

     tainted by Defendant's illegal kickbacks do contain false statements of compliance with the Anti-

     Kickback statute. In particular, a party that submits a claim for payment to Medicare or Medicaid

     impliedly certifies compliance with all conditions of payment, i.e., that it is properly payable. As

     discussed above, a condition of payment of any claim submitted to Medicare or Medicaid is that

     the claim did not result from a financial transaction that violated the Anti-Kickback Statute.

     Consequently, Defendant's kickbacks to induce DME companies to refer their IDTF business to

     Defendant, renders false the submitter's implied or express certification of compliance that

     resulting claim complies with the requirements of the Anti-Kickback Statute.

                   199.   The submission of false claims was not only foreseeable, but an intended result of

     Defendant's illegal kickbacks.

                                                      COUNTI

                           Federal False Claims Act, 31 U.S. C. §§ 3729(a)(l) and (a)(2)

                   200.   Relator realleges and incorporates by reference the allegations contained m

     paragraphs 1 through 199 of this Complaint.



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                   201.   This is a claim for treble damages and penalties under the False Claims Act, 31

     U.S. C. § 3729, ct seq., as amended.

                   202.   By virtue of the acts described above, Defendant knowingly presented or caused to

     be presented, false or fraudulent claims to the United States Government for payment or approval.

                   203.   By virtue of the acts described above, Defendant knowingly made or caused to be

     made or used false records and statements, and omitted material facts, to induce the Government

     to approve or pay such false and fraudulent claims.

                   204.   Defendant provided illegal remuneration to DME companies to induce improper

     referral of the DME companies' overnight oxygen test data interpretation work, for beneficiaries

     of federally funded health care programs, to Defendant, in violation of the federal Anti-Kickback

     Statute.

                   205.   Claims that arise from Defendant's kickback scheme are false, and violate the False

     Claims Act, because they are the result of a kickback, no further express or implied false statement

     is required to render such infected claims false, and none can render the claim legitimate.

                   206.   Defendant's violations of the federal Anti-kickback Statute give rise to liability

     under the federal False Claims Act.

                   207.   Defendant violated the federal False Claims Act by submitting, or causing to be

     submitted, claims for reimbursement from federal health care programs, including Medicare and

     Medicaid, knowing that those claims were ineligible for the payments demanded due to federal

     Anti-Kickback Statute violations associated with illegal remuneration provided to DME

     compames.

                   208.   Each provision ofIDTF services that occurred as a result of the Defendant's illegal

     inducements represents a false or fraudulent record or statement.



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                   209.   Each claim for reimbursement for Defendant's IDTF services submitted to a federal

     health insurance program resulting from illegal inducements represents a false or fraudulent claim

     for payment.

                   210.   Each claim for reimbursement submitted to a federal health insurance program by

     DME companies for non-invasive ventilation services and equipment, that resulted from patients

     who were qualified for non-invasive ventilation on misbranded devices sold by Defendant,

     represents a false or fraudulent claim for payment.

                   211.   Relator cannot at this time identify all of the false claims for payment that were

     caused by Defendant's conduct. The false claims were presented by many separate entities, across

     the United States, and over many years. Relators have no control over, or dealings with, such

     entities and have no access to the records in their possession.

                   212.   The Government, unaware of the falsity of the records, statements and claims made

     or caused to be made by Defendant, paid and continues to pay the claims that are non-payable, and

     therefore false under this federal FCA.

                   213.   By reason of the Defendant's acts, the United States has been damaged, and

     continues to be damaged, in a substantial amount to be determined at trial. Federal health insurance

     programs have paid many thousands of claims, amounting to many millions of dollars, due to the

     Defendant's fraudulent actions described above.

                   214.   All of the Defendant's conduct described in this Complaint was knowing, as that

     term is used in the federal False Claims Act.

                                                     COUNT II

                                    Arkansas Medicaid Fraud False Claims Act
                                            A.C.A. § 20-77-901 et seq.

                   215.   Re la tor realleges and incorporates by reference the allegations contained m


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     paragraphs 1 through 214 of this Qui Tam Complaint.

                   216.   This is a claim for treble damages and penalties under the Arkansas Medicaid False

     Claims Act, A.C.A. § 20-77-901 et seq.

                   217.   By virtue of the acts described above, Defendant knowingly presented or caused to

     be presented, false or fraudulent claims to the Arkansas State Government for payment or

     approval.

                   218.   By virtue of the acts described above, Defendant knowingly made, used or caused

     to be made or uses false records and statements, and omitted material facts, to induce the Arkansas

     State Government to approve or pay such false and fraudulent claims.

                   219.   By virtue of the acts described above, the Defendant has violated and continues to

     violate Arkansas laws prohibiting the payment or receipt of bribes or kickbacks, namely Arkansas

     Medicaid False Claims Act, A.C.A. § 20-77-901 ct seq.

                   220.   From at least 2011 to present, Defendant offered kickbacks to DME companies to

     induce them to refer their patients to Defendant for IDTF services.

                   221.   Defendant knowingly presented claims for IDTF services resulting from kickbacks,

     thereby causing the Medicaid program to reimburse ineligible claims.

                   222.   The Arkansas State Government, unaware of the falsity of the records, statements

     and claims made, used, presented or caused to be made, used or presented by Defendant, paid and

     continue to pay the claims that are non-payable.

                   223.   By reason of the Defendant's acts, the State of Arkansas has been damaged, and

     continues to be damaged, in a substantial amount to be determined at trial.

                   224.   The State of Arkansas is entitled to treble damages, and the maximum penalty as

     provided by statute, for each and every false or fraudulent claim, record or statement made, used,



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     presented or caused to be made, used or presented by Defendant.

                                                     COUNTIII

                                            California False Claims Act
                                            Cal Govt Code§ 12651 et seq.

                   225.   Re la tor realleges and incorporates by reference the allegations contained m

     paragraphs I through 224 of this Qui Tam Complaint.

                   226.   This is a claim for treble damages and penalties under the California False Claims

     Act, Cal. Govt. Code § 12 651 et seq.

                   227.   By virtue of the acts described above, Defendant knowingly presented or caused to

     be presented, false or fraudulent claims to the California State Government for payment or

     approval.

                   228.   By virtue of the acts described above, Defendant knowingly made, used or caused

     to be made or uses false records and statements, and omitted material facts, to induce the California

     State Government to approve or pay such false and fraudulent claims.

                   229.   By virtue of the acts described above, the Defendant has violated and continues to

     violate California laws prohibiting the payment or receipt of bribes or kickbacks, namely Cal Bus.

     & Prof. Code § 650, Cal. Welfare & inst. Code§ 14107.2, and Cal. Health & Safety Code§ 445.

                   230.   From at least 2011 to present, Defendant offered kickbacks to DME companies to

     induce them to refer their patients to Defendant for IDTF services.

                   231.   Defendant knowingly presented claims for IDTF services resulting from kickbacks,

     thereby causing the Medicaid program to reimburse ineligible claims.

                   232.   The California State Government, unaware of the falsity of the records, statements

     and claims made, used, presented or caused to be made, used or presented by Defendant, paid and

     continue to pay the claims that are non-payable.


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                   233.   By reason of the Defendant's acts, the State of California has been damaged, and

     continues to be damaged, in a substantial amount to be determined at trial.

                   234.   The State of California is entitled to treble damages, and the maximum penalty as

     provided by statute, for each and every false or fraudulent claim, record or statement made, used,

     presented or caused to be made, used or presented by Defendant.

                                                     COUNTIV

                                        Colorado Medicaid False Claims Act
                                           C.R.S.A. § 25.5-4-303.5 et seq.

                   235.   Relator realleges and incorporates by reference the allegations contained       111


     paragraphs 1 through 234 of this Qui Tam Complaint.

                   236.   This is a claim for treble damages and penalties under the Colorado Medicaid False

     Claims Act, C.R.S.A. § 25.5-4-303.5 et seq.

                   237.   By virtue of the acts described above, Defendant knowingly presented or caused to

     be presented, false or fraudulent claims to the Colorado State Government for payment or

     approval.

                   238.   By virtue of the acts described above, Defendant knowingly made, used or caused

     to be made or uses false records and statements, and omitted material facts, to induce the Colorado

     State Government to approve or pay such false and fraudulent claims.

                   239.   From at least 2011 to present, Defendant offered kickbacks to DME companies to

     induce them to refer their patients to Defendant for IDTF services.

                   240.   Defendant knowingly presented claims for IDTF services resulting from kickbacks,

     thereby causing the Medicaid program to reimburse ineligible claims.

                   241.   The Colorado State Government, unaware of the falsity of the records, statements

     and claims made, used, presented or caused to be made, used or presented by Defendant, paid and


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     continue to pay the claims that arc non-payable.

                   242.    By reason of the Defendant's acts, the State of Colorado has been damaged, and

     continues to be damaged, in a substantial amount to be determined at trial.

                   243.    The State of Colorado is entitled to treble damages, and the maximum penalty as

     provided by statute, for each and every false or fraudulent claim, record or statement made, used,

     presented or caused to be made, used or presented by Defendant.

                                                       COUNTV

                                           Connecticut False Claims Act
                                         Conn. Gen. Stat. Ann. § 4-274 et seq.

                   244.    Relator realleges and incorporates by reference the allegations contained m

     paragraphs 1through 243 of this Qui Tam Complaint.

                   245.    This is a claim for treble damages and penalties under the Connecticut False Claims

     Act, Conn. Gen. Stat. Ann. § 4-274 et seq.

                   246.    By virtue of the acts described above, Defendant knowingly presented or caused to

     be presented, false or fraudulent claims to the Connecticut State Government for payment or

     approval.

                   24 7.   By virtue of the acts described above, Defendant knowingly made, used or caused

     to be made or uses false records and statements, and omitted material facts, to induce the

     Connecticut State Government to approve or pay such false and fraudulent claims.

                   248.    From at least 2011 to present, Defendant offered kickbacks to DME companies to

     induce them to refer their patients to Defendant for IDTF services.

                   249.    Defendant knowingly presented claims for IDTF services resulting from kickbacks,

     thereby causing the Medicaid program to reimburse ineligible claims.

                   250.    The Connecticut State Government, unaware of the falsity of the records,


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     statements and claims made, used, presented or caused to be made, used or presented by

     Defendant, paid and continue to pay the claims that arc non-payable.

                   251.   By reason of the Defendant's acts, the State of Connecticut has been damaged, and

     continues to be damaged, in a substantial amount to be determined at trial.

                   252.   The State of Connecticut is entitled to treble damages, and the maximum penalty

     as provided by statute, for each and every false or fraudulent claim, record or statement made,

     used, presented or caused to be made, used or presented by Defendant.

                                                     COUNT VI

                                     Delaware False Claims and Reporting Act
                                           6 Del C. § 120l(a)(I) and (2)

                   253.   Relator realleges and incorporates by reference the allegations contained m

     paragraphs 1through 252 of this Qui Tam Complaint.

                   254.   This is a claim for treble damages and penalties under the Delaware False Claims

     and Reporting Act, 6 Del C. § 120 I (a)(l) and (2).

                   255.   By virtue of the acts described above, Defendant knowingly presented or caused to

     be presented, false or fraudulent claims to the Delaware State Government for payment or

     approval.

                   256.   By virtue of the acts described above, Defendant knowingly made, used or caused

     to be made or used false records and statements, and omitted material facts, to induce the Delaware

     State Government to approve or pay such false and fraudulent claims.

                   257.   By virtue of the acts described above, the Defendant has violated and continues to

     violate Delaware laws prohibiting the payment or receipt of bribes or kickbacks, namely Del. Code

     Ann. Tit. 31 § 1005 ct seq.

                   258.   From at least 2011 to present, Defendant offered kickbacks to DME companies to


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     induce them to refer their patients to Defendant for IDTF services.

                   259.   Defendant knowingly presented claims for IDTF services resulting from kickbacks,

     thereby causing the Medicaid program to reimburse ineligible claims.

                   260.   The Delaware State Government, unaware of the falsity of the records, statements

     and claims made, used, presented or caused to be made, used or presented by Defendant, paid and

     continued to pay the claims that are non-payable.

                   261.   By reason of the Defendant's acts, the State of Delaware has been damaged, and

     continues to be damaged, in a substantial amount to be determined at trial.

                   262.   The State of Delaware is entitled to treble damages, and the maximum penalty as

     provided by statute, for each and every false or fraudulent claim, record or statement made, used,

     presented or caused to be made, used or presented by Defendant.

                                                     COUNT VII

                                               Florida False Claims Act
                                            Fla. Stat. Ann.§ 68.082 et seq.

                   263.   Relator realleges and incorporates by reference the allegations contained m

     paragraphs 1 through 262 of this Qui Tam Complaint.

                   264.   This is a claim for treble damages and penalties under the Florida False Claims Act,

     Fla. Stat. § 68.082 ct seq.

                   265.   By virtue of the acts described above, Defendant knowingly presented or caused to

     be presented, false or fraudulent claims to the Florida State Government for payment or approval.

                   266.   By virtue of the acts described above, Defendant knowingly made, used or caused

     to be made or used false records and statements, and omitted material facts to induce the Florida

     State Government to approve or pay such false and fraudulent claims.

                   267.   By virtue of the acts described above, the Defendant has violated and continues to


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     violate Florida laws prohibiting the payment or receipt of bribes or kickbacks, namely Fla. Stat. §

     456.054 and Fla. Stat. § 409.920.

                   268.   From at least 2011 to present, Defendant offered kickbacks to DME companies to

     induce them to refer their patients to Defendant for IDTF services.

                   269.   Defendant knowingly presented claims for IDTF services resulting from kickbacks,

     thereby causing the Medicaid program to reimburse ineligible claims.

                   270.   The Florida State Government, unaware of the falsity of the records, statements and

     claims made, used, presented or caused to be presented by Defendant, paid and continues to pay

     the claims that are non-payable.

               271.       By reason of the Defendant's acts, the State of Florida has been damaged, and

     continued to be damaged, in a substantial amount to be determined at trial.

               272.       The State of Florida is entitled to treble damages, and the maximum penalty as

     provided by statute, for each and every false or fraudulent claim, record or statement made, used,

     presented or caused to be made, used or presented by Defendant.

                                                        COUNT VIII

                                   Georgia Taxpayer Protection and False Claims Act
                                              O.C.G.A. § 23-3-120 et seq.

               273.       Re la tor realleges and incorporates by reference the allegations contained m

     paragraphs l through 272 of this Qui Tam Complaint.

                   274.   This is a claim for treble damages and penalties under the Georgia Taxpayer

     Protection and False Claims Act, O.C.G.A. § 23-3-120 et seq.

                   275.   By virtue of the acts described above, Defendant knowingly presented or caused to

     be presented, false or fraudulent claims to the Georgia State Government for payment or approval.

                   276.   By virtue of the acts described above, Defendant knowingly made, used or caused


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     to be made or uses false records and statements, and omitted material facts, to induce the Georgia

     State Government to approve or pay such false and fraudulent claims.

                   277.   From at least 2011 to present, Defendant offered kickbacks to DME companies to

     induce them to refer their patients to Defendant for IDTF services.

                   278.   Defendant knowingly presented claims for IDTF services resulting from kickbacks,

     thereby causing the Medicaid program to reimburse ineligible claims.

                   279.   The Georgia State Government, unaware of the falsity of the records, statements

     and claims made, used, presented or caused to be made, used or presented by Defendant, paid and

     continue to pay the claims that arc non-payable.

                   280.   By reason of the Defendant's acts, the State of Georgia has been damaged, and

     continues to be damaged, in a substantial amount to be determined at trial.

                   281.   The State of Georgia is entitled to treble damages, and the maximum penalty as

     provided by statute, for each and every false or fraudulent claim, record or statement made, used,

     presented or caused to be made, used or presented by Defendant.

                                                      COUNT IX

                                               Illinois False Claims Act
                                              740 I.L.C.S. § 175/1 et seq.

                   282.   Relator realleges and incorporates by reference the allegations contained m

     paragraphs 1 through 281 of this Qui Tam Complaint.

                   283.   This is a claim for treble damages and penalties under the Illinois False Claims Act,

     740 l.L.C.S. § 175/1 et seq.

                   284.   By virtue of the acts described above, Defendant knowingly presented or caused to

     be presented, false or fraudulent claims to the Illinois State Government for payment or approval.

                   285.   By virtue of the acts described above, Defendant knowingly made, used or caused


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     to be made or used false records and statements, and omitted material facts to induce the Illinois

     State Government to approve or pay such false and fraudulent claims.

                   286.   By virtue of the acts described above, the Defendant has violated and continues to

     violate Illinois laws prohibiting the payment or receipt of bribes or kickbacks, namely 305 ILCS

     5/8A-3(b) of the Illinois Public Aid Code (Vendor Fraud and Kickbacks).

                   287.   From at least 2011 to present, Defendant offered kickbacks to DME companies to

     induce them to refer their patients to Defendant for IDTF services.

                   288.   Defendant knowingly presented claims for IDTF services resulting from kickbacks,

     thereby causing the Medicaid program to reimburse ineligible claims.

                   289.   The Illinois State Government, unaware of the falsity of the records, statements and

     claims made, used, presented or caused to be presented by Defendant, paid and continues to pay

     the claims that are non-payable.

                   290.   By reason of the Defendant's acts, the State of Illinois has been damaged, and

     continued to be damaged, in a substantial amount to be determined at trial.

                   291.   The State of Illinois is entitled to treble damages, and the maximum penalty as

     provided by statute, for each and every false or fraudulent claim, record or statement made, used,

     presented or caused to be made, used or presented by Defendant.

                                                      COUNT X

                             Indiana False Claims and Whistleblower Protection Act
                                            IC 5-11-5.5-2(b)(l) et seq.

                   292.   Relator realleges and incorporates by reference the allegations contained m

     paragraphs 1 through 291 of this Qui Tam Complaint.

                   293.   This is a claim for treble damages and penalties under the Indiana False Claims and

     Whistleblower Protection Act, IC 5-11-5.5-2(b )(1) et seq.


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                   294.   By virtue of the acts described above, Defendant knowingly presented or caused to

     be presented, false or fraudulent claims to the Indiana State Government for payment or approval.

                   295.   By virtue of the acts described above, Defendant knowingly made, used or caused

     to be made or used false records and statements, and omitted material facts to induce the Indiana

     State Government to approve or pay such false and fraudulent claims.

                   296.   By virtue of the acts described above, Defendant knowingly caused or induced

     another person to perform an act described in IC 5-11-5.5-2(b)(l) and/or (2).

                   297.   By virtue of the acts described above, the Defendant has violated and continues to

     violate Indiana laws prohibiting the payment or receipt of bribes or kickbacks, namely Ind. Code

     § 12-15-24-2.

                   298.   From at least 2011 to present, Defendant offered kickbacks to DME companies to

     induce them to refer their patients to Defendant for IDTF services.

                   299.   Defendant knowingly presented claims for IDTF services resulting from kickbacks,

     thereby causing the Medicaid program to reimburse ineligible claims.

                   300.   The Indiana State Government, unaware of the falsity of the records, statements

     and claims made, used, presented or caused to be presented by defendant, paid and continues to

     pay the claims that arc non-payable.

                   301.   By reason of the Defendant's acts, the State of Indiana has been damaged, and

     continued to be damaged, in a substantial amount to be determined at trial.

                   302.   The State of Indiana is entitled to treble damages, and the minimum penalty as

     provided by statute, for each and every false or fraudulent claim, record or statement made, used,

     presented or caused to be made, used or presented by Defendant.




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                                                     COUNT XI

                                               Iowa False Claims Act
                                                LC.A. § 685.1 et seq.

                   303.   Re la tor realleges and incorporates by reference the allegations contained m

     paragraphs 1through 2302of this Qui Tam Complaint.

                   304.   This is a claim for treble damages and penalties under the Iowa False Claims Act,

     LC.A. § 685.1 et seq.

                   305.   By virtue of the acts described above, Defendant knowingly presented or caused to

     be presented, false or fraudulent claims to the Iowa State Government for payment or approval.

                   306.   By virtue of the acts described above, Defendant knowingly made, used or caused

     to be made or uses false records and statements, and omitted material facts, to induce the Iowa

     State Government to approve or pay such false and fraudulent claims.

                   307.   From at least 2011 to present, Defendant offered kickbacks to DME companies to

     induce them to refer their patients to Defendant for IDTF services.

                   308.   Defendant knowingly presented claims for IDTF services resulting from kickbacks,

     thereby causing the Medicaid program to reimburse ineligible claims.

                   309.   The Iowa State Government, unaware of the falsity of the records, statements and

     claims made, used, presented or caused to be made, used or presented by Defendant, paid and

     continue to pay the claims that are non-payable.

                   310.   By reason of the Defendant's acts, the State of Iowa has been damaged, and

     continues to be damaged, in a substantial amount to be determined at trial.

                   311.   The State of Iowa is entitled to treble damages, and the maximum penalty as

     provided by statute, for each and every false or fraudulent claim, record or statement made, used,

     presented or caused to be made, used or presented by Defendant.


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                                                    COUNT XII

                              Louisiana Medical Assistance Programs Integrity Law
                                           La. R.S. § 46:439.l et seq.

                   312.   Relator reallcges and incorporates by reference the allegations contained m

     paragraphs 1 through 311 of this Qui Tam Complaint.

                   313.   This is a claim for treble damages and penalties under the Louisiana Medical

     Assistance Programs Integrity Law, La. R.S. § 46:439.1 et seq.

                   314.   By virtue of the acts described above, Defendant knowingly presented or caused to

     be presented, false or fraudulent claims to the Louisiana State Government for payment or

     approval.

                   315.   By virtue of the acts described above, Defendant knowingly made, used or caused

     to be made or uses false records and statements, and omitted material facts, to induce the Louisiana

     State Government to approve or pay such false and fraudulent claims.

                   316.   By virtue of the acts described above, the Defendant has violated and continues to

     violate Louisiana laws prohibiting the payment or receipt of bribes or kickbacks, namely LSA-

     R.S. § 46:438.1 et seq.

                   317.   From at least 2011 to present, Defendant offered kickbacks to DME companies to

     induce them to refer their patients to Defendant for IDTF services.

                   318.   Defendant knowingly presented claims for IDTF services resulting from kickbacks,

     thereby causing the Medicaid program to reimburse ineligible claims.

                   319.   The Louisiana State Government, unaware of the falsity of the records, statements

     and claims made, used, presented or caused to be made, used or presented by Defendant, paid and

     continue to pay the claims that arc non-payable.

                   320.   By reason of the Defendant's acts, the State of Louisiana has been damaged, and


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     continues to be damaged, in a substantial amount to be determined at trial.

                   321.   The State of Louisiana is entitled to treble damages, and the maximum penalty as

     provided by statute, for each and every false or fraudulent claim, record or statement made, used,

     presented or caused to be made, used or presented by Defendant.

                                                   COUNT XIII

                                          Maryland False Claims Act
                                   MD Health-General Code Ann. § 2-601 et seq.

                   322.   Relator realleges and incorporates by reference the allegations contained m

     paragraphs 1 through 321 of this Qui Tam Complaint.

                   323.   This is a claim for treble damages and penalties under the Maryland False Claims

     Act, MD Health-General Code Ann. § 2-601 et seq.

                   324.   By virtue of the acts described above, Defendant knowingly presented or caused to

     be presented, false or fraudulent claims to the Maryland State Government for payment or

     approval.

                   325.   By virtue of the acts described above, Defendant knowingly made, used or caused

     to be made or uses false records and statements, and omitted material facts, to induce the Maryland

     State Government to approve or pay such false and fraudulent claims.

                   326.   From at least 2011 to present, Defendant offered kickbacks to DME companies to

     induce them to refer their patients to Defendant for IDTF services.

                   327.   Defendant knowingly presented claims for IDTF services resulting from kickbacks,

     thereby causing the Medicaid program to reimburse ineligible claims.

                   328.   The Maryland State Government, unaware of the falsity of the records, statements

     and claims made, used, presented or caused to be made, used or presented by Defendant, paid and

     continue to pay the claims that are non-payable.


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                   329.    By reason of the Defendant's acts, the State of Maryland has been damaged, and

     continues to be damaged, in a substantial amount to be determined at trial.

                   330.    The State of Maryland is entitled to treble damages, and the maximum penalty as

     provided by statute, for each and every false or fraudulent claim, record or statement made, used,

     presented or caused to be made, used or presented by Defendant.

                                                     COUNT XIV

                                           Massachusetts False Claims Act
                                            ALM GL ch. 12 § SA et seq.

                   331.    Rclator rcallcgcs and incorporates by reference the allegations contained m

     paragraphs 1through 330 of this Qui Tam Complaint.

                   332.    This is a claim for treble damages and penalties under the Massachusetts False

     Claims Act, ALM GL ch. 12 § 5A et seq.

                   333.    By virtue of the acts described above, Defendant knowingly presented or caused to

     be presented, false or fraudulent claims to the Massachusetts State Government for payment or

     approval.

                   334.    By virtue of the acts described above, Defendant knowingly made, used or caused

     to be made or uses false records and statements, and omitted material facts, to induce the

     Massachusetts State Government to approve or pay such false and fraudulent claims.

                   335.    By virtue of the acts described above, the Defendant has violated and continues to

     violate Massachusetts laws prohibiting the payment or receipt of bribes or kickbacks, namely ALM

     GL ch. 118E § 41.

                   336.    From at least 2011 to present, Defendant offered kickbacks to DME companies to

     induce them to refer their patients to Defendant for IDTF services.

                   33 7.   Defendant knowingly presented claims for IDTF services resulting from kickbacks,


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     thereby causing the Medicaid program to reimburse ineligible claims.

                   338.   The Massachusetts State Government, unaware of the falsity of the records,

     statements and claims made, used, presented or caused to be made, used or presented by

     Defendant, paid and continue to pay the claims that are non-payable.

                   339.   By reason of the Defendant's acts, the State of Massachusetts has been damaged,

     and continues to be damaged, in a substantial amount to be detem1ined at trial.

                   340.   The State of Massachusetts is entitled to treble damages, and the maximum penalty

     as provided by statute, for each and every false or fraudulent claim, record or statement made,

     used, presented or caused to be made, used or presented by Defendant.

                                                     COUNT XV

                                        Michigan Medicaid False Claim Act
                                            M.C.L.S. §400.601 et seq.

                   341.   Relator realleges and incorporates by reference the allegations contained m

     paragraphs 1through 340 of this Qui Tam Complaint.

                   342.   This is a claim for treble damages and penalties under the Michigan Medicaid False

     Claim Act.

                   343.   By virtue of the acts described above, Defendant knowingly presented or caused to

     be presented, false or fraudulent claims to the Michigan State Government for payment or

     approval.

                   344.   By virtue of the acts described above, Defendant knowingly made, used or caused

     to be made or used false records and statements, and omitted material facts to induce the Michigan

     State Government to approve or pay such false and fraudulent claims.

                   345.   By virtue of the acts described above, the Defendant has violated and continues to

     violate Michigan laws prohibiting the payment or receipt of bribes or kickbacks, namely M.C.L.S.


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     § 400.604.

            346.    From at ]east 2011 to present, Defendant offered kickbacks to DME companies to

     induce them to refer their patients to Defendant for IDTF services.

            347.    Defendant knowingly presented claims for IDTF services resulting from kickbacks,

     thereby causing the Medicaid program to reimburse ineligible claims.

            348.    The Michigan State Government, unaware of the falsity of the records, statements

     and claims made, used, presented or caused to be presented by Defendant, paid and continue to

     pay the claims that are non-payable.

            349.    By reason of the Defendant's acts, the State of Michigan has been damaged, and

     continued to be damaged, in a substantial amount to be determined at trial.

            350.    The State of Michigan is entitled to treble damages, and the maximum penalty as
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     to be made or uses false records and statements, and omitted material facts, to induce the Minnesota

     State Government to approve or pay such false and fraudulent claims.

            355.    By virtue of the acts described above, the Defendant has violated and continues to

     violate Minnesota laws prohibiting the payment or receipt of bribes or kickbacks, namely Minn.

     Stat. Ann.§ 15C.0l et seq., and Minn. Stat. Ann. 621.23.

            356.    From at least 2011 to present, Defendant offered kickbacks to DME companies to

     induce them to refer their patients to Defendant for IDTF services.

            357.    Defendant knowingly presented claims for IDTF services resulting from kickbacks,

     thereby causing the Medicaid program to reimburse ineligible claims.

            358.    The Minnesota State Government, unaware of the falsity of the records, statements

     and claims made, used, presented or caused to be made, used or presented by Defendant, paid and

     continue to pay the claims that are non-payable.

            359.    By reason of the Defendant's acts, the State of Minnesota has been damaged, and

     continues to be damaged, in a substantial amount to be determined at trial.

            360.    The State of Minnesota is entitled to treble damages, and the maximum penalty as

     provided by statute, for each and every false or fraudulent claim, record or statement made, used,

     presented or caused to be made, used or presented by Defendant.

                                              COUNT XVII

                                      Missouri False Claims Act
                                     Mo. Rev. Stat. § 191.900 et seq.

            361.    Relator realleges and incorporates by reference the allegations contained m

     paragraphs 1 through 360 of this Qui Tam Complaint.

            362.    This is a claim for treble damages and penalties under the Missouri False Claims

     Act, Mo. Rev. Stat. § 191.900 et seq.
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                   363.   By virtue of the acts described above, Defendant knowingly presented or caused to

     be presented, false or fraudulent claims to the Missouri State Government for payment or approval.

                   364.   By virtue of the acts described above, Defendant knowingly made, used or caused

     to be made or uses false records and statements, and omitted material facts, to induce the Missouri

     State Government to approve or pay such false and fraudulent claims.

                   365.   By virtue of the acts described above, the Defendant has violated and continues to

     violate Missouri laws prohibiting the payment or receipt of bribes or kickbacks, namely Mo. Rev.

     Stat. § 191. 900 ct seq.

                   366.   From at least 2011 to present, Defendant offered kickbacks to DME companies to

     induce them to refer their patients to Defendant for IDTF services.

                   367.   Defendant knowingly presented claims for IDTF services resulting from kickbacks,

     thereby causing the Medicaid program to reimburse ineligible claims.

                   368.   The Missouri State Government, unaware of the falsity of the records, statements

     and claims made, used, presented or caused to be made, used or presented by Defendant, paid and

     continue to pay the claims that are non-payable.

                   369.   By reason of the Defendant's acts, the State of Missouri has been damaged, and

     continues to be damaged, in a substantial amount to be determined at trial.

                   370.   The State of Missouri is entitled to treble damages, and the maximum penalty as

     provided by statute, for each and every false or fraudulent claim, record or statement made, used,

     presented or caused to be made, used or presented by Defendant.

                                                   COUNT XVII

                                           Montana False Claims Act
                                        Mont. Code Ann. § 17-8-401 et seq.

                   371.   Relator realleges and incorporates by reference the allegations contained m


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     paragraphs 1 through 370 of this Qui Tam Complaint.

                   372.   This is a claim for treble damages and penalties under the Montana False Claims

     Act, Mont. Code Ann. § 17-8-401 et seq.

                   373.   By virtue of the acts described above, Defendant knowingly presented or caused to

     be presented, false or fraudulent claims to the Montana State Government for payment or approval.

                   374.   By virtue of the acts described above, Defendant knowingly made, used or caused

     to be made or uses false records and statements, and omitted material facts, to induce the Montana

     State Government to approve or pay such false and fraudulent claims.

                   375.   By virtue of the acts described above, the Defendant has violated and continues to

     violate Montana laws prohibiting the payment or receipt of bribes or kickbacks, namely Mont.

     Code Ann. § 45-6-313 et seq.

                   376.   From at least 2011 to present, Defendant offered kickbacks to DME companies to

     induce them to refer their patients to Defendant for IDTF services.

                   377.   Defendant knowingly presented claims for IDTF services resulting from kickbacks,

     thereby causing the Medicaid program to reimburse ineligible claims.

                   378.   The Montana State Government, unaware of the falsity of the records, statements

     and claims made, used, presented or caused to be made, used or presented by Defendant, paid and

     continue to pay the claims that are non-payable.

                   379.   By reason of the Defendant's acts, the State of Montana has been damaged, and

     continues to be damaged, in a substantial amount to be determined at trial.

                   380.   The State of Montana is entitled to treble damages, and the maximum penalty as

     provided by statute, for each and every false or fraudulent claim, record or statement made, used,

     presented or caused to be made, used or presented by Defendant.



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                                                   COUNT XVIII

                                             Nevada False Claims Act
                                        Nev. Rev. Stat. Ann.§ 357.010 et seq.

                   381.   Relator realleges and incorporates by reference the allegations contained       111


     paragraphs 1 through 380 of this Qui Tam Complaint.

                   382.   This is a claim for treble damages and penalties under the Nevada False Claims

     Act, Nev. Rev. Stat. Ann.§ 357.010 et seq.

                   383.   By virtue of the acts described above, Defendant knowingly presented or caused to

     be presented, false or fraudulent claims to the Nevada State Government for payment or approval.

                   384.   By virtue of the acts described above, Defendant knowingly made, used or caused

     to be made or uses false records and statements, and omitted material facts, to induce the Nevada

     State Government to approve or pay such false and fraudulent claims.

                   385.   By virtue of the acts described above, the Defendant has violated and continues to

     violate Nevada laws prohibiting the payment or receipt of bribes or kickbacks, namely Nev. Rev.

     Stat. Ann. § 422.560 et seq.

                   386.   From at least 2011 to present, Defendant offered kickbacks to DME companies to

     induce them to refer their patients to Defendant for IDTF services.

                   387.   Defendant knowingly presented claims for IDTF services resulting from kickbacks,

     thereby causing the Medicaid program to reimburse ineligible claims.

                   388.   The Nevada State Government, unaware of the falsity of the records, statements

     and claims made, used, presented or caused to be made, used or presented by Defendant, paid and

     continue to pay the claims that are non-payable.

                   389.   By reason of the Defendant's acts, the State of Nevada has been damaged, and

     continues to be damaged, in a substantial amount to be determined at trial.


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                   390.   The State of Nevada is entitled to treble damages, and the maximum penalty as

     provided by statute, for each and every false or fraudulent claim, record or statement made, used,

     presented or caused to be made, used or presented by Defendant.

                                                    COUNT XIX

                                            New Jersey False Claims Act
                                          N.J. Stat. Ann.§ 2A:32C-1 et seq.

                   391.   Relator realleges and incorporates by reference the allegations contained m

     paragraphs 1 through 390 of this Qui Tam Complaint.

                   392.   This is a claim for treble damages and penalties under the New Jersey False Claims

     Act, N.J. Stat. Ann. § 2A:32C-1 et seq.

                   393.   By virtue of the acts described above, Defendant knowingly presented or caused to

     be presented, false or fraudulent claims to the New Jersey State Government for payment or

     approval.

                   394.   By virtue of the acts described above, Defendant knowingly made, used or caused

     to be made or uses false records and statements, and omitted material facts, to induce the New

     Jersey State Government to approve or pay such false and fraudulent claims.

                   395.   By virtue of the acts described above, the Defendant has violated and continues to

     violate New Jersey laws prohibiting the payment or receipt of bribes or kickbacks, namely N.J.

     Stat. Ann. § 30:4D-17 et seq.

                   396.   From at least 2011 to present, Defendant offered kickbacks to DME companies to

     induce them to refer their patients to Defendant for IDTF services.

                   397.   Defendant knowingly presented claims for IDTF services resulting from kickbacks,

     thereby causing the Medicaid program to reimburse ineligible claims.

                   398.   The New Jersey State Government, unaware of the falsity of the records, statements


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     and claims made, used, presented or caused to be made, used or presented by Defendant, paid and

     continue to pay the claims that are non-payable.

                   399.   By reason of the Defendant's acts, the State of New Jersey has been damaged, and

     continues to be damaged, in a substantial amount to be determined at trial.

                   400.   The State of New Jersey is entitled to treble damages, and the maximum penalty as

     provided by statute, for each and every false or fraudulent claim, record or statement made, used,

     presented or caused to be made, used or presented by Defendant.

                                                     COUNT XX

                                      New Mexico Medicaid False Claims Act
                                         N.M. Stat. Ann.§ 27-14-1 et seq.

                   401.   Relator realleges and incorporates by reference the allegations contained m

     paragraphs 1 through 400 of this Qui Tam Complaint.

                   402.   This is a claim for treble damages and penalties under the New Mexico Medicaid

     False Claims Act, N.M. Stat. Ann.§ 27-14-1 et seq.

                   403.   By virtue of the acts described above, Defendant knowingly presented or caused to

     be presented, false or fraudulent claims to the New Mexico State Government for payment or

     approval.

                   404.   By virtue of the acts described above, Defendant knowingly made, used or caused

     to be made or used false records and statements, and omitted material facts to induce the New

     Mexico State Government to approve or pay such false and fraudulent claims.

                   405.   By virtue of the acts described above, the Defendant has violated and continues to

     violate New Mexico laws prohibiting the payment or receipt of bribes or kickbacks, namely N.M.

     Stat. Ann.§ 30-44-7.

                   406.   From at least 2011 to present, Defendant offered kickbacks to DME companies to


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     induce them to refer their patients to Defendant for IDTF services.

                   407.   Defendant knowingly presented claims for IDTF services resulting from kickbacks,

     thereby causing the Medicaid program to reimburse ineligible claims.

                   408.   The New Mexico State Government, unaware of the falsity of the records,

     statements and claims made, used, presented or caused to be presented by defendant, paid and

     continues to pay the claims that are non-payable.

                   409.   By reason of the Defendant's acts, the State of New Mexico has been damaged, and

     continued to be damaged, in a substantial amount to be determined at trial.

                   410.   The State of New Mexico is entitled to treble damages, and the maximum penalty

     as provided by statute, for each and every false or fraudulent claim, record or statement made,

     used, presented or caused to be made, used or presented by Defendant.

                                                    COUNT XXI

                                            New York False Claims Act
                                           N.Y. CLS St. Fin.§ 187 et seq.

                   411.   Relator realleges and incorporates by reference the allegations contained m

     paragraphs 1 through 410 of this Qui Tam Complaint.

                   412.   This is a claim for treble damages and penalties under the New York False Claims

     Act, N. Y. CLS St. Fin. § 187 ct seq.

                   413.   By virtue of the acts described above, Defendant knowingly presented or caused to

     be presented, false or fraudulent claims to the New York State Government for payment or

     approval.

                   414.   By virtue of the acts described above, Defendant knowingly made, used or caused

     to be made or used false records and statements, and omitted material facts to induce the New

     York State Government to approve or pay such false and fraudulent claims.


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                   415.   By virtue of the acts described above, the Defendant has violated and continues to

     violate New York laws prohibiting the payment or receipt of bribes or kickbacks, namely N.Y.

     CLS Soc. Serv. § 366-d.

                   416.   From at least 2011 to present, Defendant offered kickbacks to DME companies to

     induce them to refer their patients to Defendant for IDTF services.

                   417.   Defendant knowingly presented claims for IDTF services resulting from kickbacks,

     thereby causing the Medicaid program to reimburse ineligible claims.

                   418.   The New York State Government, unaware of the falsity of the records, statements

     and claims made, used, presented or caused to be presented by Defendant, paid and continues to

     pay the claims that arc non-payable

                   419.   By reason of the Defendant's acts, the State of New York has been damaged, and

     continued to be damaged, in a substantial amount to be determined at trial.

                   420.   The State of New York is entitled to treble damages, and the maximum penalty as

     provided by statute, for each and every false or fraudulent claim, record or statement made, used,

     presented or caused to be made, used or presented by Defendant.

                                                   COUNT XXII

                                         North Carolina False Claims Act
                                            N.C.G.S.A. § 1-605 et seq.

                   421.   Relator realleges and incorporates by reference the allegations contained m

     paragraphs 1through 420 of this Qui Tam Complaint.

                   422.   This is a claim for treble damages and penalties under the North Carolina False

     Claims Act, N.C.G.S.A. § 1-605 et seq.

                   423.   By virtue of the acts described above, Defendant knowingly presented or caused to

     be presented, false or fraudulent claims to the North Carolina State Government for payment or


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     approval.

                   424.   By virtue of the acts described above, Defendant knowingly made, used or caused

     to be made or uses false records and statements, and omitted material facts, to induce the North

     Carolina State Government to approve or pay such false and fraudulent claims.

                   425.   By virtue of the acts described above, the Defendant has violated and continues to

     violate North Carolina laws prohibiting the payment or receipt of bribes or kickbacks, namely

     N.C.G.S.A. § 108A-63 ct seq.

                   426.   From at least 2011 to present, Defendant offered kickbacks to DME companies to

     induce them to refer their patients to Defendant for IDTF services.

                   427.   Defendant knowingly presented claims for IDTF services resulting from kickbacks,

     thereby causing the Medicaid program to reimburse ineligible claims.

                   428.   The North Carolina State Government, unaware of the falsity of the records,

     statements and claims made, used, presented or caused to be made, used or presented by

     Defendant, paid and continue to pay the claims that are non-payable.

                   429.   By reason of the Defendant's acts, the State of North Carolina has been damaged,

     and continues to be damaged, in a substantial amount to be determined at trial.

                   430.   The State of North Carolina is entitled to treble damages, and the maximum penalty

     as provided by statute, for each and every false or fraudulent claim, record or statement made,

     used, presented or caused to be made, used or presented by Defendant.

                                                   COUNT XXIII

                                       Oklahoma Medicaid False Claims Act
                                             63 Oki. St.§ 5053 et seq.

                   431.   Relator rcalleges and incorporates by reference the allegations contained m

     paragraphs 1through 430 of this Qui Tam Complaint.


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                   432.   This is a claim for treble damages and penalties under the Oklahoma False Claims

     Act, 63 Oki. St. § 5053 et seq.

                   433.   By virtue of the acts described above, Defendant knowingly presented or caused to

     be presented, false or fraudulent claims to the Oklahoma State Government for payment or

     approval.

                   434.   By virtue of the acts described above, Defendant knowingly made, used or caused

     to be made or uses false records and statements, and omitted material facts, to induce the Oklahoma

     State Government to approve or pay such false and fraudulent claims.

                   435.   By virtue of the acts described above, the Defendant has violated and continues to

     violate Oklahamo laws prohibiting the payment or receipt of bribes or kickbacks, namely 56 Oki.

     St. § 1005 ct seq.

                   436.   From at least 2011 to present, Defendant offered kickbacks to DME companies to

     induce them to refer their patients to Defendant for IDTF services.

                   437.   Defendant knowingly presented claims for IDTF services resulting from kickbacks,

     thereby causing the Medicaid program to reimburse ineligible claims.

                   438.   The Oklahoma State Government, unaware of the falsity of the records, statements

     and claims made, used, presented or caused to be made, used or presented by Defendant, paid and

     continue to pay the claims that are non-payable inducements.

                   439.   By reason of the Defendant's acts, the State of Oklahoma has been damaged, and

     continues to be damaged, in a substantial amount to be determined at trial.

                   440.   The State of Oklahoma is entitled to treble damages, and the maximum penalty as

     provided by statute, for each and every false or fraudulent claim, record or statement made, used,

     presented or caused to be made, used or presented by Defendant.



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                                                   COUNT XXIV

                                        Rhode Island State False Claims Act
                                          R.I. Gen. Laws§ 9-1.1-1 et seq.

                   441.   Relator realleges and incorporates by reference the allegations contained m

     paragraphs I through 440 of this Qui Tam Complaint.

                   442.   This is a claim for treble damages and penalties under the Rhode Island False

     Claims Act, R.I. Gen. Laws§ 9-1.1-1 et seq.

                   443.   By virtue of the acts described above, Defendant knowingly presented or caused to

     be presented, false or fraudulent claims to the Rhode Island State Government for payment or

     approval.

                   444.   By virtue of the acts described above, Defendant knowingly made, used or caused

     to be made or uses false records and statements, and omitted material facts, to induce the Rhode

     Island State Government to approve or pay such false and fraudulent claims.

                   445.   By virtue of the acts described above, the Defendant has violated and continues to

     violate Rhode Island laws prohibiting the payment or receipt of bribes or kickbacks, namely R.I.

     Gen. Laws § 5-48.1-3 et seq.

                   446.   From at least 2011 to present, Defendant offered kickbacks to DME companies to

     induce them to refer their patients to Defendant for IDTF services.

                   447.   Defendant knowingly presented claims for IDTF services resulting from kickbacks,

     thereby causing the Medicaid program to reimburse ineligible claims.

                   448.   The Rhode Island State Government, unaware of the falsity of the records,

     statements and claims made, used, presented or caused to be made, used or presented by

     Defendant, paid and continue to pay the claims that are non-payable.

                   449.   By reason of the Defendant's acts, the State of Rhode Island has been damaged,


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     and continues to be damaged, in a substantial amount to be determined at trial.

                   450.   The State of Rhode Island is entitled to treble damages, and the maximum penalty

     as provided by statute, for each and every false or fraudulent claim, record or statement made,

     used, presented or caused to be made, used or presented by Defendant.

                                                   COUNT XXV

                                       Tennessee Medicaid False Claims Act
                                            T.C.A. § 71-5-181 et seq.

                   451.   Relator realleges and incorporates by reference the allegations contained m

     paragraphs I through 450 of this Qui Tam Complaint.

                   452.   This is a claim for treble damages and penalties under the Tennessee False Claims

     Act, T.C.A. § 4-18-101 et seq., and the Tennessee Medicaid False Claims Act, T.C.A. § 71-5-181

     ct seq.

                   453.   By virtue of the acts described above, Defendant knowingly presented or caused to

     be presented, false or fraudulent claims to the Tennessee State Government for payment or

     approval.

                   454.   By virtue of the acts described above, Defendant knowingly made, used or caused

     to be made or uses false records and statements, and omitted material facts, to induce the Tennessee

     State Government to approve or pay such false and fraudulent claims.

                   455.   From at least 2011 to present, Defendant offered kickbacks to DME companies to

     induce them to refer their patients to Defendant for IDTF services.

                   456.   Defendant knowingly presented claims for IDTF services resulting from kickbacks,

     thereby causing the Medicaid program to reimburse ineligible claims.

                   457.   The Tennessee State Government, unaware of the falsity of the records, statements

     and claims made, used, presented or caused to be made, used or presented by Defendant, paid and


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     continue to pay the claims that arc non-payable.

                   458.   By reason of the Defendant's acts, the State of Tennessee has been damaged, and

     continues to be damaged, in a substantial amount to be determined at trial.

                   459.   The State of Tennessee is entitled to treble damages, and the maximum penalty as

     provided by statute, for each and every false or fraudulent claim, record or statement made, used,

     presented or caused to be made, used or presented by Defendant.

                                                   COUNT XXVI

                                      Texas Medicaid Fraud Prevention Law
                                     Tex. Hum. Res. Code Ann. § 36.001 et seq.

                   460.   Relator realleges and incorporates by reference the allegations contained m

     paragraphs 1 through 459 of this Qui Tam Complaint.

                   461.   This is a claim for treble damages and penalties under the Texas Medicaid Fraud

     Prevention Law, Tex. Hum. Res. Code Ann. § 36.00 I et seq.

                   462.   By virtue of the acts described above, Defendant knowingly presented or caused to

     be presented, false or fraudulent claims to the Texas State Government for payment or approval.

                   463.   By virtue of the acts described above, Defendant knowingly made, used or caused

     to be made or uses false records and statements, and omitted material facts, to induce the Texas

     State Government to approve or pay such false and fraudulent claims.

                   464.   By virtue of the acts described above, the Defendant has violated and continues to

     violate Texas laws prohibiting the payment or receipt of bribes or kickbacks, namely Tex. Hurn.

     Res. Code Ann. § 32.039 et seq., and Tex. Hurn. Res. Code Ann. § 36.001 et seq.

                   465.   From at least 2011 to present, Defendant offered kickbacks to DME companies to

     induce them to refer their patients to Defendant for IDTF services.

                   466.   Defendant knowingly presented claims for IDTF services resulting from kickbacks,


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     thereby causing the Medicaid program to reimburse ineligible claims.

                   467.    The Texas State Government, unaware of the falsity of the records, statements and

     claims made, used, presented or caused to be made, used or presented by Defendant, paid and

     continue to pay the claims that are non-payable.

                   468.    By reason of the Defendant's acts, the State of Texas has been damaged, and

     continues to be damaged, in a substantial amount to be determined at trial.

                   469.    The State of Texas is entitled to double damages, and the maximum penalty as

     provided by statute, for each and every false or fraudulent claim, record or statement made, used,

     presented or caused to be made, used or presented by Defendant.

                                                   COUNT XXVII

                                              Vermont False Claims Act
                                                32 VSA § 630 et seq.

                   4 70.   Relator realleges and incorporates by reference the allegations contained      111


     paragraphs 1 through 469 of this Qui Tam Complaint.

                   4 71.   This is a claim for treble damages and penalties under the Vennont False Claims

     Act, 32 VSA § 630 et seq.

                   4 72.   By virtue of the acts described above, Defendant knowingly presented or caused to

     be presented, false or fraudulent claims to the Vermont State Government for payment or approval.

                   473.    By virtue of the acts described above, Defendant knowingly made, used or caused

     to be made or uses false records and statements, and omitted material facts, to induce the Vermont

     State Government to approve or pay such false and fraudulent claims.

                   474.    From at least 2011 to present, Defendant offered kickbacks to DME companies to

     induce them to refer their patients to Defendant for IDTF services.

                   475.    Defendant knowingly presented claims for IDTF services resulting from kickbacks,


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     thereby causing the Medicaid program to reimburse ineligible claims.

                   4 76.   The Vermont State Government, unaware of the falsity of the records, statements

     and claims made, used, presented or caused to be made, used or presented by Defendant, paid and

     continue to pay the claims that are non-payable.

                   477.    By reason of the Defendant's acts, the State of Vern1ont has been damaged, and

     continues to be damaged, in a substantial amount to be detern1ined at trial.

                   478.    The State of Vermont is entitled to treble damages, and the maximum penalty as

     provided by statute, for each and every false or fraudulent claim, record or statement made, used,

     presented or caused to be made, used or presented by Defendant.

                                                   COUNT XXVIII

                                       Virginia Fraud Against Taxpayers Act
                                          Va. Code Ann.§ 8.01-216.1 et seq.

                   4 79.   Re la tor realleges and incorporates by reference the allegations contained m

     paragraphs 1 through 478 of this Qui Tam Complaint.

                   480.    This is a claim for treble damages and penalties under the Virginia Fraud Against

     Taxpayers Act, Va. Code Ann.§ 8.01-216.1 et seq.

                   48 I.   By virtue of the acts described above, Defendant knowingly presented or caused to

     be presented, false or fraudulent claims to the Commonwealth of Virginia for payment or approval.

                   482.    By virtue of the acts described above, Defendant knowingly made, used or caused

     to be made or used false records and statements, and omitted material facts to induce the

     Commonwealth of Virginia to approve or pay such false and fraudulent claims.

                   483.    From at least 201 1 to present, Defendant offered kickbacks to DME companies to

     induce them to refer their patients to Defendant for IDTF services.

                   484.    Defendant knowingly presented claims for IDTF services resulting from kickbacks,


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     thereby causing the Medicaid program to reimburse ineligible claims.

                   485.   The Commonwealth of Virginia, unaware of the falsity of the records, statements

     and claims made, used, presented or caused to be presented by Defendant, paid and continue to

     pay the claims that are non-payable.

                   486.   By reason of the Defendant's acts, the Commonwealth of Virginia has been

     damaged, and continued to be damaged, in a substantial amount to be determined at trial.

                   487.   The Commonwealth of Virginia is entitled to treble damages, and the maximum

     penalty as provided by statute, for each and every false or fraudulent claim, record or statement

     made, used, presented or caused to be made, used or presented by Defendant.

                                                   COUNT XXIX

                                  Washington Medicaid Fraud False Claims Act
                                           RCW A 74.66.005 et seq.

                   488.   Relator reallegcs and incorporates by reference the allegations contained m

     paragraphs 1 through 487 of this Qui Tam Complaint.

                   489.   This is a claim for treble damages and penalties under the Washington Medicaid

     Fraud False Claims Act, RCW A 74.66.005 et seq.

                   490.   By virtue of the acts described above, Defendant knowingly presented or caused to

     be presented, false or fraudulent claims to the Washington State Government for payment or

     approval.

                   491.   By virtue of the acts described above, Defendant knowingly made, used or caused

     to be made or uses false records and statements, and omitted material facts, to induce the

     Washington State Government to approve or pay such false and fraudulent claims.

                   492.   By virtue of the acts described above, the Defendant has violated and continues to

     violate Washington laws prohibiting the payment or receipt of bribes or kickbacks, namely RCW A


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     74.09.240.

                   493.   From at least 2011 to present, Defendant offered kickbacks to DME companies to

     induce them to refer their patients to Defendant for IDTF services.

                   494.   Defendant knowingly presented claims for IDTF services resulting from kickbacks,

     thereby causing the Medicaid program to reimburse ineligible claims.

                   495.   The Washington State Government, unaware of the falsity of the records,

     statements and claims made, used, presented or caused to be made, used or presented by

     Defendant, paid and continue to pay the claims that are non-payable.

                   496.   By reason of the Defendant's acts, the State of Washington has been damaged, and

     continues to be damaged, in a substantial amount to be determined at trial.

                   497.   The State of Washington is entitled to treble damages, and the maximum penalty

     as provided by statute, for each and every false or fraudulent claim, record or statement made,

     used, presented or caused to be made, used or presented by Defendant.

                                                   COUNT XXX

                           District of Columbia Procurement Reform Amendment Act
                                         D.C. Code Ann.§ 2-381.01 et seq.

                   498.   Relator realleges and incorporates by reference the allegations contained m

     paragraphs 1 through 497 of this Qui Tam Complaint.

                   499.   This is a claim for treble damages and penalties under the District of Columbia

     Procurement Reform Amendment Act, D.C. Code Ann.§ 2-381.01 et seq.

                   500.   By virtue of the acts described above, Defendant knowingly presented or caused to

     be presented, false or fraudulent claims to the District of Columbia Government for payment or

     approval.

                   501.   By virtue of the acts described above, Defendant knowingly made, used or caused


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     to be made or used false records and statements, and omitted material facts to induce the District

     of Co]umbia Government to approve or pay such fa]sc and fraudu]cnt claims.

                   502.   By virtue of the acts described above, the Defendant has violated and continues to

     vio]ate District of Columbia laws prohibiting the payment or receipt of bribes or kickbacks, namely

     D.C. Code Ann.§ 4-802.

                   503.   From at least 2011 to present, Defendant offered kickbacks to DME companies to

     induce them to refer their patients to Defendant for IDTF services.

                   504.   Defendant knowingly presented claims for IDTF services resulting from kickbacks,

     thereby causing the Medicaid program to reimburse ineligible claims.

                   505.   The District of Columbia Government, unaware of the falsity of the records,

     statements and c]aims made, used, presented or caused to be presented by Defendant, paid and

     continue to pay the claims that are non-payable.

                   506.   By reason of the Defendant's acts, the District of Columbia has been damaged, and

     continued to be damaged, in a substantial amount to be determined at trial.

                   507.   The District of Columbia is entitled to treble damages, and the maximum penalty

     as provided by statute, for each and every false or fraudulent claim, record or statement made,

     used, presented or caused to be made, used or presented by Defendant.

                                                  Prayer for Relief

                   WHEREFORE, qui tam Plaintiff prays for judgment against the Defendant as follows:

                   I.     That Defendant ceases and desists from vio]ating 31 U.S. C. § 3729 et seq., and the

     equivalent provisions of the States and the District of Columbia's statutes as set forth above;

                   2.     That this Court enter judgment against Defendant in an amount equa] to three times

     the amount of damages the United States has sustained because of Defendant's actions, plus the



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    maximum civil penalty as provided by statute for each violation of 31 U.S.C. §3729;

                  3.     That this Court enter judgment against Defendant in an amount equal to three times

    the amount of damages the State Defendants have sustained because of Defendant's actions, plus

    the maximum civil penalty as provided by statute, for each violation of each State Defendant's

    false claims act statute as provided above;

                  4.     That qui tam Plaintiff be awarded the maximum amount allowed pursuant to

    § 3730(d) of the False Claims Act, and the equivalent provisions of the States and District of

    Columbia statutes set forth above;

                  5.     That qui tam Plaintiff be awarded all costs and expenses of this action, including

    attorneys' fees as allowed pursuant to § 3730(d) of the False Claims Act, and the equivalent

    provisions of the States and District of Columbia statutes set forth above; and

                  6.     That all Plaintiffs recover such other relief as the Court deems just and proper.

                                               Demand for Jury Trial

                  Pursuant to Rule 38 of the Federal Rules of Civil Procedure, qui tam Plaintiff hereby

    demands a trial by jury.


                                                                Respectfully submitted,

                                                                Burr & Forman, LLP
                                                                Las O las Centre II
                                                                350 East Las Olas Blvd., Suite 1440
                                                                Ft. Lauderdale, FL 33301
                                                                954-414-6200
                                                                954-414-6201 (Fax)
                                                                lslitow@burr.com


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                                                     ,,,,----   Laurence S. L~w
                                                 (              Attorneys f~~)ator

    January 14, 2020

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                             Exhibit 1
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  Local Provider
  TEST ACCOUNT
                                                     Vn-..t TU~~,;.,x
                                                        PHONE: (877) 337-7111 Fax: (877) 347-9760
                                                                                                                                                   Physician
                                                                                                                                                          Test P
  26220 Test Court                                                                                                                                            test
  Hollywood CA 90210                                             WEB: www.virtuox.net                                                   lest city, A2 123252525
  [P] (555) 555-5555 [FJ (954) 775-3539            Overnight Oximetry Order Form                                         [PJ (121) 212-1212 [F] (212) 212-1212
                                                                                                                                                NPI: 1999999999
Patient Demographics:         Name:                                                   Sex:        DOB:                  SS#:
                                      ---------------                                                    -----                 ---------
Address: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ City: _ _ _ _ _ _ _ _ _ State:                                            Zip: ______
Home Phone:                                             Work Phone: _ _ _ _ _ _ _ _ _ _ _ __

Insurance Demographics:                           (*Copies of Private Insurance cards must be faxed for all non Medicare referrals)
Payer Name 1: _ _ _ _ _ _ _ _ _ _ _ _ ID#: _ _ _ _ _ _ _ Group#: _ _ _ _ _ _ _ Phone#: _ _ _ _ _ _ _ __
Payer Name 2: _ _ _ _ _ _ _ _ _ _ __                   ID#: _ _ _ _ _ _ _ Group#: _ _ _ _ _ __                       Phone#: _ _ _ _ _ _ _ __

Diagnostic Orders:       Awake Oximetry CPT 94760 & Overnight Oximetry CPT 94762: Immediately and repeat in 30 / 60 / 90 / other: _ _ _ _ _ to
                         validate oxygen settings.
Room Air_ _ _ Oxygen:_ _ _ APAP: _ _CPAP: _ _ BIPAP: _ _ Dental Device:_ _ _ Other: _ __


   Check All lCD-9 that apply:

   Respiratory Related Codes                                                      Cardiac Related Codes
   _ 162.2-162.9 Malig Neoplasm of Main Bronchus                                        391.8 Other Acute Rheumatic Heart Dis
     491.20-491.21 Obst Chronic Bronchitis                                        _     398.91 Rheumatic Heart Failure (Congestive)
  __ 492.0-492.8 Emphysema                                                        _     402.01 Malig HTN Heart Dis w/ Heart Failure
     493.00-493.92 Asthma                                                         _     402.11 Benign HTN Heart Dis w/ Heart Failure
     494.0-494.1 Bronchiectasis                                                   _     402.91 Unspec HTN Heart Dis w/ Heart Failure
  _ 496 Chronic Airway Obstruction                                                _     404.01 Malig HTN Heart & Renal Dis w/ Heart Failure
  _ 515 Post Inflammatory Pulmonary Fibrosis                                      _     404.03 Malig HTN Heart & Renal Dis w/ Heart & Renal Failure
  _ 518.5 Pulmonary insufficiency following trauma/surg                           _     404.11 Benign HTN Heart & Renal Dis w/ Heart Failure
  _ 518.81-518.89 Acute Resp Failure - Other Diss of the Lung                     _     404.13 Benign HTN Heart & Renal Dis w/ Heart & Renal Failure
  _  518.51 Acute Resp Failure - Post trauma/surg                                 _     404.91 Unspec HTN Heart & Renal Dis w/ Heart Failure
  _ 518.52 Pulmonary insufficiency not classified - Post trauma/surg              _     404.93 Unspec HTN Heart & Renal Dis w/ Heart & Renal Failure
  _  518.53 Acute/Chronic Resp Failure • Post trauma/surg                         _     416.0 Primary Pulmonary Hypertension
     780.09 Alteration of consciousness other                                     _     416.8 Other Chronic Pulmonary Heart Dis
  _ 780.79 Fatigue                                                                _     416.9 Chronic Pulmonary Heart Dis Unspec
     786.05 Shortness of Breath                                                   _     428.0 Congestive Heart Failure Unspec
  _ 786.06 Tachypnea / Rapid Breathing                                                  428.1 Left Heart Failure
  _ 786.07 Wheezing                                                               _     428.20-428.23 Systolic Heart Failure
  __ 786.09 Resp Abnormality Other (e.g.Snoring)                                        428.30-428.33 Diastolic Heart Failure
  _ 799.01 Asphyxia                                                               _     428.40-428.43 Combined Systolic & Diastolic Heart Failure
  _ 799.02 Hypox/Hypoxia                                                                428.9 Heart Failure Unspec
   Sleep Related Codes
                                                                                  QJ!1ew.r:____________
  _    327.21 Primary Central Sleep Apnea
  _    327 .22 High Altitude Periodic Breathing
  _    327.23 OSA Obst Sleep Apnea
  _    327.24 Idiopathic Sleep Related non Obst alveolar Hypovent
  _    327.25 Cogenital Central Alveolar Hypovent. Syn.
  _    327 .26 Sleep related HypovenUHypox in cond classifiable elsewhere
  _    327.27 Central Sleep Apnea in cond elsewhere
  _    780.51 Insomnia w/ Sleep Apnea
  _    780.53 Hypersomnia w/ Sleep Apnea
  _    780.54 Hypersomnia Unspec
  _    780.57 Unspec Sleep Apnea
  _    786.03 Apnea
  _    786.04 Cheyne-Stokes Respiration

  _    Set up Nocturnal Oxygen @_LPM if patient qualifies from Overnight Oximetry Results

  Date Patient Last Seen:_/_/_
  My signature below certifies that the named patient above is having an awake/ overnight oxirnetry lo determine if the patient desaturates while sleeping,
  and or qualifies for home nocturnal oxygen.



                                       Physician Signature                                                                     Signature Date
                                                              Fax order to:   Fax: (954) 775-3539                                                 V 2.28.2013
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                             Exhibit 2
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                                                                      Department of Health &
         CMS Manual Systen1                                           Human Services (DHHS)
         Pub. 100-20 One-Time Notification                            Centers for Medicare &
                                                                      Medicaid Services (CMS)
            Transmittal 166                                            DATE: JULY 22, 2005
                                                                     CHANGE REQUEST 3751

        SUBJECT: Overnight Oximetery Testing

        I. SUMMARY OF CHANGES: This instruction pr°' ides guidance on when a DME
                                                                 1


        supplier may deliver test equipment on behalf of a Medicare-en rolled Independent
        Diagnostic Test Facility (IDTF).


        NEW/REVISED MATERIAL- EFFECTIVE DATE*: August 22, 2005
                              IMPLEMENTATION DATE: August 22, 2005

        Disclaimer for manual changes only: Tlte revision date and transmittal number apply to tlte
        red italicized material 011/y. Any other material was previously published and remains
        uncltanged. However, if t!tis revision contains a table of contents, you will receive the
        new/revised information only, and not the entire table of contents.

        II. CHANGES IN MANUAL INSTRUCTIONS: (NIA if manual not updated.)
           (R = REVISED, N = NEW, D = DELETED) - (Only One Per Row.)

         R/N/D     CHAPTER/SECTION/SUBSECTION/TITLE
                   NIA



        III. FUNDING: No additional funding will be provided by CMS; Contractor activities arc
        to be carried out within their FY 2005 operating budgets.

        IV. ATTACHMENTS:

             Business Requirements
             Manual Instruction
             Confidential Requirements
        X    One-Time Notification
             Recurring Update Notification

        *Unless otherwise specified, the effective date is the date of scn,ice.
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                                  Attachment - One-Time Notification
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    SUBJECT: Overnight Oximetry Testing

    I.      GENERAL INFORMATION

    A.     Background: CMS Pub 100-3, Section 240.2.C requires all claims for home oxygen therapy to be
    supported by valid qualifying test results "performed by a qualified provider or supplier of laboratory
    services."

    Qualifying test results may be obtained by oximetry testing, and in ce1tain circumstances overnight
    oximetry testing may be appropriate. Overnight oximetry testing (code 94 762) can be performed in the
    beneficiary's home or in another location.

    B.     Policy: Beneficiaries may self administer home based overnight oximetry tests under the direction
    of a Medicare enroJled Independent Diagnostic Testing Facility (IDTF). Further, a DME supplier or
    another shipping entity may deliver a pulse oximctry test unit and related technology used to collect and
    transmit test results to the IDTF to a beneficiary's home under the following circumstances:

    I) The beneficiary's treating physician has ordered an overnight pulse oximetry test.

   2) The test is performed under the direction and/or instruction of a Medicare-approved IDTF. Because it
   is the beneficiary who self-administers this test, the IDTF must provide clear written instructions to the
   beneficiary on proper operation of the test equipment and must include access to the IDTF in order to
   address other concerns which may arise. Because CMS Pub 100-3, Section 240.2.C prohibits DME
   suppliers from performing tests, the DME supplier may not create this instruction nor participate in the
   conduct of the test.

   3) The test unit is sealed and tamper-proof such that test results cannot be accessed by anyone other than
   the IDTF who is responsible for transmitting a test report to the treating physician. The DME supplier
   may use related technology to download test results from the testing unit and transmit those results to the
   IDTF. In no cases may the DME supplier access or manipulate the test results in any form.

   CMS does not intend to regulate the ownership of either the testing unit or the technology used to transmit
   test results.

   Regulations regarding the operation of IDTFs are not changed by this instruction.

   The carrier jurisdiction for the overnight pulse oximetry test is the location of the IDTF to which the test
   results are transmitted.

   No shipping and/or handling charges may be made to or paid by a beneficiary because such charges are
   included in the indirect practice expenses for the Medicare physician fee schedule (MPFS) payment for
   the overnight pulse oximetry test.
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    Because the DME supplier cannot access the test results, and is acting merely as a courier of equipment,
    and is not involved in instructing the beneficiary how to perform the test, this does not violate the
    prohibition found in CMS Publ00-3, Section 240.2.C "A DME supplier is not considered a qualified
    provider or supplier of laboratory services for purposes of these guidelines."

    Test results obtained under these circumstances will be accepted by DMERCs and will be used for
    purposes of qualifying the beneficiary for home oxygen therapy.

   Contractors shall follow all applicable instructions regarding "purchased tests" as found in CMS IOM
   Pub. I 00-4.

   According to the Code of Federal Regulations ( 42CFR§ 410.33) and CMS Manual System, Pub. 100-8,
   Medicare Program Integrity Manual Chapter 10 - Healthcare Provider/Supplier Enrollment, Section 5,
   there arc specific requirements that must be met in order for an applicant to be enrolled in Medicare as an
   IDTF. All IDTFs) whether they provide multiple types of tests or only self-administered pulse oximetry
   testing must meet all the requirements for enrollment into the Medicare program.

   Due to the previous uncertainty concerning reimbursement for home oximetry tests if you have enrolled
   IDTFs solely to do these tests you should reevaluate those enrollments to make sure they meet all IDTF
   qualifications. If there are any concerns you should communicate those with the IDTF to give them an
   opportunity to meet the standards. If the IDTF is unable to meet the requirements their enrollment should
   be revoked. The IDTF should be given 30 days to provide additional proof. After that time a revocation
   letter should be issued using reason 4 from the P]M Chapter 10 section 14.4.


   II.   BUSINESS REQUIREMENTS

   "Shall" denotes a manda101y requirement
             11
   "Should denotes an optional requirement

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   3 751.1          DMERCs shall accept the results of overnight              X   X
                    pulse oximctry tests when determining
                    qualification for home oxygen therapy in cases
                    where the test equipment is de] ivered by a DME
                    supplier but only when: the beneficiary's
                    treating physician has ordered an overnight
                    pulse oximetry test; the test is performed under
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        Requirement   Requirements                                      Responsibility ("X" indicates the
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                      direction or instruction of a Medicare-approved
                      Independent Diagnostic Testing Facility
                      (IDTF); and the test unit is sealed and tamper-
                      proof.

    3751.2            Contractors shall follow all applicable                  X   X
                      instructions regarding "purchased tests" as
                      found in CMS IOM Pub. I 00-4.




   III. PROVIDER EDUCATION

    Requirement       Requirements                                      llesponsibility ("X" indicates the
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   IV.    SUPPORTING INFORMATION AND POSSIBLE DESIGN CONSIDERATIONS

   A.     Other Instructions: N/A

   IX-RefRcquirement IInstructions
                          #
Case 0:19-cv-61084-RNS Document 41 Entered on FLSD Docket 01/14/2020 Page 83 of 162




    B.   Design Considerations: NIA

    X-Ref Requirement#        Recommendation for Medicare System Requirements



   C.    Interfaces: NIA

   D.    Contractor Financial Reporting /Workload Impact: N/A

   E.    Dependencies: NIA

   F.    Testing Considerations: N/A

   V.    SCHEDULE, CONT ACTS, AND FUNDING

   Effective Date*: August 22, 2005                       No additional funding will be
                                                          provided by CMS; Contractor
   Implementation Date: August 22, 2005                   activities are to be carried out
                                                          within their FY 2005 operating
   Pre-Implementation Contact(s): Misty Whitaker          budgets.
   (410) 786-3087

   Post-Implementation Contact(s): Misty Whitaker
   (4 l 0) 786-3087

   *Unless othenvise specified, the effective date is the date of service.
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                             Exhibit 3
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 Local Coverage Determination (LCD) for Noninvasive Ear
 or Pulse Oximetry For Oxygen Saturation (L29236)
Contractor Information
Contractor Name                            Contractor Number                        Contractor Type
First Coast Service Options, Inc.          09102                                    MAC - Part B
Back to Top


LCD Information
Document Information
LCD ID Number                                                 Primary Geographic Jurisdiction
L29236                                                        Florida

LCD Title                                               Oversight Region
Noninvasive Ear or Pulse Oximetry For Oxygen Saturation Region IV

Contractor's Determination Number                            Original Determination Effective Date
94760                                                        For services performed on or after 02/02/2009

AMA CPT/ADA CDT Copyright Statement                        Original Determination Ending Date
CPT codes, descriptions and other data only are copyright
2010 American Medical Association (or such other date of
publication of CPT). All Rights Reserved. Applicable
FARS/DFARS Clauses Apply. Current Dental Terminology, Revision Effective Date
(CDT) (including procedure codes, nomenclature 1
descriptors and other data contained therein) is copyright
by the American Dental Association.© 2002, 2004            Revision Ending Date
American Dental Association. All rights reserved.
Applicable FARS/DFARS apply.

CMS National Coverage Policy
Language quoted from CMS National Coverage Determinations (NCDs) and coverage provisions in interpretive manuals
3re· italicized throughout the Local Coverage Determination (LCD). NCDs and coverage provisions in interpretive
11anuals are not subject to the LCD Review Process (42 CFR 405.860[b] and 42 CFR 426 [Subpart D)). In addition, an
3dministrative law judge may not review an NCO. See § 1869(f)(1 )(A)(i) of the Social Security Act.

Unless otherwise specified, italicized text represents quotation from one or more of the following CMS sources:

V1edicare Benefit Policy Manual, Chapter 15, section 80


Indications and Limitations of Coverage and/or Medical Necessity
=>ulse oximetry provides a simple, accurate, and noninvasive technique for the continuous or intermittent monitoring of
:Hterial oxygen saturation. A small lightweight device attaches to the finger or toe and directs through the nailbed two
Navelengths of light; a photodetector measures absorption. Arterial pulsation is used to gate the signal to the arterial
:;omponent of blood contained within the nailbed.

::ar oximetry is a noninvasive method for evaluating arterial oxygenation. Ear oximeters are commonly used in sleep
,tudies.

3ingle and Multiple Determinations (94 760, 94 761 ):
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 Medicare  win consider car or pulse oxirnetry 1or oxygen saturation (CPT Codes 94760, 94761) to be medically necessary
 whe~ !he patrcnt has a condition resulting in hypoxemia and there is a need to assess the status of a chronic respiratory
 cond1t1on, supplemental oxygen requirements and/or a therapeutic regimen (see ICD-9 Codes That Support Medical
 Necessity).

 Continuous Overnight Monitoring (94762):

 Medicare ~ill consider ear or pulse oxirnetry for oxygen saturation by continuous overnight monitoring (CPT code 94762)
 to be medically necessary in the following circumstances (see ICD-9 Codes That Support Medical Necessity):

 · The patient must have a condition for which intermittent arterial blood gas sampling is likely to miss important
 variations, and

 · The patient must have a condition resulting in hypoxemia and there is a need to assess supplemental oxygen
 requirements and/or a therapeutic regimen.




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Coding Information
Bill Type Codes:
Contractors may specify Bill Types to help providers identify those Bill Types typically used to report this service.
Absence of a Bill Type does not guarantee that the policy does not apply to that Bill Type. Complete absence of all Bill
Types indicates that coverage is not influenced by Bill Type and the policy should be assumed to apply equally to all
claims.


Revenue Codes:
Contractors may specify Revenue Codes to help providers identify those Revenue Codes typically used to report this
service. In most instances Revenue Codes are purely advisory; unless specified in the policy services reported under
other Revenue Codes are equally subject to this coverage determination. Complete absence of all Revenue Codes
indicates that coverage is not influenced by Revenue Code and the policy should be assumed to apply equally to all
Revenue Codes.

199999                   !Not Applicable

CPT/HCPCS Codes
                         NONINVASIVE EAR OR PULSE OXIMETRY FOR OXYGEN SATURATION; SINGLE
94760
                         DETERMINATION
                         NONINVASIVE EAR OR PULSE OXIMETRY FOR OXYGEN SATURATION; MULTIPLE
94761
                         DETERMINATIONS (EG, DURING EXERCISE)
                         NONINVASIVE EAR OR PULSE OXIMETRY FOR OXYGEN SATURATION; BY
94762
                         CONTINUOUS OVERNIGHT MONITORING (SEPARATE PROCEDURE)


ICD-9 Codes that Support Medical Necessity
Single and Multiple Determinations (94760, 94761 ):

                         MALIGNANT NEOPLASM OF MAIN BRONCHUS - MALIGNANT NEOPLASM OF
162.2 - 162.9
                         BRONCHUS AND LUNG UNSPECIFIED
391.8                    OTHER ACUTE RHEUMATIC HEART DISEASE
398.91                   RHEUMATIC HEART FAILURE (CONGESTIVE)
402.01                   MALIGNANT HYPERTENSIVE HEART DISEASE WITH HEART FAILURE
402.11                   BENIGN HYPERTENSIVE HEART DISEASE WITH HEART FAILURE
402.91                   UNSPECIFIED HYPERTENSIVE HEART DISEASE WITH HEART FAILURE
404.01
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                             Exhibit 4
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 3/25/2019                                        G0399 - HCPCS Code for Home sleep test/type 3 porla




                                   HCPCS Code G0399
             Home sleep test (hst) with type iii portable monitor, unattended; minimum of 4 channels: 2
                      respiratory movement/airflow, 1 ecg/heart rate and 1 oxygen saturation



                              Procedures/Professional Services (Temporary Codes)

   G0399 is a valid 2019 HCPCS code for Home sleep test (hst) with type iii portable monitor,
   unattended; minimum of 4 channels: 2 respiratory movement/airflow, 1 ecg/hearl rate and 1 oxygen
   saturation or just "Home sleep test/type 3 porta" for short, used in Diagnostic laboratory
   (/service/diagnostic-laboratory/).

   G0399 has been in effect since 03/13/2008




   HCPCS Code Details - G0399
    HCPCS Code                        60399


    Description                      Long description:
                                     Home sleep test (hst) with type iii portable monitor, unattended; minimum of 4
                                     channels: 2 respiratory movemenUairilow, 1 ecg/heart rate and 1 oxygen
                                     saturation

                                     Short description:
                                     Home sleep test/type 3 porta


    HCPCS Modifier1 g

    HCPCS Pricing indicator 0        13 - Clinical Lab Fee Schedule - Price established by carriers (e.g., not
                                     otherwise classified, individual determination, carrier discretion)

    Multiple pricing indicator O     A -   Not applicable as HCPCS priced under one methodology

    Coverage code O                  c - Carrier judgment


                                   li1 HCPCS Coding Procedures (/coding-procedures/)
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 3/25/2019                                       G0399 - HCPCS Code for Home sleep tesU\ype 3 porta


       BETOS 2 code g                 T2D -   Other tests - other

      HCPCS Action code g             N - No maintenance for this code


      Type of service g               s - Diagnostic laboratory

      Effective date 0               Effective Mar 13, 2008

      Date added g                   Added Mar 13, 2008

                                   il HCPCS Coding      Procedures (/coding-procedures/)



   [ s Share this page]




   See also
        • HCPCS G0398 (/g-codes/G0398/) · Home sleep study test (hst) with type ii portable monitor,
             unattended; minimum of 7 channels: eeg, eog, emg, ecg/heart rate, airflow, respiratory effort
             and oxygen saturation


        • HG PCS G0400 (/g-codes/G0400/) · Home sleep test (hst) with type iv portable monitor,
             unattended; minimum of 3 channels




  1 Two-digit numeric codes  are Level I code modifiers copyrighted© by the American Medical Association's
  (https:/lwww.ama-assn.org) Current Procedural Terminology (CPT).
  2
      BETOS stands for "Berenson-Eggers Type Of Service"
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                             Exhibit 5
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               Section 5102(b) of the Deficit Reduction Act of 2005 requires a payment cap on the technical component (TC) of certain diagnostic imaging procedures
              Hnd the TC portions of the global diagnostic imaging services. This cap is based on the Outpatient Prospective Payment System (OPPSJ payment. To
              implement this provision. the physician (ee schedule amount is compared to the OPPS payment amount and the lower amount is used for payment.

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                             Exhibit 6
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                             Exhibit 7
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              implemenl this provision, the physician fee schedule amounl is compared to the OPPS paymsnt amount and the lower amount is used for payment.

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                  Section 5102(b) or the Deficit Reduclion Acl or 2005 requires a payment cap on the technical component (TC} of certain diagnostic imaging procedures
              and the TC portions of lhe global diagnostic imaging services. This cap is based on the Outpatient Prospective Payment System (OPPS) payment. To
              implement \his provision, the physician fee schedule amount is compared to the OPPS payment arnounl and the lower amount is used for payment.

                                                                                                                                                                                        Back to Top




              Help with Physician Fee Schedule Search (PDF. 141 KB)




         Data Lasl Modified: 01/11/2019

                                                                                                                  I
                                                                      Get Help with File Formats and Plug-Ins Submit Feedback
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                             Exhibit 9
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     Fee schedule lookup tool                                                                                                                                                Page 1 of 1



                                                                                                                                           Join eNews        i:51 ~

                             Find fee schedules -- foe schedule lookup
                             Complete this form to obtain Medicare fee-for-service allowances. You must select a fee schedule and enter a procedure code,
                         . location, and date of service.


                                                                                                                                                    More InformaUon
                               • Req11ired
                                                                                                                                                   ••   Help guide
                               Select fee sct,edule                 MPFS                    B                                                      H /ISC payment indicators
                               Procedure code                  '    !)0399                                                                         •~ MPFS policy indicator definitiort5
                               Date of service

                               Location - locality
                                                                    12/5/2018
                                                               • Florida-03                 ~ff                                                    •• PDF, text, or Excel fee schedules
                                                                                                                                                   •• Recent fee schedule news
                                                                                                                                                   H National physician fee schedule
                                                                                                                                                    lookup on CMS.gov
                                                                    (_s11bn1it_J       Reset
                                                                                                                                                   ~ Seasonal influenza vaccines
                                                                                                                                                  ~!cing on CMS.gov

                             Results

                              Fee Schedule          MPFS                               Procedure Code       G0399                        Date Of Service          121512018
                              State                   FL                               Locality             03                           Modifier
                              Effective Date          01/01/2018                        Description         Home sleep
                                                                                                            tesUtype 3 porta


                              NON OPPS (l                                                                    : OPPS tl
                              NON FAC PAR           <l                                           154.19          NON FAC PAR f.l                                                    0.00
                              NON FAC NON PAR                  0                                 146.48          NON FAC NON PAR              0                                     0.00
                              NON FACLC O                                                        168.45      , NON FAC LC ~                                                         0,00
                              NON FAC eRx LC f,                                                       N/A    l   NON FAC eRx LC 6                                                    NIA
                              NON FAC EHR LC               ~                                          NIA    ; NON FAC EHR LC tl                                                     NIA
                              NON FAC PORS LC                  fl                                     NIA        NON FAC PQRS LC              0                                      NIA
                              NON FAC EHR PQRS LC                       a                             N/A    '. NON FAC EHR PQRS LC                     ii                           NIA
                              NON FAC 2014 eRx/EHR LC                        fi                       NIA        NON FAC 2014 eRx/EHR LC IV1                                         NIA
                              NON FAC 2014 eRx/EHR PQRS LC                         0                  NIA   . • NON FAC 2014 eRx/EHR PQRS LC                         0               NIA
                        J-    FACPAR o                                                           154.1~-         FAC PAR        O                                                   0.00
                              FACNON PAR          0                                              146.48          FAC NON PAR fl                                                     0.00
                              FAC LC      ~                                                      160 45          FAC LC fl                                                          0.00
                              FAC eRx LC o                                                            NIA        FAC eRx LC         ()                                              NIA
                              FAC EHR LC 0                                                            NIA        FAC EHR LC ()                                                      NIA
                              FAC PORS LC         fl                                                  NIA        FAG PORS LC O                                                      NIA
                                                                                                             t
                              FAC EHR PQRS LC                  0                                      NIA    l FAC EHR PQRS LC Q                                                    NIA
                              FAC 2014 eRxJEHR LC                   0                                 NIA    '. FAC 2014 eRx/EHR LC 0                                               NIA
                              FAC 2014 eRxJEHR PQRS LC                        o                       NIA    i   FAC 2014 eRx/EHR PQRS LC f.l                                       NIA

                             Policy Indicators O


                              Status fJ                                                                C
                              Global Surgery 0                                                        XXX        LCOs 8                                                          L33'105
                              Facility Pricing fl                                                                Conversion Factor o                                             35.9996

                              PC/TC    fJ                                                                        Update Fac1or o                                                   1.005
                              Preoperative Percentage                0                                0.0        WorkRVU Q                                                           0.0
                              lnlraoperative Percentage                 0                             0.0        FAC PE RVU     0                                                    0,0
                              Postoperative Percentage                  O                             0.0        NON FAC PE RVU fl                                                   0.0
                              Multiple Surgery G                                                        0        Malpractice RVU 0                                                   0.0
                              Bilaleral Surgery       0                                                 0        WorkGPCI G                                                          1.0

                              Assistant Al Surgery             0                                        0        Practice GPCI 0                                                   1,012

                              Two Surgeons t·J                                                          0    , Malpractice GPCI           0                                        1.797
                              Team Surgery        O                                                     0        MPPR    11'1                                                       0.00
                              Endoscopic Base1            0-                                                     PDT 0                                                                 9


                        1    Results

                              Feo Schedule          MPFS                                Procedure Code      G0399                        Date Of Service             1715/2018
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     copyright statement.

     CPT codes and modifiers begin with a numeric character and HCPCS codes and modifiers begin with an alpha character. All Current procedural
     Terminology (CPT) codes and descriptors are copyrighted 2017 by the American Medical Association.


                                   California, Area     ost 2018 Medicare Part B Status C Fee Schedule
                                                            (Effective January 1, 2018)
           ti • These amounts apply when service is performed in a facility setting.
           C - The payment for the technical component is capped at the OPPS amount.
          .,..  limiting charge reduced based on the EHR negative adjustment program.
                Limiting charge reduced based on the PQRS negative adjustment program.
                Limiting charge reduced for EPs that are subject to both EHR and PQRS negative adjustment programs.
                Limiting charge applies to unassigned claims by non-participating providers.


                                                                                                                                          EHR+
                                                                                                        EHR             PQRS              PQRS
            Procedure                                                              Limiting          Limiting          Limiting          Limiting
     Notes Code                 Modifier        Par Fee        Nonpar Fee          Charge            Charge""'        Charge--**        Charge*"' 0
            A9500                                 $121.70           $115.62          $132.96           $128.97            $130.31          $126.40
            A9502                                 $111.10           $105.55          $121.38           $117.74            $118.96          $115.38
            A9503                                  $14.82            $14.08            $16.19           $15.71             $15.87           $15.40
            A9505                                   $33.23           $31.57           $36.31            $35.21             $35.58           $34.51
            A9507                                $835.24           $793.48           $912.50           $885.13            $894.25          $867.43
           A9510                                  $79.80             $75.81           $87.18            $84.57             $85.43           $82.88
           A9517                                  $40.70             $38.67           $44.47            $43.14              $43.59          $42.27
           A9521                               $1,659.80         $1,576.81         $1,813.33         $1,758.94         $1,777.06         $1,723.76
           A9524                                  $90.25             $85.74           $98.60            $95.65            $96.63            $93.74
           A9537                                  $63.06             $59.91           $68.90            $66.83            $67.52            $65.49
           A9538                                  $45.60             $43.32           $49.82            $48.32            $48.82            $47.36
           A9540                                  $22.74             $21.60           $24.84            $24.09            $24.35            $23.61
           A9541                                  $60.96             $57 .91          $66.60            $64.60            $65.26            $63.31
           A9542                               $4,070.40         $3,866.88         $4,446.91         $4,313.50         $4,357.97         $4,227.23
           A9543                              $53,815.93        $51,12513         $58,793.90        $57,030.09        $57,618.02        $55,889.48
           A9547                               $2,038.46         $1,936.54         $2,227.02         $2,160.21         $2,182.48         $2,117.00
           A9548                                $471.04            $447.49           $514.61           $499.18           $504.32           $489.20
           A9551                                  $686.76          $652.42           $750.28           $727.78           $735.28           $713.22
           A9552                                 $250.00           $237.50           $273.13           $264.94           $267.66            $259.64
           A9554                                  $39.90             $37.91           $43.60            $42.29            $42.72            $41.43
           A9556                                 $113.21           $107.55           $123.68           $119.97           $121.21           $117.56
           A9557                                 $424.18           $402.97           $463.42           $449.51           $454.15           $440.52
           A9558                                  $39.52             $37.54           $43.17            $41.87            $42.31            $41.03
           A9560                                 $106.48           $101.16           $116.33           $112.85           $114.01           $110.60
           A9561                                  $50.16             $47.65           $54.80            $53.15            $53.71            $52.10
           A9562                                 $883.24           $839.08           $964.94           $936.00            $945.65          $917.27
           A9563                                 $347.56           $330.18           $379.71           $368.31           $372.12           $360.94
          A9564                                  $331.13           $314.57           $361.76           $350.90           $354.52           $343.88
          A9567                                   $23.50             $22.33           $25.68            $24.91            $25.16            $24.41
          A9569                                $1,659.80         $1,576.81         $1,813.33         $1,758.94         $1,777.06         $1,723.76
          A9570                                $4,076.93         $3,873.08         $4,454.04         $4,320.42         $4,364 96         $4,234.01
          A9571                                $4,076.93         $3,873.08         $4,454.04         $4,320.42         $4,364.96         $4,234.01
          A9580                                  $268.30           $254.89           $293.12           $284.33           $287.26           $278.65
          A9586                                $2,964.00         $2,815.80         $3,238.17         $3,141.03         $3,173.40         $3,078.21
          A9600                                $5,500.24         $5,225 23         $6,009.01         $5,828.74         $5,888.84         $5,712.17
     1/1/2018                                                    California, Area 05                                                  Page 1 of 8
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          # - These amounts apply when service is performed in a facility setting.
          C - The payment for the technical component is capped at the OPPS amount.
         **   Limiting charge reduced based on the EHR negative adjustment program.
        w     Limiting charge reduced based on the PORS negative adjustment program.
              Limiting charge reduced for EPs that are subject to both EHR and PORS negative adjustment programs.
              Limiting charge applies to unassigned claims by non-participating providers.


                                                                                                                       EHR+
                                                                                       EHR           PQRS              PQRS
             Procedure                                                Limiting       Limiting       Limiting         Limiting
     Notes Code            Modifier     Par Fee      NonparFee        Charge        Chargeu        Charge***        Charge 0 **
           00186                          $702.69        $667.56        $767.69        $744.66        $752.34          $729.77
     #     00186                          $672.41        $638.79        $734.61        $712.57        $719.91          $698.33
           G0339                       $4,617.01       $4,386.16      $5,044.08      $4,892.77      $4,943.21        $4,794.91
           00340                       $3,392.52       $3,222.89      $3,706.32      $3,595.13      $3,632.19        $3,523.23
            G0398                        $416.98         $396.13        $455.55        $441.89        $446.44          $433.06
            G0398         TC             $250.19         $237.68        $273.33        $265.13        $267.87          $259.83
            G0398         26             $166.80         $158.46        $182.23        $176.77        $178.58          $173.24
            G0399                        $290.06         $275.56        $316.89        $307.38        $310.56          $301.23
            G0399         TC             $174.04         $165.34        $190.14        $184.44        $186.33          $180.75
            G0399         26             $116.03         $110.23        $126.76        $122.96        $124.23          $120.50
            G0400                        $261.06         $248.01        $285.21        $276.66        $279.51          $271.12
            G0400         TC             $156.64         $148.81        $171.13        $166.00        $167.70          $162.68
            G0400         26             $104.42          $99.20        $114.08        $110.65        $111.80          $108.45
            G0498                        $210.60         $200.07        $230.08        $223.18        $225.48          $218.72
            G6017                        $155.39         $147.62        $169.76        $164.67        $166.37          $161.38
            09678                        $160.00         $152.00        $174.80        $169.56        $171.30          $166.16
            R0070                        $214.84         $204.10        $234.72        $227.68        $230.02          $223.12
            R0075                        $214.84         $204.10        $234.72        $227.68        $230.02          $223.12
            0054T                        $166.74         $158.40        $182.16        $176.70        $178.51          $173.17
            0055T                        $166.74        $158.40         $182.16        $176.70        $178.51          $173.17
           0075T                       $1,382.32       $1,313.20      $1,510.18      $1,464.87      $1,479.98        $1,435.57
           0075T          26             $958.17        $910.26       $1,046.80      $1,015.39     $1,025.86           $995.08
           0076T                         $456.18        $433.37         $498.38        $483.43        $488.41          $473.75
           0076T          26               $95.81         $91.02        $104.67        $101.53        $102.58           $99.50
           0159T                           $26.35         $25.03         $28.78         $27.92         $28.21           $27.36
           0159T          TC               $22.71         $21.57         $24.81         $24.06         $24.31           $23.58
           0159T          26                $3.66          $3.48          $4.00          $3.89          $3.92            $3.81
           0191T                         $301.12        $286.06         $328.97        $319.10        $322.39          $312.72
    #      0191T                         $251.19        $238.63         $274.42        $266.19        $268.94          $260.87
           0202T                       $2,937.36      $2,790.49       $3,209.06      $3,112.80     $3,144.88         $3,050.54
    #      0202T                       $1,643.44      $1,561.27       $1,795.46      $1,741.59     $1,759.55         $1,706.76
           0213T                         $257.00       $244.15          $280.77        $272.35        $275.16          $266.90
    #      0213T                         $133.17       $126.51          $145.49        $141.12        $142.58          $138.30
           0214T                        $123.57        $117.39          $135.00       $130.95         $132.30          $128.33
    #      0214T                           $73.54        $69.86          $80.34         $77.92         $78.73           $76.36
           021ST                        $125.06        $118.81          $136.63       $132.54         $133.89          $129.89
    #      0215T                          $75.03         $71.28          $81.97         $79.51         $80.33           $77.92
           0216T                        $231.53        $219.95         $252.94        $245.35         $247.88          $240.44
    #      0216T                        $113.13        $107.47          $123.59       $119.89         $121.12          $117.50
           0217T                        $112.70        $107.07         $123.13         $119.44        $120.67          $117.05
    #      0217T                          $62.67         $59.54          $68.47         $66.41         $67.10           $65.09
           0218T                        $114.67        $108.94         $125.28         $121.52        $122.77         $119.09
    #      0218T                          $63.66         $60.48          $69.55         $67.47         $68.16           $66.13
           0249T                        $338.83        $321.89         $370.17         $359.06        $362.77         $351.89

     1/1/2018                                         California, Area 05                                           Page 2 of 8
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                       CMS Medicare FFS Provider e-News
                                   Brought to       you by the         Medicare Learning Network®

                                   Table of Contents for Friday, March 8, 2013


          To All Health Care Professionals, Providers, and Suppliers

          Mandatory Payment Reductions in the Medicare Fee-for-Service (FFS) Program - usequestration"

          The Budget Control Act of 2011 requires, among other things, mandatory across-the-board reductions in
          Federal spending, also known as sequestration. The American Taxpayer Relief Act of 2012 postponed
          sequestration for 2 months. As required by law, President Obama issued a sequestration order on March
          1, 2013. The Administration continues to urge Congress to take prompt action to address the current
          budget uncertainty and the economic hardships imposed by sequestration.

          This listserv message is directed at the Medicare FFS program (i.e., Part A and Part B}. In general,
          Medicare FFS claims with dates-of-service or dates-of-discharge on or after April l, 2013, will incur a 2
          percent reduction in Medicare payment. Claims for durable medical equipment (DME), prosthetics,
          orthotics, and supplies, including claims under the DME Competitive Bidding Program, will be reduced by
          2 percent based upon whether the date-of-service, or the start date for rental equipment or multi-day
          supplies, is on or after April 1, 2013.

         The claims payment adjustment shall be applied to all claims after determining coinsurance, any
         applicable deductible, and any applicable Medicare Secondary Payment adjustments.

         Though beneficiary payments for deductibles and coinsurance are not subject to the 2 percent payment
         reduction, Medicare's payment to beneficiaries for unassigned claims is subject to the 2 percent
         reduction. The Centers for Medicare & Medicaid Services encourages Medicare physicians, practitioners,
         and suppliers who bill claims on an unassigned basis to discuss with beneficiaries the impact of
         sequestration on Medicare's reimbursement.

         Questions about reimbursement should be directed to your Medicare claims administration contractor.
         As indicated above, we are hopeful that Congress will take action to eliminate the mandatory payment
         reductions.
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                                     DEPARTMENT OF HEALTH AND HUMAN SERVICES
                                         Centers for Medicare & Medicaid Services




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                                            Official Information Health Care
                                                Professionals Can Trust



             Independent Diagnostic Testing Facility (IDTF)
                             Fact Sheet
    This Medicare Learning Network® Fact Sheet provides details of the requirements for an Independent Diagnostic
    Testing Facility (IDTF} to be enrolled in the Medicare program.


     Definition                                             ·                  .    .      --

    An IOTF is a facility that is independent both of an attending or consulting physician's office and of a hospital.
    However, IDTF general coverage and payment policy rules apply when an IDTF furnishes diagnostic procedures
    in a physician's office (see 42 Code of Federal Regulations (CFR) 410.33(a)(1 )).
   Effective for diagnostic procedures performed on or after March 15, 1999, Medicare Administrative Contractors
   (MACs) pay for diagnostic procedures under the physician fee schedule when performed by an IDTF. An IDTF
   may be a fixed location or a mobile entity. It is independent of a physician's office or hospital.




   ICN909060 August 2016                                        1
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    Medicare Enrollment
    An IDTF should be open and operational at the time it submits the CMS-855B application to initially enroll
    in Medicare.

    One Enrollment per Practice Location
        • An IDTF must separately enroll each of its practice locations (with the exception of locations that are used
          solely as warehouses or repair facilities). This means that an enrolling IDTF can have only one practice
          location on its Form CMS-8558 enrollment application. If an IDTF is adding a practice location to its
          existing enrollment, it must submit a new complete Form CMS-855B application for that location and have
          that location undergo a separate site visit. Also, each of the IDTF's mobile units must enroll separately.
          Consequently, if a fixed IDTF site also contains a mobile unit, the mobile unit must enroll separately from the
          fixed location.
        • Each separately enrolled practice location of the IDTF must meet all applicable IDTF requirements. The
          location's failure to comply with any of these requirements will result in the revocation of its Medicare
          billing privileges.

    Effective Date of Billing Privileges
    The filing date of an IDTF Medicare enrollment application is the date that the MAC receives a signed
    application that it is able to process to approval (see 42 CFR SQction_410.33(i)). The effective date of billing
    privileges for a newly enrolled IOTF is the later of the following:
        • The filing date of the Medicare enrollment application that was subsequently approved by the MAC or
        • The date the IDTF first started furnishing services at its new practice location. A newly-enrolled IDTF, therefore,
          may not receive reimbursement for services furnished before the effective date of billing privileges.
    IDTFs should note that, if an IDTF application is rejected and a new application is later submitted, the date of
    filing is the date the MAC receives the new enrollment application.

    Leasing and Staffing
    A mobile IDTF does not include entities that lease or contract with a Medicare enrolled provider or supplier to
    provide:

        • Diagnostic testing equipment
       • Non-physician personnel described in 42 CFR section 410.33(c) or
       • Diagnostic testing equipment and non-physician personnel described in 42 CFR section 410.33(c). This is
         because the provider or supplier is responsible for providing the appropriate level of physician supervision
         for the diagnostic testing.

    Multi-State Independent Diagnostic Testing Facilities
    An IDTF that operates across State boundaries must:
       • Maintain documentation that its supervising physicians and technicians are licensed and certified in each of
         the States in which it operates and
       • Operate in compliance with all applicable Federal, State, and local licensure and regulatory requirements
         with regard to the health and safety of patients.
   The point of the actual delivery of service means the place of service (POS) on the claim form.
   When the IDTF perforn1s or administers an entire diagnostic test al the beneficiary's location,
   the beneficiary's location is the POS. When one or more aspects of the diagnostic testing are
   performed at the IDTF, the IDTF is the POS. (See 42 CFR section 410.33{e)(1 )). See Place of
   Service Issues section below for further information about coding for POS.




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     Requirements for an IDTF Supervising Physician
    An lDTF must have one or more supervising physicians who are responsible for:

         • The direct and ongoing oversight of the quality of the testing performed
         • The proper operation and calibration of equipment used to perform tests and
         • The qualifications of non-physician IDTF personnel who use the equipment
    Not every supervising physician has to be responsible for all functions. One supervising physician can be
    responsible for the operation and calibration of equipment, while other supervising physicians can be responsible
    for test supervision and the qualifications of non-physician personnel. The basic requirement, however, is that all
    the supervisory physician functions must be properly met at each location, regardless of the number of physicians
    involved. This is particularly applicable to mobile IDTF units that are allowed to use different supervisory physicians
    at different locations. They may have a different physician supervise the test at each location. The physicians
    used need only meet the proficiency standards for the tests they are supervising. Each supervising physician must
    be limited to providing general supervision at no more than three IDTF sites. This applies to both fixed sites and
    mobile units where three concurrent operations are capable of performing tests.

    Supervising physicians must meet the following criteria:

        1. Be licensed to practice in the State(s) where the diagnostic tests he or she supervises will be performed

        2. Be enrolled in Medicare; however, the physician(s) need not necessarily be Medicare enrolled in the State
           where the IDTF is enrolled

        3. Meet the proficiency tests for any tests he or she supervises

        4. Is not currently excluded or barred

        5. Provide general supervision for no more than three lDTF sites


    Requirements for an IDTF Interpreting Physician
    IDTFs are not required to have interpreting physicians. If the IDTF does
    have such physicians, the IDTF interpreting physician must:

        1. Be licensed to practice in the State(s) where the diagnostic tests
           he or she supervises will be performed

        2. Be enrolled in Medicare

        3. Not be currently excluded or barred

       4. Be qualified to interpret the types of tests (codes) listed in the enrollment application


    Requirements for an IDTF Technician
   An IDTF technician must:

       1 . Meet the certification and/or license standards of the State in which tests are performed at the time of
           the IDTF enrollment and/or at the time any tests are performed

       2. Be qualified to perform the types of tests (codes) listed in the enrollment application




                                                               3
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    Performance Standards for IDTFs
    As part of its enrollment application, an IDTF must complete Attachment 2 Independent Diagnostic Testing
    Facilities of Form CMS-8558. This attachment lists the Independent Diagnostic Testing Facilities Performance
    Standards, are in 42 CFR 410.33(9). In completing the enrollment application, including Attachment 2, the IDTF
    certifies that it meets the following standards and all other requirements consistent with 42 CFR 410.33(g).


    Requirements for IDTFs:

             Op~rate its business In complianpewith all ~pplicable Federal and Sfate·Ocensure and regulatory ·
       1
             requirements for the:he~lth and safety9( patientS:                      ·.
             Provide complete and accurate information on its enrollment application. Changes in ownership, changes
             of location, changes in general supervision, and adverse legal actions must be reported to the MAC
       2
             on the Medicare enrollment application within 30 calendar days of the change. All other changes to the
             enrollment application must be reported within 90 calendar days.
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            Have all applicable diagnostic testing equipment available at the physical site excluding portable
            diagnostic testing equipment. A catalog of portable diagnostic equipment, including diagnostic testing
            equipment serial numbers, must be maintained at the physical site. In addition, portable diagnostic
      4     testing equipment must be available for inspection within two business days of the Centers for Medicare
            & Medicaid Services (CMS) inspection request. The IDTF must maintain a current inventory of the
            diagnostic testing equipment, including serial and registration numbers, provide this information to the
            designated MAC upon request, and notify the MAC of any changes in equipment within 90 days.
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            Have a comprehensive liability insurance policy of at least $300,000 per location that covers both the place
            of business and all customers and employees of the IDTF. The policy must be carried by a non-relative
            owned company. Failure to maintain required insurance at all times will result in revocation of the IDTF's
            billing privileges retroactive to the date the insurance lapsed. IDTF suppliers are responsible for providing
      6     the contact information for the issuing insurance agent and the underwriter. In addition, the IDTF must:
                  • Ensure that the insurance policy remain in force at all times and provide coverage of at least
                    $300,000 per incident; and
                  • Notify the CMS-designated MAC in writing of any policy changes or cancellations.

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               Answer, document, and maintain documentation of a beneficiary's written clinical complaint at the
               physical site of the IDTF (For mobile IDTFs this documentation would be stored at their home office.)
               This includes, but is not limited to the following:
                    . The name, address, telephone number, and health insurance claim number of the beneficiary
        8
                    . The date the complaint was received, the name of the person receiving the complaint, and a
                      summary of actions taken to resolve the complaint
                   . If an investigation was not conducted, the name of the person making the decision and the reason
                      for the decision
        9     ·Openly post these standards for review by'patients and .the public.
               Disclose to the government any person having ownership, financial, or control interest, or any other legal
       10
               interest in the supplier at the time of enrollment or within 30 days of a change.
       1·1     tJa.ve its te~ting eqt1lpr:nent,:qalib,rateo and 111ain~airied.pe_r equipr:nent instruc,i6ns and in compliance with,
              ·~pplicable manufacturers suggested maintenance and calibration standards. ..                  · _      ·.          .
               Have technical staff on duty with the appropriate credentials to perform tests. The IDTF must be able
       12      to produce the applicable Federal or State licenses or certifications of the individuals periorming these
               services.
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              Permit CMS, including its agents, or its designated MAC to conduct unannounced, on-site inspections
              to confirm the IDTF's compliance with these standards. The IDTF must be accessible during regular
       14
              business hours to CMS and beneficiaries and must maintain a visible sign posting the normal business
              hours of the IDTF.

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             · ·enro)J tn MedicareJor a~y,.d_iaghqstic4estim:j sen,_ip¢f:Jhat ltf~rnishes to a fv1~~iqare;beneficiary,' ...
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              Bill for all mobile diagnostic services that are furnished to a Medicare beneficiary, unless the mobile
              diagnostic service is part of a service provided under arrangement as described in section 1861 (w)(1)
              of the Act. (Section 1861 (w)(1) states that the term "arrangements" is limited to arrangements under
              which receipt of payments by the hospital. critical access hospital, skilled nursing facility, home health
              agency or hospice program (whether ln its own right or as an agent), with respect to services for which
       16
              an individual is entitled to have payment made under this title, discharges the liability of such individual or
              any other person to pay for the services.)
              If the IDTF claims that it is furnishing services under arrangement as described in section 1861 (w)(1 ), the
              IDTF must provide documentation of such with its initial or revalidation Form CMS-855 application.



    Billing Issues for IDTFs
    Consistent with 42 CFR 410.32(a), the supervisory physician for the IDTF, whether or not for a mobile unit, may
    not order tests to be performed by the IDTF, unless the supervisory physician is the patient's treating physician and
    is not otherwise prohibited from referring to the IDTF. The supervisory physician is the patient's treating physician
    if he or she furnishes a consultation or treats the patient for a specific medical problem and uses the test results
    in the management of the patient's medical problem.

    If an IDTF wants to bill for an interpretation performed by a physician who does not share a practice with the
    IDTF, the IDTF must meet certain conditions concerning the anti-markup payment limitation. If a physician
    working for an IDTF (or a party related to the IDTF through common ownership or control as described
    in 42 CFR 413.17) does not order the technical component (TC) or the professional component
    (PC) of a diagnostic test (excluding clinical diagnostic laboratory tests), it would not be subject
    to the anti-markup payment limitation (see Chapter 1, Section 30.2.9 of the "Medicare Claims
    Processing Manual").



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     Transtelephonic and Electronic Monitoring Services
    Transtelephonic and electronic monitoring services (for example, 24 hour ambulatory EKG monitoring, pacemaker
    monitoring and cardiac event detection) may perform some of their services without actually seeing the patient.
    Most but not all of these billing codes currently are 93012, 93014, 93040, 93224, 93225, 93226, 93232, 93230,
    93231, 93233, 93236, 93270, 93271, 93731, 93733, 93736, 95953, and 95956. These monitoring service entities
    should be classified as IDTFs and must meet all IDTF requirements. CMS currently does not have specific
    certification standards for IDTF technicians; technician credentialing requirements for IDTFs are at the MAC's
    discretion. They do require a supervisory physician who performs General Supervision. Final enrollment of a
    transtelephonic or electronic monitoring service as an IDTF requires a site visit.

    For any entity that lists and will bill codes 93012, 93014, 93268, 93270, 93271, or 93272, the MAC must make
    a written determination that the entity actually has a person available on a 24-hour basis to answer telephone
    inquiries. Use of an answering service in lieu of the actual person is not acceptable. The person performing the
    attended monitoring should be listed in Section 3 of Attachment 2 of Form CMS-8558. The qualifications of the
    person are at the MAC's discretion. The MAC shall check that the person is available by attempting to contact
    the applicant during non-standard business hours. In particular, at least one of the contact calls should be made
    between midnight and 6:00 AM. If the applicant does not meet the availability standard, they should receive a
    denial of enrollment.


    Ordering of Tests
    All procedures performed by the IDTF must be specifically ordered in writing by the
    physician or practitioner who is treating the beneficiary, that is, the physician who is
    furnishing a consultation or treating a beneficiary for a specific medical problem and
    who uses the results in the management of the beneficiary's specific medical problem.
    (Non-physician practitioners may order tests as set forth in CFR 410.32(a}(3).)

    The order must specify the diagnosis or other basis for the testing. The supervising
    physician for the IDTF may not order tests to be performed by the IDTF, unless the
    IDTF's supervising physician is in fact the beneficiary's treating physician. That is, the
    physician in question had a relationship with the beneficiary prior to the performance
    of the testing and is treating the beneficiary for a specific medical problem. The IDTF
    may not add any procedures based on internal protocols without a written order from
    the treating physician.

    Diagnostic Tests Subject to the Anti-Markup Payment Limitation
    In most instances, physicians working for an IDTF do not order diagnostic tests because such tests are generally
    ordered by the patient's treating physician. If a physician working for an IDTF does not order a diagnostic test,
    the test is not subject to the anti"markup payment limitation. However, if a physician working for an IDTF (or a
    physician financially related to the IDTF through common ownership or control) orders a diagnostic test payable
    under the Medicare Physician Fee Schedule (MPFS), the anti-markup payment limitation may apply (depending
    on whether the performing physician or other supplier meets the "sharing a practice" requirements). For further
    information in this case, IDTFs should refer to the "Medicare Claims Processing Manual,'' Chapter 1, Section
    30.2.9, Payment to Physician or Other Supplier for Diagnostic Tests Subject to the Anti-Mark-up Payment
    Limitation. available at hl1P-;lL~Jn?.ht1s,gQYL8.qgulations-and-Guidance/Gpic!a11.Q§./MJ1mJal~/Dg_wnloads/
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   Therapeutic Procedures
   An IDTF shall not be allowed to bill for any CPT or HCPCS codes that are solely therapeutic.




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     Place of Service Issues
    CMS released MLN Matters® Article MM7631 on April 1, 2013, which advises physicians, providers, and suppliers
    of the national policy and coding instructions for Place of Service (POS). The importance of this national policy is
    underscored by consistent findings, in annual or biennial reports from Calendar Year (CY) 2002 through CY 2007,
    by the Office of the Inspector General (OIG) that physicians and other suppliers frequently incorrectly report the
    POS in which they furnish services.

    This article advises that CMS establishes that, for all services, with two exceptions, paid under the MPFS, the POS
    code to be used by the physician and other supplier will be assigned as the same setting in which the beneficiary
    received the face-to-face service. Because a face-to-face encounter with a physician or other provider is required
    for nearly all services paid under the MPFS and anesthesia services, this rule will apply to the overwhelming
    majority of MPFS services.

     In cases where the face-to-face requirement is obviated, such as those when a physician or other provider
    provides the professional component (PC) interpretation of a diagnostic test from a distant site, the POS code
    assigned by the physician or other provider will be the setting in which the beneficiary received the technical
    component (TC) of the service. For example, a beneficiary receives an MRI at an outpatient hospital near his/her
    home. Tt1e 11ospital submits a claim that would correspond to the TC portion of the MRI. The physician furnishes
    the PC portion of the beneficiary's MRI from their office location -POS code 22 will be used on the physician's
    claim for the PC to indicate that the beneficiary received the face-to-face portion of the MRI, the TC, at the
    outpatient hospital. IDTFs should review this article in order to use the correct POS code when billing for services.

    For more details about this policy, you should refer to MLN Matters® Number MM7631, Revised and Clarified
    Place of Service (POS) Coding Instructions. The article is available at bttp://www.cms.gov/Outreach-and-
    J;ducationfMcdicare-Lcarnirig-N,eJw9rk-MLN/MLNMattersArti~Jg:~Lg9wnloads/MM763_1~pitf.

    Additional clarification about this policy may be found at Frequently Asked Questions Related to Change
    Request 7631 (Revised and Clarified Place of Service Coding Instructions), dated April 25, 2013, available at
    l}ttp://www.cms.qov/Medicare/Medi~are-t:ee-for-Se_r._vice-PaymenUFj}ysicianFeeSchgd/Dqymloa<:i§.(E.A.Q~-:-
    CR7631-4-25-13.pdf.
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     Res·ources ·                .. :                      :         .     ·               .

   The following resources will help I DTFs understand Medicare requirements:



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    Medicare Enrollment Application CMS-Form 8558                  Eorms/download§/~msfHL5b.p_gj

                                                                   http://www.cms.gqy/Outreach-and-Ed~1cation/
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    MLN Matters® Number MM7631
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    "Medicare Claims Processing Manual," Chapter 1                 Guidance/Manu;;.tls/Downloads/clm104c01.pc:if



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      42 CFR section 410.33(i))                               vol2/pdf/C FR-2010:1;itle42-vof.2-:sec41J)-33.r:tdf


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                            Exhibit 13
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 Measurement of oxygen saturation in blood using ear or finger device
 HCPCS CODE: 94760
 PRODUCT/SERVICE IS NOT A DRUG
 PLACE OF SERVICE: OFFICE

        20,855                        20103                               $5.00                        $4.13                            $3.10
 Number of Services          Number of Benel1ciaries          Average Sut)milted Charge   Average Medicare Allowed Amount      Average Medicare Payment




Overnight measurement of oxygen saturation in blood using ear or finger device
HCPCS CODE 94762
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       131,803                       122553                              $39.00                       $31.29                            $23.66
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Home sleep test (hst) with type iii portable monitor, unattended; minimum of 4 channels: 2 respiratory movement/airflow, 1 ecg/heart rate and 1 oxygen
saturation
HCPCS CODE G0399
PRODUCT/SERVICE IS NOT A DRUG
PLACE OF SERVICE: Off IC[

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Home sleep test (tist) wit11 type iv portable monitor, unattended: minimum of 3 channels
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                            Exhibit 14
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               and the TC portions of the global diagnostic imaging services. This cap is based on the Outpatient Prospective Payment System (OPPS) payment. To
               implement this provision. the physician fee schedule amount is compared to lhe OPPS paymenl amount and \he lower amount is used lor payment.

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                            Exhibit 15
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               and the TC portions of the global diagnoslic imaging services. This cap Is based on the Outpatient Prospective Payment System (OPPS) payment. To
               implement this provision, the physician fee schedule amount is compared lo the OPPS payment amount and the lower amounl is used for payment.

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               Help wilh Physician Fee Schedule Search (PDF. 141KB)




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                            Exhibit 16
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 3/25/2019                                                                                                                                  Physician Fee Schedule Search Results

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                              Physician Fee Schedule Search



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               Year:                                     2016                                                            1'
                                                                                                                                  HCPCS:          94760
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               HCPCS Criteria:                           Single HCPCS Code                                               1'
                                                                                                                                 Locality:         0111205 San Francisco, CA                                                                                .
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                     94760                                  Measure blood oxygen level                                                                                   emailed.




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              and the TC portions of the glob11I diagnostic imaging services. This c11p is based on the Outpatient Prospective Payment System (OPPS) paymenL To
              implement this provision, the physici11n fee schedule nmount is compared to the OPPS payment amount and the lower amount is used for payment.

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Case 0:19-cv-61084-RNS Document 41 Entered on FLSD Docket 01/14/2020 Page 122 of 162




                            Exhibit 17
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               Selected Criteria:

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                        94760             Measure blood oxygen level                                               emailed.




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                   Seclion 5102(b) of tile Deficit Reduction Ac! of 2005 requires a pay111en( cap on the technical component (TC) of certain diagnostic Imaging procedures
               and ths TC portio11s of the global diagnostic imaging sel'lices. This cap is based on the Outpatient Prospective Payment System (OPPS) payment. To
               implement this provision, the physician fee schedule amount is compared lo the OPPS payment amount and the lower amount is used for paymenl.

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                            Exhibit 18
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    CPT codes and modifiers begin with a numeric character and HCPCS codes and modifiers begin with an alpha character. All Current procedural
    Terminology (CPT) codes and descriptors are copyrighted 2016 by the American Medical Association.


                            California, Area 05, 2017 Medicare Part B Contractor Priced Fee Schedule
                                                    (Effective January 1, 2017)
          # - These amounts apply when service is performed in a facility setting.
         C - The payment for the technical component is capped at the OPPS amount.
         u    Limiting charge reduced based on the EHR negative adjustment program.
              Limiting charge reduced based on the PQRS negative adjustment program.
       **** - Limiting charge reduced for EPs that are subject to both EHR and PQRS negative adjustment programs.
              Limiting charge applied to unassigned claims by non-participating providers.


                                                                                                                                          EHR+
                                                                                                       EHR              PQRS             PQRS
           Procedure                                                               Limiting          Limiting          Limiting         Limiting
     Notes Code                Modifier        Par Fee         Nonpar Fee          Charge           Charge**          Charge* 0        Charge"'**"'
              A9500                             $121.70           $115.62           $132,96           $128.97           $130.31           $126.40
              A9502                             $111.10           $105.55           $121.38           $117.74           $118.96           $115.38
              A9503                              $14.82            $14,08            $16.19            $15.71            $15.87            $15.40
              A9505                              $33.23            $31.57            $36.31            $35,21            $35.58            $34.51
              A9507                             $677.01           $643.16           $739.63           $717.45           $724.85           $703.10
              A9509                             $207.98           $197.58           $227.22           $220.40           $222.67           $215.99
              A9510                              $79.80            $75.81            $87.18            $84.57            $85.43            $82.88
              A9512                              $13.52            $12.84            $14.77            $14.32            $14.47            $14.03
              A9516                             $207.98           $197.58           $227.22           $220.40           $222.67           $215,99
              A9517                              $40.70            $38.67            $44.47            $43.14            $43.59            $42,27
              A9521                           $1.659.80         $1,576.81         $1.813.33         $1.758.94         $1,777.06         $1 723.76
              A9524                              $90.25            $85.74            $98.60            $95.65            $96.63            $93.74
              A9528                              $41.31            $39.24            $45.13            $43.77            $44.23            $42.90
              A9530                              $11.66            $11.08            $12.74            $12.36            $12.49            $12.12
              A9531                               $4.42             $4.20             $4.83             $4.68             $4.74             $4.59
              A9537                              $63.06            $59.91            $68.90            $66.83            $67.52            $65.49
              A9538                              $45.60            $43.32            $49.82            $48.32            $48.82            $47.36
              A9539                              $35.72            $33.93            $39.02            $37,85            $38.24            $37,09
              A9540                              $22.74            $21.60            $24.84            $24.09            $24.35            $23.61
              A9541                              $60.96            $57.91            $66.60            $64.60            $65.26            $63.31
              A9542                           $4 050.15         $3,847.64         $4 424.79         $4,292.04         $4 336.29         $4.206.21
              A9543                          $51,827.77        $49 236.38        $56,621.84        $54 923.18        $55.489.40        $53,824.72
              A9547                           $2,038.46         $1,936.54         $2,227.02         $2,160.21         $2 182.48         $2,117.00
              A9548                             $471.04           $447.49           $514.61           $499.18           $504.32           $489.20
              A9551                             $683.34           $649.17           $746.55           $724.14           $731.62           $709.67
              A9552                             $250.00           $237.50           $273.13           $264.94           $267.66           $259.64
              A9554                              $39.90            $37.91            $43.60            $42.29            $42.72            $41.43
              A9555                             $296.28           $281.47           $323.69           $313.98           $317.22           $307,71
              A9556                            $102.91             $97.76          $112.42            $109.05           $110.17           $106.87
              A9557                            $424.18            $402.97           $463.42           $449.51           $454.15           $440.52
              A9558                              $35.92            $34.12            $39.24            $38.07            $38.46            $37.31
              A9560                            $106.48            $101.16           $116.33           $112.85           $114.01           $110.60
              A9561                              $50.16            $47.65            $54.80            $53.15            $53.71            $52.10
              A9562                            $883.24            $839.08          $964.94            $936.00           $945.65           $917.27
              A9567                              $23.38            $22.21            $25.54            124.77            $25.04            $24.28
     1/1/2017                                                   California, Area 05                                                   Page 1 of 8
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            # - These amounts apply when service is performed in a facllity setting.
           C - The payment for the technical component is capped at the OPPS amount.
           *" - Limiting charge reduced based on the EHR negative adjustment program.
          °* - Limiting charge reduced based on the PQRS negative adjustment program.
         **** - Limiting charge reduced for EPs that are subject to both EHR and PQRS negative adjustment programs.
                Limiting charge applfed to unassigned claims by non-participating providers .
                                 ...
                                                                                                                         EHR+
                                                                                         EHR          PQRS               PQRS
           Procedure                                                    Limiting       limiting      Limiting           Limiting
     Notes Code-            Modifier      ParFee      ·Nonpar Fee       Charge        Charge*"'      Charge• ..        Charge""'u
              A9568                       $1,253.63      $1,190.95     $1.369.59      $1,328.50       $1,342.20         $1,301.94
              A9569                       $1,659.80      $1,576.81     $1,813.33      $1,758.94       $1,777.06         $1,723.76
              A9570                       $4,076.93      $3,873.08     $4,454.04      $4,320.42       $4,364.96         $4,234.01
              A9572                       $6.470.64      $6,147.11     $7,069.18      $6,857.11       $6 927.80         $6,719.97
             A9580                          $266.97        $253.62       $291.66        $282.91         $285.83           $277.25
             A9586                        $2,964.00      $2,815.80     $3,238.17      $3,141.03       $3,173.40         $3,078.21
             A9600                        $3,678.84     $3,494.90      $4,019.14      $3,898.56       $3,938.75         $3,820.59
             G0186                          $699.19        $664.23       $763.86        $740.95         $748.59           $726.12
     #       G0186                          $669.06       $635.61        $730.95        $709.02         $716.34           $694.84
             G0339                       $4,594.04      $4 364.34      $5,018.99      $4,868.42       $4,918.61         $4,771.05
             G0340                       $3,375.64      $3,206.86      $3,687.89      $3,577.25       $3,614.13         $3,505.71
             G0398                          $414.91       $394.16        $453.28        $439.69         $444.22           $430.89
             G0398          TC              $248.95       $236.50        $271.98        $263.82         $266.54           $258.54
             G0398          26              $165.97       $157.67        $181.32        $175.88         $177.70           $172.36
             G0399                          $288.62       $274.19        $315.32        $305.85         $309.02           $299.74
             G0399          TC              $173.17       $164.51        $189.19        $183.51         $185.40           $179.84
             G0399          26             $115.45        $109.68        $126.13        $122.35         $123.61           $119.90
             G0400                         $259.76        $246.77        $283.79        $275.28         $278.10           $269.77
             G0400          TC             $155.86        $148.07        $170.28        $165.17         $166.88           $161.87
             G0400          26             $103.90          $98.71       $113.52        $110.11         $111.25           $107.92
             G0498                         $206.98        $196.63        $226.12        $219.34         $221.61           $214.96
             G6017                         $154.62        $146.89        $168.92        $163.85         $165.54           $160.57
             G9678                         $160.00        $152.00        $174.80        $169.56         $171.30           $166.16
             R0070                         $211.46        $200.89        $231.02        $224.09         $226.40           $219.60
             R0075                         $211.46        $200.89        $231.02        $224.09         $226.40           $219.60
             0054T                         $165.91        $157.61        $181.25        $175.81         $177.63           $172.29
             OOSST                         $165.91        $157.61        $181.25        $175.81         $177.63           $172.29
             0075T                       $1,375.44      $1,306.67      $1,502.67      $1 457.59       $1,472.62         $1,428.44
             0075T          26             $953.40        $905.73      $1,041.59      $1,010.34       $1,020.76           $990.14
             0076T                         $453.91        $431.21        $495.89        $481.01         $485.98           $471.39
             0076T          26               $95,33         $90.56       $104.14        $101.02         $102.06            $98.99
             0159T                           $26.22         $24.91        $28.65         $27.78          $28.07            $27.23
             0159T         TC                $22.60         $21.47        $24.69         $23.95          $24.20            $23.47
             0159T         26                 $3.64          $3.46         $3.98          $3.86           $3.90             $3.78
             0191T                       $1,257.84      $1,194.95      $1,374.19      $1,332.97       $1,346.71         $1,306.31
             0202T                       $2.922.75      $2 776.61      $3,193.10      $3,097.31       $3,129.24         $3,035.36
    #        0202T                       $1,635.26      $1,553.50      $1,786.53      $1,732.94       $1,750.79         $1,698.27
             0213T                         $255.72        1242.93        $279.37        $270.99         $273.78           $265.57
    #        0213T                         $132.51        $125.88        $144.76        $140.42         $141.86           $137.61
             0214T                         $122.96        $116.81        $134.33        $130.31         $131.64           $127.70
    #        0214T                           $73.17         $69.51        $79.94         $77.53          $78.34            $75.98
             021ST                         $124.44        $118.22       $135.95         $131.87         $133.24          $129.24
    #        021ST                          $74.66         $70.93         $81.57         $79.12          $79.94            $77.53
             0216T                         $230.38        $218.86        $251.69         $244.13       $246.65           $239.25

    1/1/2017                                            California, Area 05                                           Page 2 of 8
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                            Exhibit 19
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      Fee schedule lookup too1                                                                                                                                                                            Page I of I


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                                Find fee schedules -- fee schedule lookup
                                 Complete this form to obtain Medicare ree-for-service allowances. You must select a fee schedule and enter a procedure code,
                               location, and date of ser\lice.


                                   • Required                                                                                                                                    More Information
                                                                                                                                                                                H Help guide
                                   Select fee schedule                        • MPFS                                                                                            n ASC payment indicators
                                   Procedure code                                 G0399                                                                                         ••   MPFS policy indicator definitions

                                   Date of service                            • 4/1/2017                                                                                        •1 PDF, text, or Excel fee schedules
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                                 Fee Schedule                    MPFS                                  Procedure Code      G0399                             Date Of Service                   4/1/2017
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                                 FAC EHR LC 0                                                                        NIA      FAC EHR LC lJ                                                                      NIA
                                 FAC PQRS LC                 11                                                      N/A      FAC PQRS LC                n                                                       NIA
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                                Policy Indicators l:i


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 3/25/2019                                    VirtuOx Acquires Instant Diagnostic Systems - RTSleepWorld


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       HOME > VENDOR NEWS            > VirtuOx Acquires Instant Diagnostic
       Systems



     VirtuOx Acquires Instant
     Diagnostic Systems
       0 August 23, 2018   -' RTSleepWorld    ~   Vendor News


     VirtuOx, Inc., a healthcare IT company providing diagnostic tools and
     services to enable healthcare organizations and professionals
     diagnose and treat a variety of disease states, announced today the
     acquisition of Instant Diagnostic Systems (IDS). The transaction was
     facilitated by VERTESS (http://www.vertess.com), a leading healthcare
     M+A advisory firm. K&L Gates, led by attorney Joshua Skora and his
    team, provided legal counsel to VirtuOx in the transaction.


    VirtuOx,   a diversified healthcare technology platform operating
    numerous entities, operating in all 50 states and abroad has begun
    executing an acquisition strategy to grow strategically within the lab
    services sector. 'This is an ideal acquisition for us," said Steven F. Lica,
    Chief Executive Officer of VirtuOx. He added, "Not only do we
    increase our POX testing and HST testing platform, but we have also
    gained a valuable and experienced team with IDS a pioneer in our
    space."

    VERTESS, on behalf of VirtuOx, is currently seeking additional
    acquisitions in the areas of Home Sleep Testing (HST), pulse oximetry,
    cardiac tetemetry monitoring, insomnia, and related IT products and
Case 0:19-cv-61084-RNS Document 41 Entered on FLSD Docket 01/14/2020 Page 131 of 162



 3/25/2019                                         VirtuOx Acquires Instant Diagnostic Systems - RTSleepWorld

      services. Please contact Bradley Smith, Managing Director of
      VERTESS, to discuss.


      Share this:

       "#    Twitter   Ii   Facebook   [li1 Linkedln    @ Reddit        <p   Pinterest

       ~ Pocket



     Siemens                      nSpire Introduces           ResMed MatrixCare
     Healthineers to              Iris IQ, RT                Acquisition Expands
     Acquire Epocal from          Department                 Reach into Long-
     Alere to Complete            Analytics Platform         Term Care Settings
     its Blood Gas                In "New Product"            In "Acquisitions"
     Portfolio
     In "Vendor News"




     BE THE FIRST TO COMMENT

     Leave a Reply

       Enter your comment here ...
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          INSTANT DIAGNOSTIC
          SYSTEMS, INC.                                           Specialty
                                                                 · Independent Diagnostic Testing facility (IOTF}
          ORGANIZATION
                                                                  NPt 1922017516
          1740 4TH AVE SE
          DECATUR, AL


         BWuHhM

         Services provided by tl1is provider:

         D1spla:,ing records 1 - 2 of 2



         Overnight measurement of oxygen saturation in blood using ear or finger device
         HCPCS CODE 9/4Ei2                        PROOUCTiSERVICE IS NOT A DRUG                        PLJ\CE OF SERVICE OFFICE



             53,854                       49870                $38.00                     $28.58                      $22.09
          Number of Servicet;              Number of         Average Submitted         Average !vled1care           Average Medicare
                                          8 en efi ciaries        Charge                Allowed Amount                  Payment




         Home sleep te5t lhst) witll lype iii portable monitor. unattended; minimum of 4 channels: 2 respiratory
         movemenl/airflo'tv, 1 ecg:'heart rate and 1 oxygen saturation
         HCPCS CODE: G03~1~J                      PROOUCTiSER\/ICE IS NOT A DRUG                       PLACE OF-- SU~VICE OFFICE



              4,778                        4751               $250.00                    $247.53                     $192.00
          Number of Services               Number cf         Average Submitted         /\ve1a~Je Medicare           Average Medicare
                                          Beneficiaries           Charge                 Allowed Amount                 Payment
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                            Exhibit 22
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                                                             The VirtuOx Total Solution
                                                             Low cost software+ low cost oximeters ==
                                                             The industry's most cost effective way to qualify oxygen patients!




                                                             (>   fV1eosures ETC02, POX, Hf<, RI~
                                                             ~    Doio Storage
                                                             .. Uploocis ·10 VirtuOx /\pplicotlons




   VPOD CapOx Product Features:
   • 2.8 inch TFT, monitoring EtC0 2 /C0 2 , RR and Sp0 2 , PR    • Audio and Visual alarm for exceeding limits and
                                                                    Apnea
   • Temperature, Pressure compensation system and
     Zero readjustment system                                     •   24 hours graphic trend can be stored after power-off

   • Balanco gas compensation minimizing influence
                                                                  • Standard with MoveOxy i1v1 Sp0 2 , Optional with Nellcor
     against other gases
                                                                      SpO,

   • Lung pressure and temperature compensation (BTPS
                                                                  • USB Connectivity to PC for data transfer
     compensation) available

   • Applicable for intubated or non-intuba1ed patients

   • Pump flux for adult and infant

   • Water filter specially designed for heavy humid
     environment



  Call Toll-Free B77-337-7111 • https://V\/V\/\/\1.VIRTLJOX.NET
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                            Exhibit 23
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                                                                                      '-'""'·
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  VPOD Cap                    •   x, a Virtu            •   x Pulse Oximetry Device
  VirtuOx is also a nationwide Medicare approved Independent Diagnostic Testing Facility. "The VirtuOx Total Solution" consists of
  our flagship Overnight Oximetry Testing platform VirtuOx, combined with our FDA approved VirtuOx compatible Pulse Oximeter
  Devices called "VirtuOx VPODs". The VPOD line consists ofhandhcld, wrist worn, table top and fingertip oximctcrs that can store up
  to 72 hours of recorded memory. By combining VirtuOx software with inexpensive lwrdwarc "The VirtuOx Total Solution" is the
  industry's most cost effective way to qunlify oxygen patients.

  VirtuOx is the latest generation of CMS approved Overnight Oximctry Testing softwmc. It is designed to be ;:m c;isy to use. trouble free
  software application av,1ilablc to all HME providers. There is no so ft ware to download or purchase an<l no contracts to sign. Best of <111,
  the report is available quickly provided you have fulfilled CMS guidelines as a predicate to obtaining the reporl. VirtuOx is compatible
  with the VPOD line of pulse oximctcrs as well as 920M, 920M Plus, 8500, 2500Aand Wrist Ox pulse oximeters.
  Technical Specifications



                                                                                                                                         ,,
                                                                                                Data Transmission to VirtuOx
  EtCD,:/C0 2
  EtCOJC0 2 ran\Je                  0 -   150rrnnHg (0 - 20kPa. or U - 200,.ti(V/V))
  Accur'acy                        ±2mmllg when O - 40 mmHg
                                   ±50/o(reading) when> 41 - 70nunHo
                                   ±8°A:i(1~eading) when> 71 - 100rnmHg
                                   ± 1 0%(r'eadinrJ) when> 101 - 150rnrnHg
 Update                            Every br'eat.h, 10sec, 20sec 01~ 30sec selectable
 Trend length                      2L'.I hours


  RESPIRATION RATE
  Range                            3-150t/min
 Accuracy                          ± 1 9ti(reading) or± 1 times/min whichever is               l,-            ,..,   ;;q;,   •   rt=
                                   greate,~
 Trend length                      24 hours
 Flux                              50- 250cc/n7in selectable                                         View Surnmary and Detail
                                                                                                        Oximetr~y Reports
 Sp0 2
 Oximetry sGturation               0-100o/o
 r~angR
 Accuracy                          ±20/o when 70 - 100 •.lb
                                   ±3% when 50 - 69°/tl
 Trend length                      24 hours

 PULSE RATE
 Range                             30- 250 bprn
 Accuracy                          ±2bpm or ±20/0 (r·eading) when 30 - 250bpm
 Trend length                      24 hours

 POWER
 AC input                          1 DOV- 2GOV, 50Hz/60Hz
 AC power consumption              5W

 OPERATION
 Wor'king temperature              5°C-40°C
 Hurnidity                         30 - 750,,b (non-condensing)
 At:rnospheric pressure            BB-106kPa                                                          Manage Business with
                                                                                                         Dashboards
 BATTERY
 Battery type                      Built-in rechargeable lithium battery
 Battery capacity                  3. 6V, 3000rnAh
 Working tirne                     10 hours

 PHYSICAL DATA
 Dimension                         70mm[W) X 160mrn(H) X 4Dmn1(D)
 Weight                            600grar77s

 LANGUAGE
 English/Spanish/Dutch
                                                                                                                     ct           1111111,




 Call Toll-Free B77-337-7111
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 Vn~_TU~jiX
  VPOD CapOx Patient Self Administered Overnight Oximetry and
  Capnography Instructions on Room Air


 Patient Name                                                                           Reading ID _ _ _ _ _ __
                  -----------------
 Your prescriber ordered this oximetry and capnography test to monitor your blood oxygen and end
 tidal CO2 levels while you are asleep. It is vital you closely follow these instructions to get the best
 results.

 VirtuOx is the testing facility that will process the test results and send them to your prescriber. Per
 Medicare guidelines, the company that delivers the testing device to you cannot assist with the
 instruction or performance of the test.
 DME Courier:____________________                                                             Phone _ _ _ __

Please follow the conditions below as prescribed:




 Your testing device: VPOD CapOx


                                                             /I              _ _ _ Nasal Cannula
                                                            l                      Connection Tube
                     Finger Probe - - - Sil{                               - - - Water Filter
                                             -----'t'---'-:\~{.i-'-"---'_.J\____~ - .




                Heart Rate, Sp02        ---+-+-e:
                & EtC02 Display

                                                        V1RTU@X




                                                             rn . ,., ,.
                                                     L~J~            ~
                    Power Button ---1~][!]~
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 • You must stay awake for the first 10 minutes of the test.
 • Remove any fingernail polish and coverings from the finger you will be using.


 TEST SETUP

      1   Confirm the finger probe cable and water filter are   2   Confirm the nasal cannula connection tube is
          attached to the top of the device.                        connected to the water filter.

             Finger      /        Nasal Cannula                                                                    Nasal Cannula
             Probe - - {      J'  Connection Tube                                                                  Connection Tube
             Cable     1·       1
                       -. -, / - - Water Filter                                                                )   Water Filter

                                    ll
                                                                                 /    -----+--
                                                                                                           I
                     f 1111111
                                                                             I
                                                                                                       /
                                                                                     A"'_.-"..,.,.. ...•




      3   Attach sensor to index finger and apply tape or       4   Press and hold the bottom left button down until
          Band Aid to secure sensor to your finger.                 powered ON.


                                                                                                                           [r] ~"•
                                                                         Power                                       [~]   f~ EJ
                                                                         Button------; l~ [-r] i.r~]
                                                                                                                   l _ _ _ _ _ __


      5   Insert the nasal cannula prongs into your nose        6   When you wake up in the morning, take the
          and adjust the slider to secure it. Go to sleep.          device off. Press and hold the bottom left button
          Wear it all night.                                        until you power it OFF.

                                                                                                                           [!]    ==•

                                                                          Power        ~ ~J ~J
                                                                          Button---+-llii] [!] ~


  ADDITIONAL INSTRUCTIONS
  •   For best results, place the probe on your index finger. However, you may use any finger as long as it
      receives a reading from the device.

  •   If the probe or cannula falls off during the night:
         1) Place the probe on your finger and reinsert the nasal cannula prongs into your nose.
         2) Check to see the ox,meter is ON and displays numbers.
         3) If the oximeter is OFF, press the power button to turn it ON.

  •   You may remove the probe and nasal cannula only in case of hygienic necessity. When you return to
      bed, put the probe back on your finger and reinsert the nasal cannula as you did before.
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    1 1RTU6·iil.~X
 '·V.       ~.,
  VPOD CapOx Patient Self Administered Overnight Oximetry and
  Capnography Instructions on Oxygen


 Patient Name                                                           Reading ID _ _ _ _ __
                  ----------------
 Your prescriber ordered this oximetry and capnography test to monitor your blood oxygen and end
 tidal CO2 levels while you are asleep. It is vital you closely follow these instructions to get the best
 results.

VirtuOx is the testing facility that will process tile test results and send them to your prescriber. Per
Medicare guidelines, the company that delivers the testing device to you cannot assist with the
instruction or performance of the test.
 DME Courier:___________________                                                 Phone _ _ _ __

Please follow the conditions below as prescribed:




 Yq_yr testing device: VPOD CapOx


                                                                      Nasal Cannula
                                                             ---
                                                                      Connection Tube
                     Finger Probe - - -                      ~-~      Water Filter



                Heart Rate, Sp02        ---+-l-
                & EtC02 Display




                                                     LtJ   ~-~
                                                  [•][~~
                    Power Button - - - ~ liJ ~
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 IIYII   '-'I'\. I J""\.1-. I


 • You must stay awake for the first 10 minutes of the test.
 • Remove any fingernail polish and coverings from the finger you will be using.


 TEST SETUP

         1    Confirm the finger probe cable and water filter are    2   Confirm the nasal cannula connection tube is
              attached to the top of the device.                         connected to the water filter.

                  Finger       /             Nasal Cannula
                  Probe - - - {         ii   Connection Tube
                  Cable          )'.!   t-- Water Filter
                                11-ll
         3   Confirm your oxygen source is        4 Attach sensor to index finger       5 Press and hold the bottom left
             connected to your testing              and apply tape or Band Aid to         button down until powered ON.
             device.                                secure sensor to your finger.




         To CapOx--;.'>,:';;·--To Oxygen


         6   Insert the nasal cannula prongs into your nose         7    When you wake up in the morning, take the
             and adjust the slider to secure it. Go to sleep.            device off. Press and hold the bottom left button
             Wear it all night.                                          until you power it OFF.

                                                                                                         [f]   -~Q




                                                                               Power    [~.l r:71J •
                                                                               Button---~ [i] ~J

  ADDITIONAL INSTRUCTIONS
  •      For best results, place the probe on your index finger. However, you may use any finger as long as it
         receives a reading from the device.

  •      If the probe or cannula falls off during the night:
            1) Place the probe on your finger and reinsert the nasal cannula prongs into your nose.
            2) Check to see the oximeter is ON and displays numbers.
            3) If the oximeter is OFF, press the power button to turn it ON.

  •      You may remove the probe and nasal cannula only in case of hygienic necessity. When you return to
         bed, put the probe back on your finger and reinsert the nasal cannula as you did before.
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               DEPARTMENT OF HEAL TH & HUMAN SERVICES                                    l'ub\i..: I kiillh Servin·


                                                                                         Foot! .u1J Drug AJrninistrntion
                                                                                         I 090:, N~,, l la111pshirl' ,\ \'~nu..:
                                                                                         Dllcllln~nt Conuul Room -WO66-(,609
                                                                                         Sil,·cr Spring. i\-11) 20993-0002




               Shenzhen Creative Industry Company, Limited
               C/O Mr. Charlie Mack
               Principal Engineer
               International Regulatory Consultants, LLC
               77325 Joyce Way                                                    MARSO 20\0
              Echo, Oregon 97826


              Re: K093016
                  Trade/Device Name: Vila! Signs Monitor, Model PC-900A
                  Regulation Number: 21 CFR 870.2700
                  Regulation Name: Oximeter
                  Regulatory Class: II
                  Product Code: DQA, CCK
                  Dated: March 18, 2010
                  Received: March 24, 2010


              Dear Mr. Mack:

               We have reviewed your Section 51 0(k) premarket notification of intent to market the device
              referenced above and have detennined the device is substantially equivalent (for the
              indications for use stated in the enclosure) to legally marketed predicate devices marketed in
              interstate commerce prior to May 28, 1976, the enactment date of the Medical Device
              Amendments, or to devices that have been reclassified in accordance with the provisions of
              the Federal Food, Drug, and Cosmetic Act (Act) that do not require approval of a premarht
              approval application (PMA). You may, therefore, market the device, subject to the general
              controls provisions of the Act. The general controls provisions of the Act include
              requirements for annual registration, listing of devices, good manufacturing practice,
              labeling, and prohibitions against misbranding and adulteration. Please note: CDRH does
              not evaluate information related to contract liability warranties. We remind you, however,
              that device labeling must be truthful and not misleading.

              If your device is classified (sec above) into either class Il (Special Controls) or class JII
              (PMA), it may be subject to additional controls. Existing major regulations affecting your
              device can be found in the Code of Federal Regulations, Title 21, Parts 800 to 898. In
              addition, FDA may publish further announcements concerning your device in the Fcdcnt_!
              Register.
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               Page 2- Mr. Mack


              Please be advised that FDA 's issuance of a substantial equivalence detern1ination docs not
              mean that FDA has made a determination that your device complies with other requirements
              of the Act or any Federal statutes and regulations administered by other Federal agencies.
              You must comply with all the Act's requirements, including, but not limited to: registration
              and listing (21 CFR Part 807); labeling (21 CFR Part 801); medical device reporting
              (reporting of medical device-related adverse events) (21 CFR 803); good manufacturing
              practice requirements as set forth in the quality systems (QS) regulation (21 CFR Part 820);
              and if applicable, the electronic product radiation control provisions (Sections 531-542 of
              the Act); 21 CFR I 000-1050.

              If you desire specific advice for your device on our labeling regulation (21 CFR Part 801 ),
              please go to
              http://www.fdJ!.gov/AbouffDA/CcnlersOffices/CDRH/CDRHOfiices/ucm 115809.htm for
              the Center for Devices and Radiological Health's (CDRH's) Office of Compliance. Also,
              please note the regulation entitled, "Misbranding by reference to premarket notification"
              (21 CFR Part 807.97). For questions regarding the reporting of adverse events under the
              MDR regulation (21 CFR Part 803 ), please go to
              hllp://wWVv.fda.gov/MedicalDcvices/Safety/ReportaProblem/dcfault.htm for the CDRH 's
              Office of Surveillance and Biometrics/Division of Postmarket Surveillance.

              You may obtain other general information on your responsibilities under the Act from the:
              Division of Small Manufacturers, International and Consumer Assistance at its toll-free
              number (800) 63 8-204 l or (301) 796-7100 or at its Internet address
              hup://ww,v.toa.gov/MedicalDcviccs/RcsourccsforYou/111dustty/default.htm.


                                                           Sincerely yours,


                                                           ~{or
                                                           Anthony D. Watson, B.S., M.S., M.B.A.
                                                           Director
                                                           Division of Anesthesiology, General Hospital,
                                                            Infection Control and Dental Devices
                                                           Office of Device Evaluation
                                                           Center for Devices and
                                                            Radiological Health



              Enclosure
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                          Indications for Use



                               Indications for Use

                              510(k) Number (if known):


                              Device Name: Vttal SJgruiMonifot, Model PC-900A



                         Indications for Use:




                              The Vrtal Signs Monitor is designed for monitoring the vital physlological signs of the
                        patient. It is used for non-invasive continuous monitoring of oxygen saturation (Sp02),
                        pulse rate, CO2 and respiration rate.
                              The Vrtal Signs Monitor is adaptable to adult and pediatric usage in a hospital
                        environment. It is intended to be used only under regular supervision of clinical personnel.




                             Prescription Use             ./             AND/OR             Over-The-Counter Use _ __
                             (Part 21 CFR 801 Subpart D)                                (21 CFR 801 Subpart C)




                                      (PLEASE DO NOT WRITE BELOW THIS LINE-CONTINUE ON ANOTHER PAGE OF NEEDED)


                                                         Concurrence of CDRH, Office of Device Evaluation (ODE)




      iOivision Sign::611)
       )ivision of Anesthesiology, General Hospital                                                              Page 1 of _ _
       ·lfection Control, Dental Devices

                            l{          09                h
                                                    30( _ __
      510(k) Number: -___;;;::.......;:;.._,;.....:;._...::.,...!..:..            30of738
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 3/27/2019                                                                                     DMEPOS Fee Schedules

                                                                                                                                                                                         I
                                                                                                                                                                   I Cont;in        ! Join/
      QcGs                                                                                                                                          mvCGS Login                U,




                                              Hollle   »   Fees ,; JC DM[ " Drvff POS ree Schedules



                                              2019 - 1st Quarter Florida DMEPOS Fee Schedule
                                               HCPCS:               Mod 1:         Mod 2:         Category:                Fee Schedule:    Rural Fee Indicator:                     Rur,
                                               [0466                RR                            FS                            $1,099.02


                                              CATEGORY KEY

      DMEPOS Fee Schedule
                                              CR = Capped Rental Items
                                              FS = Frequently Serviced Items
      Drug Fees. Phannllcy Dispensing r ees
      & Pharm~cy Supply Fees                  IN = Inexpensive and Olher Routinely Put dwsed Iterns
                                              OS= Ostcmy, Tracheostomy & Urological Items
                                              OX= Oxygen c1nd Oxygen Equipment
                                              PE= Parenteral and Enternl Nutrition
                                              PO" Prosthetics & Orthotics
                                              SD= Surgical Dressings
                                              SU :: Supplies
                                              TE= Transcutaneous Electrical NervP Stimu!ators
                                              TS= Therapeutic Shoes




                                              FORE~~             WE WANT TO HEAR FROM YOU! TAKE THE FORESEE CUSTOMER SATISFACTION SURVEY.



             UTH.. !TlES                                          STAY CONNE:CTED                             SITE INFO
             CJ   JOIN/UPDATE LISTSERV                            0 FACEBOOK                                  VIDEO TOUR
             0 PRINT                                              0 TWITTER                                   WEBSITE FEEDBACK
             (J BOOKMARK                                          0 YOUTUBE                                   SITE MAP
             0 EMAIL                                                                                          DISCLAIMER
                                                                                                              PRIVACY STATEMENT




                                                                                                                                                                                      1 /1
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  <BACK TO PROVIDER SEARCH RESULTS



  TESTSMARTER INC

  ORGANIZATION
  177 NW MADISON ST
  LAKE CITY, FL




 Services provided by this provider:

 Displaying records 1 - 1 of 1.



 Overnight measurement of oxygen saturation in blood using ear or finger device
 HCPCS CODE: 94 762
 PRODUCT/SERVICE IS NOT A DRUG.
 PLACE OF SERVICE: OFFICE


           43                            43                               $38.60
  Number of Services         Number of Beneficiaries         Average Submitted Chai-ge


                 $23.84                                   $18.69
 Average Medicare Allowed Amount               Average Medicare Payment



                                                       < [1- >
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  <RACK TO PROVIDFR SEl,RCH RFS!Jt.TS



  DIAGNOSTIC MEDICAL TESTING INC

  ORGANIZATION
 2435 US HIGHWAY 19
 HOLIDAY, FL




 Services provided by this provider:

 Displaying records 1 - 3 of 3.



 Pulmonary exercise testing
 HCPCS CODE: 94620
 PRODUCT/SERVICE IS NOT A DRUG.
 PLACE OF SERVICE: OFFICE

         6,710                          3260                       $87.29
  Number of Services           Number of Beneficiaries    Average Submitted Charge


                  $40.60                                 $29.82
 Average Medicare Allowed Amount               Average Medicare Payment



 Measurement of oxygen saturation in blood using ear or finger device
 HCPCS CODE: 94760
 PRODUCT/SERVICE IS NOT A DRUG.
 PLACE OF SERVICE: OFFICE
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              1,441                                    1376                                  $25.00
    Number of Services                   Number of Beneficiaries                    Average Submitted Charge


                          $3.22                                                   $2.42
   Average Medicare Allowed Amount                               Average Medicare Payment



  Overnight measurement of oxygen saturation in blood using ear or finger device
  HCPCS CODE: 94762
  PRODUCT/SERVICE IS NOT A DRUG.
  PLACE OF SERVICE: OFFICE

             2,470                                    2323                                  $74.98
   Number of Services                   Number of Beneficiaries                    Average Submitted Charge


                        $23.84                                                    $17.36
   Average Medicare Allowed Amount                              Average Medicare Payment




                                                                            <     c= >
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 for Medicare & Medicaid Services, 7500 Security Boulevardl Baltimore, MD 21244

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 Data.Medicaid.gov                 Data.HealthCare.gov                     FOIA      No Fear Act   Privacy Policy       FAQ's


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 https ://data .ems.gov/utiliz.ation-a nd-pa ym enUproviders/108 3672208                                                                2/2
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                                    Exhibit 29
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To: virtuox                            Page 2 of 2                                                                          70 PJ?i]J                I :Grvn)
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Case 0:19-cv-61084-RNS Document 41 Entered on FLSD Docket 01/14/2020 Page 158 of 162




 To: virtuox   Page 1 of 2




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                                       Pulse Oximetry Patient Cover Sheet




     To:            VirtuOx, Inc.



                    -----
     Fax:           {888) 295-2922
     Fr:

     Dt:            07/18/2018
     Re:            Patient Name:



                                                                                          ---
                    DOB:
                    Reading ID:
                    Insurance:                                                             MED[CARE
                    Physician Name:
                    NPI:




    VirtuOx Corporate                                                                                                                                                                                     VirtuOx Laboratory

    5850 Coral Ridge Drive                                                                                                                                                                                150 Executive Park Blvd.
    Suite 304                                                                                                                                                                                             Suite 3210
    Coral Springs, FL 33076                                                                                                                                                                               San Francisco, CA 94134
    Pt10ne: 877.337.7":: 11                                                                                                                                                                               Phone: 877.337.7111
Case 0:19-cv-61084-RNS Document 41 Entered on FLSD Docket 01/14/2020 Page 159 of 162



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                                                                                                                                                              ..
                                                                                                                                                    Phone: (877) 337-7111 Fax: (866} 677-4465

                                                            Pulse Oxlmetry • Summary Report
     Patient Information                                                   Physician Information                                                               Provider Information


     TOPEl(A, l<S 66070                                                    Topeka, KS 66€06                                                                    T~eka, KS 66609
     Plione:(785)     ?        L                                           Phone: (785)                                                                        Phone:
     Gender: Female
     Date of Birth:
                                                                           Fax: (785)        I                                                                 Fax: (000) 000-0000
                                                                           NPI:

     Start: 6/20/20181:15:44 AM                                        End: 6'20/2018 8: 39:40 AM                                                              Duration: 7:23:56
                                                                      Test Condition: Overnight on Room Air

                          Sp02 Data                                                              Pulse Data                                                                 Considerations
     Tirne s 88%                                 1.3MIN            High pulse                                                    81.0    8PM                                Oxygen
     Times 89%                                  22.3 MIN                                                                                                ll appears this patient qualifies for Nocturnal
                                                                   Low pulse                                                     54.0 BPM
                                                                                                                                                        Oxygen per Medicare guidelines; please
     High Sp02                                    99.0%            Average Pulse                                                  62.0 MIN              inquire with respiratory company for
     Low Sp02                                     86.0%           Bradycardia time                                              134.3 MIN               Coverage Guidelines for Group II.
     Basal Sp02                                    91.8%          Percent time in Bradycardia                                      30.4%
     Delta Sp02                                  0.1 MIN          Tachycardia time                                                0.0 MIN
     Time consecutive ~ 88%                      0.2 MIN          Percent time in Tadlycardia                                         0.0%
     Awake SpO?                                    96.0¾          Artifact evoots                                                   2.8MIN
     Artifact events                             2.8 MIN
                      Sp02 001 Data
    OKygen Desaturation Events (3%)                    63
    0Kygen Desaturation Index (ODI)                     B


    A desaturation event is defined as a decrease
       in Sp02 2: 3 percentage points within a 3
               minute window of onset.


    Medicare I Private Insurance Qualifications:
   Group I: An SpO.2 at or below 88 percent, for at least 5 minutes taken during sleep who's Sp02 1s at or above il9 percent while awake
   G rou P I Delta: A decrease in Sp02 of more than 5 percent from basal SpO2, for at least 6 minutes with symptoms or signs to hypoxcmia
   Group II: An SpO2 of 89 percent during sleep for al least 5 minutes with any of the following: 1) Dependent edema suggesting congestive heart failure, or 2) Pulmonary
   hypertension or cor pulrnonale, detemiined by measurement of pulmonary artery pressure, gated blood pool scan, echocardiogram, or ·p• pulmonale on EKG (P wave
   greater than 3 mm in standard leads II, 111, or AVF), or 3) Erylhrocythemia with a hematocrit greater than 56 percent


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                           02:00 AM            03:00 AM                    04:00 AM                     05:00 AM                   06:00 AM                     07:00 AM                     08:00 AM
  Oximeter: WrislOx, A 4 sccorid signal averaging Low Resolulioo Pulse Oximcler Serial#: 501564640




  VirtuOx, Inc.                                                 Private and Confidential                                                                                                                Page 1 of 1
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                                                                    TILE R.OOFING
                                                                     INSTITUTE



         Date: September 22, 2017 rev October 5, 2017

        To':   All Roofing, Building, Restoration and Insurance Industry Professionals

        Re:    Obsolete Concrete RoofTiles Formerly Produced in Florida

        In response to the vast amount of hurricane damage related inquiries from industry professionals, please note the following list of
        concrete roof tiles that have been produced in or shipped to Florida over the past several decades.

        The following roof tiles are obsolete and do not interlock with the profiles currently offered by our existing member roof tile
        manufacturers. ldentlfylng marks on the back of each tile may include Pioneer, Currier, Entegra, Wallln, P, Bender and or Hanson.

               Identifying marks on the back of each me may include Pioneer, Currier, Entegra, Wallin, P, Bender and or Hanson
                 o My file with Wallin/Pioneer Spanish S                              o Nly Flat or ·s· tiles labeled "Gory" or "GAl"
                 o Mytilewith Wallin/Pioneer9" Flat                                        o My Flat or "S" tiles labeled ·vanguard"
                 o My tile with Wallin/Pioneer Two Piece Barrel                           o Any Flat or •s~ tiles labeled "Bender"
                 o Anytile with Wallin/Pioneer Cottage Shingle                            o MY Flat or ~s· tiles labeled "Wallin"
                 o My tile with Pioneer Flat                                              o My Flat or "S" tiles labeled "Duntex"
                 o Ailv tile with Currier Venetian                                        6 My Flat or ·s· tiles labeled "Currier''
                 o kiytile with Hanson/Pioneer/Bender Palema                              O My Flator"S" tiles labeled "APE"
                 o Mynle with Hanson/Pioneer Bender Nordic Flat                           o AAyflator"S" tiles labeled "Pioneer"
                 o Anytile with Hanson F!atincluding Horizon/Slate/                        o My Flat or •sK tiles labeled uMarley"
                    Southern Shake/Vtctorian Slate/Old World                               o·.Ailyflat of ·s~ tiles labeled ·ceetile"
                 o My tile with Hanson/Pioneer Hacienda                                    o Any Flat or "S" tiles labeled "Lifetile"
                 o klytile with Hanson Regal                                              ,o. My Flat or "S" tiles labeled ~Monray'
                 o My tile with Entegra Valencia                                           o My Flat or "S" tiles labeled ~Monier"
                 o Any tile with Entegra Skandia Flat                                      o Plly Flat or "S" tiles labeled «superior"
                 o My tile with Entegra Estate manufactured in                             o .Any flat or ·s· tiles labeled "Westile"
                     Indiantown or Pompano Beach                                           q hiyflattile labeled Bora! Lifelile "BUSAK
                 o My tile with Entegra Europa (WAVE.) tile

        In the event that a tile roof requires a complete replacement, our existing member manufacturers will strive to offer colors that closely
        resemble the existing roof, however the likelihood of an exact color replacement is highly unlikely.



        Sincerely,
        Rick Olson
        TRf President
Case 0:19-cv-61084-RNS Document 41 Entered on FLSD Docket 01/14/2020 Page 161 of 162




                                                                    TILE ROOFING
                                                                     INSTITUTE



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                 o Mytilewith Wa1Hn/Pioneer9" Flat                                      o Any Flat or "S" tiles labeled gVanguard"
                 o Any tile with Wallin/Pioneer Two Piece Barrel                           o My Flat or "S" tiles labeled "Bender"
                 o Mytile with Wallin/Pioneer Cottage Shingle                              o MY Flat or   ·s· tiles labeled "Wallin"
                 o My tile with Pioneer Flat                                               o My Flat or "S" tiles labeled "Duntex"
                 o Ailv tile with Currier Venetian                                         oMY Flat or "S" tiles labeled ·currier''
                 o My tile with Hanson/Pioneer/Bender Palema                               o My Flat or ·s· tiles labeled "APE"
                 o Any tile with Hanson/Pioneer Bender Nordic Flat                         o My fl.at or "S" tiles labeled "Pioneer''
                 o .Any tile with Hanson F!~t including Horizon/Slate/                     o My Flat or ·s· tiles labeled UMarley"
                     Southern Shake/Vtctorian Slate/Old World                              o My flat of "S" tiles labeled "Ceetile"
                 o My tile with Hanson/Pioneer Hacienda                                    o Ally Flat or"S" tiles labeled "Ufetile"
                 o /liiytile with Hanson Regal                                            •o Any Flat or ·s· tiles labeled "Monray"
                 o My tile with Entegra Valencia                                           o .AnyFlator"S"tiles labeled "Monier"
                 o Any tile with Entegra Skandia Flat                                      o ftlly Flat or "S" tites labeled usuperior"
                 o My tile with Ente9ra Estate manufactured in                             o .Any flat or ·s· tiles labeled "Westile"
                     Indiantown or Pompano Beach                                           Q Anyflattile labeled Bora! Lifeti!e "BUSA"
                 o Anytile with Entegra Europa (WA'vE.} tile

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        TRI President
Case 0:19-cv-61084-RNS Document 41 Entered on FLSD Docket 01/14/2020 Page 162 of 162




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                 o klytilewith Wallin/Pioneer 9" Flat                                    o AJ'ly Flat or "S" tiles fabeled ·vanguard"
                 o My tile with Wallin/Piqneer Two Piece Barrel                          o My Flat or ·s~ tiles labe{ed "Bender"
                 o Anyule with Wallin/Pioneer Cottage Shingle                            o My Flat or ·s· tiles labeled "Wallin"
                 o AJ'lytile with Pioneer Flat                                           o My Flat or "S" tiles labeled ·ountex"
                 o AJ'lytile with Currier Venetian                                        _o
                                                                                           My Flat or "S" tiles labeled ·currier''
                 o My tile with Hanson/Pioneer/Bender Palema                             o PrtyFlator·s· tiles labeled "APE"
                 o My tile with Hanson/Pioneer Bender Nordic Flat                        o .My flat or "S" tiles labeled "Pioneer"
                 o Mytile with Hanson F!atincluding Horizon/Slate/                       o My Flat or ·s· tiles labeled "Marley'
                     Southern ShakeMctorian Slate/Old World                              o IVlyflatof"S~ tiles labeled ~ceefile"
                 o My tile with Hanson/Pioneer Hacienda                                  · o Nly Flat or "S" tiles labeled "Lifetile"
                 o Mytile with Hanson Regal                                              ·o. My Flat or ·s~ tiles labeled "Monray"
                 o Any tile with Entegra Valencia                                         o Any Flat or "S" tiles labeled "Monier"
                 o Any tile with EntegraSkandia Flat                                      o Any Flat'or ·s· tiles labeled "Superior
                 o My file with Entegra Estate manufactured in                            o Arly flat or ·s· tiles labeled ·westile"
                     Indiantown or Pompano Beach                                          q Any flat tile labeled Bora! Lifelile "BUSA"
                 o .Anytile with Entegra Europa (WA\/i:.} tile

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        Rick Olson
        TRI President
